Exhibit A
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                       UNITED · STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK
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 5   IN RE:   JOHN DOE,
                                            CV 98-1101
 6

 7
                                            United States Courthouse
 8
                                           Brooklyn, 'New York,
 9

10
                                            July 20, 2010
11                          - - - - x       10:30 olclock a.m.

12                           TRANSCRIPT OF ORAL ARGUMEN'.!.'
                       BEFORE THE HONORABLE I. LEO GLASSER
13                         UNITED STATES DISTRICT JUDGE

14   APPEARANCES:

15   For the Plaintiff:         MORGAN LEWIS & BOCKIUS, LLP
                                101 Park Avenue
16                              New York, N. Y.
                                BY:     KELLY MOORE, ESQ.
                                LESLIE R. CALDWELL, ESQ.
                                DAVID A. SNIDER, ESQ.
18                              BRIAN A. HERMAN, ESQ.

19   For the Defendant:         WILSON ELSER MOSKOW11Z EDELMAN
                                & DICKER, LLP
20                              150 East 42nd Street
                                New York, N. Y. 10017
21                              BY:  RICHARD LERNER, ESQ.
                                LAUREN J. ROCKLIN, ESQ.
22
     court Reporter:            Henry R. Shapiro
23                              225 Cadman Plaza East
                                B.rooklyn, New York
24                              718-613-2509

25   Proceedings recorded by mechanical stenography,           transcript
      roducea bJ'.




                                                                                ',:.,
 2             THE CLERK:      Criminal cause for oral arguments,    '98

 3    CR 1101, United States versus John Doe.

 4             State your names for the record

 5             MS. MOORE:      Kelly Moore, Leslie Caldwell, Brian

 6    Herman and David Snider for John Doe

 7             MS.   LERNER:    Richard Lerner of Wilson, Elser,

 8    Moskowitz, Edelman & Dicker for respondent Frederick M.

 9    Oberlander

10             MS. :MOORE:     Your Honor, with respect to the relief

11    we seek, we rely on our brief, the arguments contained

12    therein and the authority contained therein.

13             Specifically Judge Jones' ·decision in the Visa case

14    and Judge Weinstein's decision     in the Zyprexa case.
15.            If anything,     the facts of this case are mOre

16    compelling than those cases.      Visa and Zyprexa involved

17    sealed documents. in civil litigation, which involved possible

18    cornmercial or economic harm· to a business entity.

19             This casE, as the Court is aware,     involves potential

20    physical harm or death to an individual. With respect to the

21    First Amendment. arguments, at the last court appearance the

22    Court did not ask us to specifically address that in our

23    briefs. We would like the opportuni.ty to supplement: our brief

24    with more detailed First Amendment analysis if that is okay

25    with the Court.
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                In the meantime, I would just note that the first

  2   amendment is not absolute.      The facts of this case in no way

  3   support the conduct of the respondent and the respondent's

  4   First Amendment; protection.     'l'he respondents are not the

  5   media, they are not a news gathering organization seeKing to

  6   write articles and publish them

  7             Mr. Oberlander is an attorney.     As such, he has

  8   additional ethical obligations to not disseminate or use

  9   information that is secret, private and confidential, that

10    comes into his possession.

11              Moreover, in this case, the documents at issue were

12    clearly stolen and Mr,    Oberlander, who represented the thief,

13    knew that they were   stol~n,


14              As the agent of a thief,    receiving those . stolen

15    documents, he doesn't deserve any greater protection-- First

16    Amendment protection-- than the thief himself would,

17              Additionally,   the respondent knew tha,t some of the

18    documents were sealed, as is clearly evident from paragraph

19    95 of the complaint in the Southern Distri.ct.

20              As an attorney,   once again, Mr. Oberlander knew what

21    that meant. He knew that documents don 1 t; seal themselves,

22    they are sealed only pursuant to court order,       And there are

2.3   also unsealed _ot).ly pursuant. to court order.

24              He was also aware of the Southern District

25    electronic filing rules, which compelleci him to exercise
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 1   caution and care with respect to disseminating infonnation

 2   about cooperators.     That rule applies to all cooperators,

 3   even those who testify publicly.     In this case the

 4   cooperation and the cooperation agreement were sealed.        Mr.

 5   Oberlander certainly should have exercised greater care.

 6              The intended use of it   in this case doesn't support
 7   compelling First Amendment interest. I don't know if the

 B   Court had the opportunity to review the Southern District

 9   Civil RICO complaint. But the information about my client's

10   criminal case in no way supports any claims contained in that

11   case,   and it's clearly being used to harass,   embarrass,

12   intimidate and ooeroe my client.

13              Finally,   as I mentioned before, this case unlike any

14   of the cases cited by th.e respondents involving potential

15   danger to human life.     Under the facts of this case the First

16   Amendment simply possess .no. bar to the imposition of the

17   relief we're seeking.

18              With respect to Mr.   Oberlander's declaration filed

19   last Friday,   I would note that the respondents throughout

20   this proceeding. have engaged in .a number of dubious

21   litigation tactics, that are arran,ged in an intentional

22   misinterpretation of the Court's ord'er, without seeking

23   clarification along the lines of claiming that they didn't

24   know.   He contacted Mr. Bernstein for an affidavit that said

25   they didn't know . the lawyers could review the documents in
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     question in connection with represent        the clients.

 2              And a previous merit less allegation of misconduct

 3   against me.      It was withdrawn, but nevertheless made and it

 4   was intended clearly to get me to do something that would

 5   have been unethical, . t:o put my own interests ahead of my

 6   c.lient's by accepting a settlement that wouldn't have been

 7   favorable to my client, just to get the unpleasant

 8   allegations against myself withdrawn.

 9              The declaration of Mr. Oberlander,    in which he

10   accuses this Court of unconstitutional conduct and makes

11   application for recusal, is clearly in the same vain of that

12   litigation at that particular time.      I t is clearly intended

13   to get the Court to do one of two things:       To either recuse

14   itself on the basis of a completely meritless application or

15   in the alternatively to get the Court to pUll its punches,         to

16   bend over backwards, to demonstrate a lack of bias,      to issue

17   a ruling that would be favorable to the respondents than if

18   they had not made such a rneritless unsupported application.

19              Those litigation tactics should be seen for what

20   they are and responden.ts and litigants engaging in them

21   should not be rewarded.

22              I   thought long and hard about responding to some· of

23   the other allegations and arguments contained in this

24   Oberlander declaration,     the allegat.ion that this Court has no

25   decency,   that someb,ow it is beyond the authority of a fede
 1   jUdge, upon application of United states Attorney's office,

 2   to seal documents or files when doing so is in the interest

 3   of protecting human life or national security, or that

 4   somehow has a greater First Amendment                   to put a man's

 5    life in danger by publishing stolen and sealed confidential

 6   documents then if he walked into a crowded theatre and

 7   shouted fire.

 &              In rereading Mr, Oberlander's declaration, however,

 9   I was reminded of a comment .that a former colleague. of mine

10   used to make from time to time, which is that there really is

11   no percentage in arguing with crazy people,             and so upon the

12   . advise of another wise man I once got,         I think,   I wit.J   let

13   discretion .be the greater part of valor and not dignify that

14   declaration or the rants contained therein with a response.

15              If the Court has no additional questions for· us, we

16   will rest on our papers, but we would like to supplement them

17   with an .additional li'irst amendment analysis.

18              'rHE COURT:        I will corne back to you.

19              Let me hear from Mr.        Lerner.

20              MS.    LERNl'~R:    Your Honor has now had an opportunity

21   to read the caso law

22              THE COURT:         Before we qet to t her,   I am not

23   altogether clear as to what Mr. Oberlander's notice of appeal

24    is. all about.    I do not quite understand what i.s it.

25              MS.    LERNER:      It's a protective notice of appeal.          He
 1   reserve his right to argue.       There is yet to be a forma.1

 2   permanent injunction or that a TRO         there is possibly a gap

 3   period where it could be argued that the TRO lapsed and

 4   became a permanent injunction.       It's merely protective.

 5             THE COURT:     What does that mean,     a protective notice

 6   of appeal?

 7             MS. LERNER:      If the TRO could be deemed converted to

 8   a permanent injunction, we will appeal from that.

 9             THE COURT:      Is not that kind of premature?     Is there

IO   anything that prevents him from filing a notice of appeal

11   wheri that event occurs?

12             MS. LERNER:      If a permanent injunction is issued we

13   shall file a further notice of appeal.

14             THE COURT:     What's the purpose of a protective

15   notice of appeal?       Is that to preserve some limitation

16   period?

17             MS. LERNER:      Frankly, your Honor,    Lhe case law --

18             THE COURT:     To be perf~ctly candid --

19             MS. LERNER:      Candidly the .THO itself is appealable

20   because it restrains Mr. Oberlander's free speech rights ..

21             1'HE COURT:    Then he could file a notice of appeal

22   with respect to what he believes is an order,         which is

23   properly appealable.

24             MS. LERNER:      Yes.

25             THE COURT:     I don't understand what a protective
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     notice of appeal is.      I'm frank to say,     I   have never

 2   encountered it before.

 3             I t may be that my knowledge of this process is a

 4   little wanting, but I do not understand what It lB.

 5             MS. LERNE.:R:    ~'irst   of all~ on .Tune 2 lst your Honor

 6   stated that there was a permanent injunction vis-a-vis the

 7   PSR and ordered it returned.        That is appealable.     The notice

 8   of appeal refers to that.

 9             But since your Honor stated further evidence would

10   be taken after it was stated that it's our position. it could

11   fairly be argued that the Court did not actually render a

12   final determination as to that document.            I f it did --

13             THE COURT:      The reason I    am asking,   Mr. Lerner,   1s

14   that it is very clearly established law that it may be that a

15   filing of a notice of appeal deprives this Court of

16   jurisdiction with respect to continuing in a matter.

17             I do not know whether a notice of appeal, if fil.ed,

18   would have that effect here with respe.ct to injunctive

J9   relief.   r ·think that.· is something that is questionable.

20             But, in any event,        it was that issue which caused me

21   to. wonder what is this document about,        is it in some way

22   affecting my continuing exercise of jurisdiction in this

23   matter?

24             MS. LERNER:      As we stated in the notice of appeal

25   itself, we reserve all of our rights.
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                THE COURT:    Neither here nor there.

 2              Go ahead.

 3              MS. LERNER:    Your Honor has read the case law,

 4   presume, that was cited in our papers and wou 1 d perhaps now

 5   agree that the arguments that we have been making are not

 6   specious, which is the word that your Honor used at the first

 7   hearing.    Perhaps your Honor having now read Bartnicki will

 8   agree that the analogy to a misdirected check is inapt.

 9              In Bartnicki the Court stated quite clearly that

10   while the interceptor of the phone call maybe guilty of a

11   crime,   it: by know means follows from that that puni.sh I nq

12   disclosures lawfully obtained and in the· pUblic interest by

13   one not involved in the initial illegality is an acceptable

14   means of serving. those ends.

15              You cannot punish someone who m.erely receives

16   allegedly stolen information.      It would. be quite remarkable

17   if the United States· Supreme Court continued to hol.d speech

18   by a law-abiding possessor of information can be suppressed

19   in order to deter conduct of .a non-law7abiding third-party,

20   thus if Mr. Bernstein broke the law, you ca1;mot punish

21   Mr. Oberlander for. that.

22              Mr. Oberlander has .independent .free speak rights.

23   Your Honor,   sealing the c()urt file, I submit, was.

24   unconstitutional in this case, because there is no signed

25
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                Hartford says there must be a court order,· If your

 2   Honor did sign an order; there is nothing In the docket

 3   sheet, as far as we can tell,         to indicate that prior notice

 4   appearing was given prior to the sealing of the court file.

 5             We have not had an opportunity to see that docket

 6   sheet,   therefore, we cannot note whether this case was

 7   properly sealed.     If notice was given --

 8              THE COURT:      Excuse me.

 9              If you went to the docket you wculd flnd that this

10   case is under seal,       correct?

11              MS. LERNER:      Yes.

12             THE COURT:      And in order to obtain documents, whlch

13   are part and parcel of that case, you would have to make an

14   application to a court to unseal that file.            That is what· the

15   sealing order says.

16             MS.   LERNER:     And if the sealing order was not signed

17   by your Honor .and the requisite findings were not made,              is

18   unconstitutional,    and we have been deprived of the

19   opportunity to see the docket sheet and the United States

20   Supreme Court in Ami dao held we cannot presume what; is in the

21   docket sheet if we canlt see it.          If notice was giver!, we

22   canlt know that because the Court has declined to allow us to

23   see the docket sheet as stated in Hartford. We cannot make

24   any presumption about what         it says.    The appellate. court can

25   make no presumption .and we cannot.           Therefore, .we cannot
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 1   presume the documents were properly sealed,           your Honor.

 2               There was nothing on the record that the sealing

 3               1HE COURT:    Excuse me.    Just a minute.     Is there

 4   some presumption that an order -- assuming that there is an

 5   order and you do not know whether the order was or was not:

 6   signed -- what you do know by looking at the docket sheet is

 7   that this is a sealed file,      sealed by order of the court.

 8               Is there some presumption that the order is invalid

 9   because it was not signed,      is that what I'm hearing?

10               MS. LERNER:    I'm referring to the Hartford case--.

11               THE COURT:    Mr. Lerner,    I am aski.ng you what I am

12   understanding, is there is a presumption of the invalidity of

13   an order?

14               MS. LERNER:    I think,    your Honor stated on the

15   record that this is just matter of factly and indicated as

16   recall it wasn't even signed,         it's docket said is se8.led.    If

17   there is a signed order,· let us see        it~   because without a

18   signed order this proceeding IS unconstitutionaL

19               1HE COURT:    It may be, Mr. Lerner;,     that you are

20   correct.     You are not answering the question.

21               MS. LERNER:    I. don't have to make any presumption.

22   The United Statei;; Supreme. court has .held the appellate courts

23   do not have to presume there is a signed order in the file

24   when there is--.

25               THE COURT:    If there is .an order or docket entry
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 1    th~t   says this has been sealed by order of the court, any

 2    person is free to ignore that order and if by some chance,

 3    some document in that file becomes available to any person,

 4    that person is free to assume that the order has no efficacy?

 5               MS. LERNER:    First of all, the docket here is

 6    sealed, therefore, Mr. Oberlander could not see any order in

 7    the file and the answer to your question is, yes,       anybody may

 8    do it, whatever he wants with that document.        It is free to

 9    be distributed,     if itls a public of interest,   criminal

10    proceeding are per se of public interest.

11               THE COURT:    Itls true that criminal proceeding are a

12    matter of public interest.

13               Doesn't fol Low that every document that has been

14    created in the cours.e of a criminal proceeding is a matter of

15    public intere.st available to the public upon request.

16               That is particularly true,   as I'm sure you know

l7    Mr. Lerner --

18               MS. LERNER:    1 apologize for that interruption.

19               THE COURT:    I understand your passi'on in connection

20   I with tnis matter.

21               Let us talk one at a time.    Okay.

22               I   take it you read Charmer Industries.

23              MS. LERNER:     Yes.

24               THE COURT:    And I take it that having read Charmer

25    Industries, you would agree that a pres.entence report is a
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      document which has some very specific confidentiality

  2   concerns.

  3               MS. LERNER:"   Your Honor,    of course,    I agree with

  4   that.    But the premi.se, you have asked whether a document

  5   could be used for any purpose -- if it's from a criminal

  6   trial       criminal proceeding even if it's sealed,            the

  7   question is was it stolen from the court file.             Was it stolen

  8   or inappropriately unauthorized taken from the Court file as

  9   in Charmer?

10                The answer        the Court can order its return.          If

11    it's obtained from other means, your Honor,            has no

12    jurisdiction to stop           You can not issue a prior restraint

13    order.

14                I.f I may continu.e?

15                THE COURT:     Please.

16                MS. LERNER:     There is nothing in the record, that we

17    are aware of, because we can.not see the docket sheet or the

18    sealing order.     There is nothing. on the order finding a more·

19    fun~amental    interest in. the First Amendment would be s.erved
                                           "
20    by sealing this court file .         There is nothing on the record

.21   fi11.ding this was the least restrictive alternative.

22                Your Honor,    granting -- now we turn to the TRO

23·   its.elf, as the Court granted a TRO, which constitutes a prior

24    restraint on speech without conducting any inquiry as t:o

25    whether ·the respondent's First Amendment r iqh ts would be
                                                                                    I
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     1   infringed.

     2               Now, your Honor, ordered -- the order itself signed            I
     3   by your Honor incorporates Ms. Moore• s arguments and it says

 4       for the reasons stated, but that is constitutionally

     5   insufficient according to Amadao, you must make independent

 6       findings to support a pr:i.or restraint.

 7                   It must be the order itself. The TRO is a nullity.

 8       Failing to make the requisite findings in the order to show

 9       cause,    in as much it constitutes a prior restraint, renders

10       that prior restraint unconstitutional.

11                  Your Honor failed to disclose to us on the docket

12       sheet that we requested, we cannot know whether these

13       documents are properly sealed

14                  TilE COURT:     Have you made application to the Court?

15                  MS.   LERNER:   We request.ed it.

16                  TIIE COURT:     Have you made application to me to

17       unseal whatever document you wanted?           That docket   sh~et

18       indicated there were, I think, four or five numbered

19       dockets   -~   docket entries whl ch were sealed whi.ch were

20       unsealed and,     I think, made available to you.

21                  MS. LERNER:     . They were not.    They were not.    Having

22       a dual docket sheet, your Honor stated at the second

23       appearance that there were thirteen . items on the docket sheet

24       and six were sealed.

25                  Your Honor, that is impropeL
                                                                              15


 1              THE COURT:       What was Improper?

 2              US.    LERNER:     Your Honoy,. you sealed the entire

 3   docket, yet you indicated there are thirteen items in the

 4   docket,   six of which are sealed, whi.oh means there are others

 5   which are not sealed and yet the entire file has been sealed.

 6              Your Honor, if the Court goes beyond the relief

 7   sought in the order to show cause there will be a further

 8   violation of Mr. Oberlander's constitutional rights for the

 9   order to show cause did not seek permanent injunction, did

10   not seek a gag order,        there is no basis for such leave.     He

11   cannot be gagged.

12              He. returned, your honor, the original document that

13   he obtained from Mr. Ber"nstein.

14             Now,     it may not be so cloar in the record that he --

15   those were actually the originals obtained from Mr.

16   Bernstein.       If the Court would like a representation from Mr.

17   Oberlander to that effect,         I would ask that he give it.    But

18   those were the originals.

19             Your Honor can do nothing to stop the dissemination

20   of photocopies or electronic copies and the selective

21   enforcement or selective gag order directed only at Mr.

22   Oberlander and not,         for example, Business Week, which as we

23   noted in our papers, has on its website an article which

24   states that it: has a copy of the criminal -          the sealed

     criminal complaint in t.his matter ..
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                                                                                                          :I




                Your Honor,   cannot selectively enforce a gag order

 2   against Mr. Oberlander.          You cannot gag him and not: gag

 3   Business ·week.

 4              If you're going to take on a little guy you have to

 5   take on a big guy. He'll not sit here and accept that,

 6   neither will I.     We will fight this to the end.                                     A permanent

 7   injunction cannot be granted.

 8              Thank you, your Honor.

 9              THE COURT:     Do you want to respond?

10              MS. MOORE:     Yes, your Honor.

11                would note we'd like to sort of supplement our

12   brief with an additional Fifth Amendment analysis.

13              THE COURT:     Your application is granted to file a

14   supplemental brief.

15              There are a number of. t.hinqs, which are troublesome

16   :i.n this case.   Going- back to the original order to show

17   cause, that document was troublesome because it just said

18   that there was a significant breach in the processes of this

19   Court with respect to. criminal dockets.

20              There .was!   as I think!         indicated on that occasion, I

21   was very concerned about the integrity of the record of this

22   Court and that file.          It turns· out that the fir.st document on

23   that docket sheet is      3    notification by an assistant United

24   States attorney of the filing of· an information, which

25   eyyntually evolved into an indictment.

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 J.             There is no indication, that is docket number one,

 2    which I obtained or had the clerk obtain from Kansas City or

 3    wherever these files are shipped, because it was no longer

  4   available in the courthouse.                          There is not any indication in

 5    that document or in a subsequent document that an application

  6   was made or request was made in that document to seal that

 7    file.   Nor have I been able to find any order signed by me,

  8   which directed that this file be sealed.

 9              Criminal cases such 'as the John Doe case and cases

10    in which by virtue of cooperation agreements and variety of

1.J   other 1natters ej.ther national interest,                       securi.ty interest,      or

12    significant interest that one may have in his own safety,

13    which may be at risk.                          Criminal files are sealed where that

14    is a significant consideration.

15              Let us assume for the moment that an order was

16    signed by me somewhere along the line,                         as it may have been,

      directing that t.he file in this ca.se be sealed.                         That order

18    is directed to whof(l?                    Who is bound by it?      That order,     i.t

19    would appear,              is directed .to the clerk of the court who is

20    informed that this document or this file                         is sealed and is not

21    to be made available,                         except .upon an order of the Court

22    unsealing it.

23              When .the order to show cause was first brought into

24    this Court,        it was a very serious concern as to whether

25    somebody in 'this courthouse unsealed that file or made
                                                          _ _ _ _ _ _ _ _J
                                                                                                    I
                  '                        ' '
                l~f:'l't\'fh\7    C1rt7\ T"ITTlf\
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     document which were sealed available to third parties.        That

 2   was a very significant concern.

 3              A hearing, which we held some weeks ago, makes it

 4   plain and,   I think, it is beyond dispute that these documents

 5   were not removed by John Doe, he properly had them. The

 6   cooperation agreement was a document whi ch was in the

 7   possession of his then attorney.       His attorney had a perfect

 8   right,   as did John Doe, to have   a copy of that cooperation
 9   agreement, had a perfect right to have whatever document

10   pertained to his case, which may have been part of the file.

11              Assume that John Doe decided to make the cooperation

12   agreement,   the proffer agreement available to a third-party,

13   would an order have been violated?       The answer is ·clearly,

14   no.    John Doe had these documents,    so the testimony has thus

15   far revealed, Mr. Bernstein has not submitted an affidavi.t

16   nor has he testified.    You cannot find hi.m for the purpose of

17   serving the subpoena.

18              What we have on the record is the testimony by John

19   Dee. that he did not give those documents to Mr. Bernstein,

20   which gives rise to the legitimate inference that Mr.

21   Bernstein may have s.tolen them, may have improperly obtained

22   those documents.

23              What order of the Court was violated by that event?

24   Those documents . then came into the hands of Mr. Oberlander.

25   Mr.   Oberlander knew that .those documents were sealed
                                                                                                                   19


 1   documents, contained very, very serious information and his

 2   assertion or testimony that, well, it wasn't his words,                                                 it

 3   was his client's words, is remarkable for itls disingenuous.

 4   To say that I am not a criminal lawyer and I donl t know what

 5   it meant,    I have a sealed document,                 is preposterous.

 6   Particularly, since he had the electronic filing                                           information

 7   from the Southern District that said if it's a cooperation

 8   ag.reement, be very', very careful before you use it.

 9               Now, wnat happened, assuming that the documents were

10   in John Doe's cabinet or in his desk, as they had a perfect

11   right to be, they were his documents,                        and the documents were

12   then wrongfully taken by Mr. Bernstein.                             Mr. Bernstei.n is a

13   converter, Mr. Bernstein has no title to those documents, no

14   legal right to those documents,            to that tangible document

15   whether it would be a piece of paper, whether it be a gold

16   ring or whatever it is, ·it was a tangible item which was

17   converted, given the testimony that I have by Mr.

18   Bernstein--.

19               MS. LERNER:    John Doc,       I believe.                         Bernstein did not

20   testify.

21               TIIB COURT:   I am saying based on the testimony.                                                Mr.

22   Bernstein then analogizing these events to the fundamental

23   principle of ~onversion, or larceny,                         if you will, past it

24   onto Mr. Oberlander.

25               Mr. Oberlander had no better right to. those

                                       f""\r:"1l',"IT/..,.T"l\T    1-tnf,lif'I'\   'Mr."ITir'\TifTfl':'t">
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 1   documents than Mr. Bernstein had.     If we were to describe

 2   this change of events in terms of property rights, title, Mr.

 3   Bernstein had no title and he had no title to give to Mr.

 4   Oberlander.

 5               Mr. Oberlander even if he were an innocent purchaser

 6   for value, would ·not have acquired title to those documents,

 7   because Mr. Bernstein had no title to give him. If requests

 8   were made of Mr. Oberlander to return those documents and Mr.

 9   Oberlander refused!    it may be that an action for conversion

10   may be available against Mr. Oberlander.

11               It may be that there is some disciplinary rule,

12   which might be applicable to Mr. Oberlander, who had

13   documents which he knew or perhaps should have known may have

14   been improperly obtained by Bernste'in and passed orrt.o him.

15               It may be that there is some ethical principle,

16   which should have precluded Mr. Oberlander from using those

17   documents.     Because the sens.itivity of those documents would

18   have been. apparent to any reasonable person, particulady one

19   who is trained in the law ostensibly.

20               So the question is, yes, something bad was done,

21   something very bad and perhaps despicable was done by the use

22   of those documents annexed to a complaint in the Southern

23   District, in a civil case, but the question is what order was

24   violated?

25               You can certainty submit briefs on the First
                                                                             21


 1   Amendment issue.      1 have some question about whether i;:ne

 2   First Amendment is applicabJ.e here.        There was an opinion by

 3   Judge Kahn in the Western District--        T   did not bring my file

 4   down.   I thought this was on for 11 :30.       What is the name of

 5   the town -- I will be more than happy to give it to you.

 6                LAW CLERK:   It was a Northern district case.

 7                THE COURT:   Yes!   it was by· Judge Kahn,   in which ne

 8   has a very interesting discussion in a case, which is [lot

 9   this, but analogous in the sense that it involved a

10   confidentiality order that was part of a potential settlement

11   stipulation and that the documents in that confidentiality

12   agreement became available or was sought to be made available

13   to a newspaper upstate by the reporter of that newspaper and

14   the First Amendment argument was made in that case as weLI

15               Judge Kahn didn't think it was applicable for a

16   variety of reasons.       I. think, his reasoning might be quite

17   persuasive when dealing wi th a presentence report and

18   certainly Charmer', I think, leaves very little doubt that a

19   presentence report has a very, very special status.           ,So there

20   we are.

21                You want an opportunity to submit the supplemental

22   brief and I will give you that opportunity.          I just received

23   Mr. Lerner's document this morni.nq.         It was FAX'D or ECF'd. at

24   four something last night. You don't. request. an adjournment

25   at   4~00   o'clock on the eve of a hearing.       If you look at my
 1   local rules it require 48 hours notice for purposes of

 2   adjourning a schedule hearing or a conference.

 3               So I didn't get around to reading it because I left

 4   before that document arrived and I looked at it this morning.

 5               Ms, Moore called,   T   think,   shortly a ft er that

 6   document was received,    so my law clerk tells me,          and asked

 7   for an adjournment to respond t:.o that letter.          I   was not able

 8   to respond t:o that because I was not here.          But I did call

 9   her this morning and I asked her if she wanted to adjourn.

10   You indicated that you saw no purpose for this conference as

11   well, but she preferred to go ahead and make application for

12   a supplemental brief.

13               What I have just declared is not to be understood at

14   this moment as .a determinat.ion that injunctive relief may not

15   be appropriate, but 1 a,m troubled by the .issues as. I have

16   outlined them as to whether: an order signed by a judge on one

17   of those sealing envelopes, which says, not to. be unsealed

18   except by orde:c of the Court, is binding upon any third-party

19   person,   is binding or is the procedure, which is intended by

20   that procedure, which informs any third...:party ·who has notice

21   or will have notice by looking at a docket sheet,             looking at

22   the ·ECF, this is a case under seal -- unde.r sealed or filed

23   under seal-- make application to the Court to unseal the

44   document.

25               Whether having. knowledge that t.he case was one,
                                                                             23


  1   which has been filed under seal, whether an order was issued

 2    or not, .it is a case which is filed under seal,. and clearly

 3    indicates the content of that sealed file       is not to be

 4    disclosed,    except upon order of the Court, whether that can

 5    be ignored, whether that is presumptively meaningless and has

'6    no binding effect upon anybody.

 7                It is an interesting question, Mr. Lerner.       Judge

 8    Kennedy who I think you were quoting with all due respect,

 9    may not have faced this specific issue at any given time,            but

10    it is obviously an issue which is quite troublesome.           It is

11    quite troublesome in so far as Mr. Oberlander's use of that

12    document,    which he knew was sealed,    knew contained very

13    sensitive informati.on.    It tnay be some other relief may be

14    available against Mr. Oberlander.        1 am not Sure.

15                In so far a.s injunctions are concerned_,     there is an

16    interesting observation in Charmer as well,       if you read it

J.7   carefully, Mr.    Lerner, and I'm sure that you have.       Normally

18    was is required,    and Ms. Moore indicates what is normally

19    required before· injunctive relief is obtained-- and by the

20    way in so far as the TRO is concerned-- I do not recall there

21    was any objection ever raised by you to the. issuance of the

22    1RO.

23                It ·is my sense that you were consenting to it at

24    ~very   stage of the TRO as i t was initially issued and

25    renewed. We will leave that go for the moment.
                 MS~ LERNER:         r can respond --

 2               THE COURT:         I said,   leave that go for the moment.

 3   But normally, before a TRO-- injunctive relief, more

 4   specifically should be issued, there are three prerequisites.

 5   The leading case· in this circuit is Jackson Dairy versus H.B.

 6   Hood,   I think,   it   j c:   570 2d or there abouts.    You have to

 7   show irreparable alarm,           likelihood of irreparable harm,

 8   likelihood of success on the merits,             or reasonable issues

 9   going to the merits with the balance of hardships tipping in

10   favor of the movant.

11               [n Charmer, you may recall-- it may be Judge Kearse

12   who said that the burden should not be on the person seeking

13   the injunctive relief,           where the presentence report is the

14   document at issue, the burden should be upon the Attorney

15   General, the person who has that presentence report to.

16   establish an overriding need for the .use or possession of

17   that document.

18               The burden should be on the other side, not on the

19   movant, but the person seeking to be enjoined.

20               Having said all of that I will await further

21   briefing.     I do not think there is anything further that you

22   want to submitr Mr.. Lerner.

23               MS. LERNER:.        There are two cases I would like to

24   cite and just --

25               THE COURT:         Why do.nl t you submit them to me.
                                                                                                      1.

                                                                                                      !·


 1               MS.          LERNER:                     I don't have copies for --

 2               THE COURT:                         When I say submit t hem, submit

 3   citations to them.

 4               MR. LERNER:                              DiPietro against the United States of

 5   America.

 6               THE COURT:                         I'm sorry --

 7               MS. LERNER: . DIP IE T                                  R 0.

 8                It is a Lexus cite,                            2009,    U.S. District --

 9               THE COURT:                         What are the names          bf the parties?
10               MS-.         LERNER:                     DiPietro against the Onited States of

11   America.

12               THE COURT:                         DiPietro is the plaintiff?

13               MS. LERNER:                              Petitioner for the unsealing of the

14   Court file.             2009, US District, Lexus 30010.

15               THE COURT:                         What court was it.

16               MS.          LERNER:                     Southern District.

]7               And the·· second Case is Nycomeds against Glen Parker

18   Generics,      2110 .U.S. district, Laxus 20788.

19               It is a magistrate decision , Eastern District of

20   New York, Magistrate Mann.

21               THE COURT:                         You want a week?

22               MS. MOORE:                         Yes, your Honor.

23               THE COURT:                         You are responding to Mr. Lerner's last




                                                                                                  J
24   submission and I don't .think any further submissions are

25   nec.essary.

                 T11';t).'lf""IV   (""tflT\'l"'lTT)f"'\
               MS. MOORE:                  Your Honor,          in light of Mr. Lerner's

 2   last submission, I would seek c lar i ti cet i on with respect to

 3   the PSR that it's clear --

 4            THE COURT:                   Before you get to t.ha r .        Am I correct

 5   that the documents/ at least Mr. Lerner's last submission

 6   says this whole proceeding now is moot because the documents

 7   have been surrendered,                       turned over to you,     is that cori:-ect?

 8             MS. MOORE:                  Not that I know of.           I think, as I

 9   understand his position, which I don't agree with, hels

IO   entitled to keep all copies of the documents, as long as he

11   returned the originals,                       so,   I believe, in his letter he

12   states that if at the court proceeding he marked as exhibits

13   the original versions of those documents, but his client has

14   maintained both electronic and hard copies, so clearly the

15   intent was not to give back, as Judge Jones ordered in Visa,

16   all copies as well.                   It doesn't get the originals back and

17   are free to disseminating copies.

18            THE COURT:·                  I think,          I indicated. Mr. Oberlander

19   should not do thaL                 I think; .it was in the form of an order

20   and that order, I believe,. if I have not done so,                           I am doing

21   it now and if you wanr it .in writing unt:l.l I resolve this

22   issue.

23            MR. LERNER.:                       You   ar~   issuing a further TRO?.

24            THE COURT:                   Yes,        I am.                                   J
25             1 1 m issuing a further TRO for the reasons that r
     - - - - -
              tTT:''hTnV   C"Tl'J"IT'lTT"1f"'i
     have indicated.

 2              I think there is irreparable harm, which is imminent

 3   to Mr.   John Doe, those documents containt:'.d information which

·4   is highly, highly sensitive and if disseminated i t is

 5   discriminatively to a person that should not get the
                                                                            j
 6   information.

 7              I think,   it would put Mr.    John Doe's safety at risk.

 8   The likelihood of success is or is not present.         Again, if

 9   Charmer Industies is being read correctly by me and,        I think,

10   it is,   I think,   the burden with respect to whether or not

11   there is some need to maintain those documents or to keep

12   thorn should be shifted to you.        Until next week, okay.

13                do not think we need any further hearing.      You will

14   submit the briefs and I will make my determination. The .TRO

15   is continued for another ten days.

16              Is there anything. further? ·

17              MS. MOORE:     No, your Honor.

18              THE COURT:.    Thank you.

19              MS.   MOORE:   I do have one last application. With

20   respect to the transcript to have my client's name replaced

21   with John ooo.

22              THE COURT:     Y ~s.

23              MS. MOQRE:     Thank yqu.

24

25
Exhibit B
                                               https:J/mfliLgooglc.co111/m:til/uf(if.!ui~·2&.view=bsp&ver=ohhl41w8mhn


                from    fred!;i5@aol.com
                   10   Iosf)semall<§lgmaiLcom,
                        ti;lnslaw@aol.com .
                        .arnoldbarnstE)in@gmE1ll.com
               date     Thu. Mar 4, 2010 at 7::13 PM
            subject     further clatlty
        1
        ; mailed-by     aof.corn
        !
            all r want is the minimal posslble. answer which is

            "fellx sattef"

            I wtll rnatl« "1(ld Introduce them tniW.1f martin objects·
            J wlll .go right up his blittwith avi:!ry federal crime lhat
            the \'Ima Ifs ate evrde.nce of (nol' ail of'tham) and the
            prlvlleg{3 exceptions·arrd waivers get it all down on that
            trans.crtpt on Iha record                                    ·

            i am so not kidding this is. not a game this is not a $ 'ffi0,000
            Ga.se anymore and DO NOT READ THIS WRONG this Is~ team
            and my Job Is to sh!li ke the living daylights out bf them. and rt
            starts NOW                                                      ·

            as f said stol.e.n emalls am admissible, period. end of story.
            I mean adrnJssib.le Into evidence let alone discovery.

            ·ancj the~e arent stolen.




l ofl                                                                                              9!14120 l l .12:38 p~
Exhibit c_
From: fred55@aol.com [mallto:fred55@aol.com]
Sent~ Wednesday, May 12., 2010 12:33 PM
To: Kriss, Ronald (Sh~Mla); Kriss, Ronald (Sh~Mla)
Subject: Fwd: complaint, sdny, salomon, welnrlch, & salomon & co.
Ron ••

I recommend you forward this to· Julius with the comment from me that
there are three alternatives here: .

(a) I file publicly today.

(b) I file under seal today.

(c) He arrange a tolling agreement with EVERY defendant but nlxon peabody.
I don't care how many people he has to get on the phone and how fast
he has to work. He had years to give back the money and now it's over.
He can get Brian Halberg to help him.

I believe it's possible to get this in under seal if Bayrock joins in a joint motion
in part 1 to seal the complaint pending a redaction agreement with the ·
assignedm judge. but there are never any guarantees.

Thanks,
FMO
Exhibit j)
                                                                       1


 1                          UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK
 2
                                            - - - - - x
 3
     UNITED STATES OF AMERICA,                  98-CR-1101
 4
                       v.                       U.S. Courthouse
 5                                              Brooklyn. New York
     JOHN DOE,
 6                                              June 14, 2010
                            Defendant.          12:00 o'clock p.m.
 7
                                                     - ~ x
 8

 9                           TRANSCRIPT OF MOTION HEARING
                             BEFORE THE HONORABLE I . LEO GLASSER
10                           UNITED STATES SENIOR JUDGE
11
     APPEARANCES:
12
13   For the Movant:                       KELLY MOORE, ESQ.
                                           BRIAN HERMAN, ESQ.
14
     For the Respondent:                   RICHARD E. LERNER, ESQ.
15                                         LAUREN ROCKLIN, ESQ.
16   For Non-Party Movant:                 STAMATIOS STAMOULIS, ESQ.
17
     Court Reporter:                       Anthony M. Mancuso
18                                         225 Cadman Plaza East
                                           Brooklyn, New York 11201
19                                         (718) 613-2419
20
21
22
     Proceedrngs recorded by mechanical stenography, transcript
23   produced by CAT.
24
25


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 1               (Case cal led; both sides ready.)
 2              MS. MOORE:      Kelly Moore and Brian Herman for the
 3   movant, John Doe.
 4              MR. LERNER:      Richard Lerner of Wi Ison Elser and
 s   Lauren Rock! in for nonparty respondent Frederick Oberlander.
 6              MR' STAMOULI s :.   Stamat i OS Stamou I is for Jody Kr i SS

 7   and Mi chae I Ej ekam,   nonparty movants.
 8              MS. MOORE:      Your Honor, we have received the letter
 9   or this morning written by Mr. Lerner accusing me of an
10   ethical violation, based on a conversation that I had with
11   Mr. Stamoul is.   As an initial matter, I completely disagree
12   with the characterization of the description of that
13   conversation to which Mr. Lerner was not a party and I believe
14   that if the court were to inquire of Mr. Stamoul Is he would
15   advise the court that that description is completely
16   inaccurate.    No threats whatsoever, lmpl icit or expl lcitly,
17   were made during the course or that conversation.
18              THE COURT:      Al I right.
19              MR. LERNER:      I wi I I withdraw it based on Ms. Moore's
20   representation to the court.
21              THE COURT:      What was the basis for making that
22   representation to begin with?
23              MS. MOORE:      An e-rnal I to me whlch indicated that
24   Ms. Moore had stated to Mr. Stamoul is that the Eastern
25   Di strict attorney was watc.h i ng this case and     that quote there


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 1   may be indictments and coupled with the settlement proposal
 2   offered by Ms. Moore.
 3                MR. STAMOULIS:     Your Honor, if may speak to that?
 4   I'm Mr. Stamoul is.       I had a very friendly conversation with
 5   Ms. Moore that I initiated on behalf of my clients, Mr. Ejekam
 6   and Mr. Kriss.     Actually, the reason why I cal led her ts to
 7   advise her that Mr, Ej ekam was in Africa and there not be any
 8   surprise that he was not going to be present to give any
 9   testimony here today.
10                That led to a conversation and during that
11   conversation Ms. Moore just gave me information.       When I put
12   the Information that she gave me into an e-ma i I , the tenor and
13   the tone of the conversation didn't translate and I can see
14   why my e~mal I could have been misconstrued and it lacked the
15   context.
16                MR. LERNER:    So I apologize to Ms. Moore and the
17   court.
18                THE COURT:    Let me tel I you, Mr. Lerner, I read your
19   letter.     I came in rather late this morning, after attending a
20   funeral.     But my recollection is that I have alerted the
21   United States Attorney to this proceeding.        I don't know
22   whether Ms. Moore did or didn't, although I have a
23   reco I Iect Ion of saying cc to Mr. Kami nsky who is an Assistant
24   United States Attorney because I was concerned with the
25   Integrity of documents which were seated and having read some


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                                                                             4


 1   of the things which were annexed to the complaint which
 2   clearly reflected that portions of presentence report was
 3   divulged, that a cooperation agreement, portions of which may
 4   have been divulged.      Those two documents, among others, which
 5   were sealed, were documents which if divulged, that ts the
 6   contents, may serious Iy jeopardize not on Iy the I Ife of the
 7   person who was the subject of those documents.          In this case
 8   it might also significantly affect matters of national
 9   interest.
10                Now, I received a letter from you on Friday.         It was
11   rather late In the afternoon.          I think It was approaching four
12   o'clock.     I didn't want to respond to you ex parte and
13   wasn't about to sit down and start writing letters.             tried
14   to communicate or had my law clerk try and reach Ms. Moore so
15   we could have a conference and that didn't happen.
16                Aga in , j ust as I was a I i tt Ie nonp Iused with the
17   first letter that I received from you, which I made some
18   comment about on Friday.        I don't think there's anything in my
19   order, that is, the Temporary Restraining Order, the order to
20   show cause, which would or could preclude a party to whom an
21   order to show cause was addressed from conferring with hls
22   lawyer.     Nothing in my order which would even hint at
23   precluding Mr. Oberlander, or anybody else to whom that order
24   to show cause was addressed, from conferrrng with his lawyer.
25   The Sixth Amendment, whether it's applicable or isn't


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                                                                             5

 1   applicable, is Irrelevant.         I don't know whether there would
 2   have been any doubt about whether Mr. Oberlander can consult
 3   with you and show you whatever it is that was relevant to the
 4   order to show cause and that why you would need my consent for
 5   that.
 6               Now, with respect to your Inquiries as to the order
 7   which may have been issued, there is no formal order which
 8   be I i eve i s not i ssued by v i rtua I I y any j udge i n th is
 9   courthouse with respect to sealing.           I   notice the letter I got
10   from you says facsimile under seal and to the extent that I so
11   ordered it, I have tacitly approved it.
12               What happened in this case from the very first
13   document that was f i Ied, it was ri Ied clearly i ndi cati ng a
14   sealed case.     And documents which are submitted to the court
15   from time to time are submitted In a white envelope and ln
16   that envelope it says ordered sealed and placed in the clerk's
17   orfice and may not be unsealed unless ordered by the court.
18               The documents which are submitted to the court and
19   then placed in one of these envelopes are documents which by
20   virtue of their very content are documents which either affect
21   matters of national interest        or would seriously endanger the
22   life of the object or subject of that communication or
23   significantly Impede a significant criminal investigation.
24               so there is no forrna I order, and to the extent that
25   you want to know what that order said and to whom It was



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                                                                                   I
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                                                                                   1.
 1   addressed It's a requ~st which has no merit.          I can't make an
 2   order sealing a document and saying this document is sealed
 3   and not to be Ioo'ked at by Mr. Lerner, Mr. Stamou I is .       It' s a
 4   document which is placed under seal.          It's filed under seal.
 5   And if anybody wants to see what it is that has been filed
 6   under seal, the procedure is to make an application to the
 7   court to unseal It.
 8                I have applications such as that presented to me
 9   from time to time but I have never had an application asking
10   me specifically to fl le this document under seal beyond the
11   sealed letter envelope in which it comes, which clearly says
12 _it ' s f i Ied under sea I .
13               This case was filed under seal from the very first
14   day it came into this courthouse.          You can't look at the
15   docket sheet on ECF because it's sealed.          I can look at it
16   because l 'man exception.          So I can look at that docket sheet
17   and I looked at that docket sheet on Friday and the first
18   thing I saw was United States vs. John Doe, sealed case in
19   bold capital letters.
20               And then l looked down the docket sheet and I saw
21   about six docket entries which said these documents have been
22   docketed under sea I .        They were docket numbers fl ve through
23   eight, eleven, thirteen, sixteen and seventeen.          Filed under
24   seal.    I don't know as I talk to you what those documents say.
25    I undoubtedly knew about it at the time because a copy of it


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                                                                             7


 1   must have been provided to me.         And to the extent that I agree
 2   that it should be fl led under seal I tacitly, implicitly
 3   ordered it.     But al I of that is irrelevant.
 4                The documents which were annexed to that complaint
 5   clearly reflected that they were sealed.          And by the way, your
 6   reading of Charmer Industries leaves a I ittle bit to be
 7   desired, with al I due respect.        You're correct in that Charmer
 8   Industries dealt with a probation officer who sent a
 9   Presentence Report with I be! ieve the tacit approval of Judge
10   Sifton at the time, who was the judge i.n that case.          But if
11   you read United States vs. Charmer through to its cone I-us ion
12   it would have been perfectly clear that Rule 32,
13   notwithstanding, the court of appeals very clearly said
14   presentence reports are not to be disclosed to anybody,
15   besides the defendant, ·for reasons which are very fu! ly
16   explained in United States vs. Charmer.
17                A I I that aside,   given a document which is p Ia in Iy
18   indicated on lts face, filed under seal, that comes into the
19   hands of a lawyer, at the very least that lawyer should have
20   very serious doubt about doing anything with that document
21   without first making appropriate inquiry about whether
22   disclosing this document that was sealed is appropriate and
23   should an order of unsealing or permission to use it be
24   obtained .

25                Now, as I read what was annexed to that complaint,


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                                                                          8

 1   there's no doubt that Mr. Oberlander was aware of the fact
 2   that these documents were sealed.       There's no order that needs
 3   to be addressed to Mr. Oberlander and say, Mr. Oberlander,
 4   this is a sealed document, don't publicize it.       It's obvious.
 5   And the mere fact that the contents of those documents,
 6   presentence report, cooperation agreement         have you ever
 7   seen the cooperation agreeme~t?
 8             MR. LERNER:    I have now, your Honor.
 9             THE COURT:    You hav~ now.
10             And looking at that cooperation agreement and having
11   looked at it now there's an awful lot of information in that
12   cooperation agreement which is·very sensitive, isn't there?
13             MR. LERNER:    Yes, there is, your Honor.
14             THE COURT:    And you would have some serious concern
15   Ir you were the defendant -- if you were Mr. Doe, you would
16   have some serious concern about having the information in that
17   document sent out at large for anybody to see, wouldn't you?
18             And if you've ever have seen a presentence report ~-
19

20             And you would have only if you were representing a
21   defendant in a criminal case.       You would have no occasion to
22   have seen it otherwise, unless the defendant voluntarily
23   showed it to you.
24             -~   you would know that that presentence report
25   contains an awful lot of information which is very sensitive


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                                                                                 9


 1   and shouldn't be disclosed by anybody.
 2              So when your letter asks me to show you what order
 3   is directed to Mr. Oberlander, there isn't any.              What was
 4   directed to Mr. Oberlander was a clear declaration in writing
 5   this document is sea Ied, just as you fi Ied this under sea I and
 6   this wi 11 be filed under seal.             It wi 11 be placed in the vault
 7   of the clerk's office and nobody wi I I see that unless an order
 8   Is submitted to me for signature unsealing it.
 9              Okay.    hope that answers some of the questions
10   that you've asked in your letters.
11              MR. LERNER:       May I address that, your Honor?
12              THE COURT:    I    beg your pardon.
13              MR. LERNER:       May I    address your Honor?
14              THE COURT:    By all means.
15              MR. LERNER:       We have obviously spent a long time
16   discussing this and we would like to now agree to the relief
17   sought in the order to show cause, which is identify from whom
18   he received the documents and to whom he gave the documents .
19   He wi I I agree to return them.            And that is the only relief
20   sought and we wi I I consent to it.
21              THE COURT:    He wl I I now.
22              MS. MOORE:    I be! ieve we sought more relief than
23   that.   We sought a hearing to get a better understanding of
24   exactly from whom he got them, what his understanding was
25   about where that person got them from.              Everything else under


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                                                                          10

 1   oath.   Where they came from.     Everyth i ng we can do to further
 2   plug up this hole and trace down who else may have these
 3   documents .
 4                   believe we also asked for attorneys' fees in
 5   connection with having to make this motion l n the f i rst
 6   instance.      But we do want an opportunity to question
 7   Mr. Oberlander and the other respondents under oath to get a
 8   better understanding of just how this happened to make sure it
 9   doesn't repeat Itself.
10                 Our concern is for the I ife of our client and for
11   his safety.      We have a very murky picture right now and it may
12   require the court or us with a court order to subpoena
13   Mr. Bernstein so he can appear and take the stand and explain
14   how he obtained the documents.
15                 I'm also concerned with the phrasing of Mr. Lerner's
16   comments just now in that I am concerned that Mr. Ober Iander
17   fully intends to use the Information contained in those
18   documents, even if he doesn't use the documents.
19                 So I want to make it clear that our appl !cation also
20   includes information that was in those sealed documents that
21   also should not be further disseminated or used in any way
22   that we think could hurt our client.
23                 MR. LERNER:   May I respond?
24                 There's no request in this order to show cause on
25   the face of the order to show cause for attorneys' fees.        If


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                                                                         11

     attorneys' fees are pursued, I simply cannot consent to that.
 2   Mr. Oberlander certainly doesn't have the money to pay
 3   Ms. Moore's attorneys' fees.
 4                 As far as use, I would suggest we take a short break
 5   and discuss with Ms. Moore the issue that she's presented.
 6                 THE COURT:   I think I should take a minute,
 7   Mr. Lerner, to emphasize how serious Iy I regarded what brought
 8   this matter before me.      When Mr. Doe appeared before me for
 9   sentenc'i ng, appearing before me a I so at that ti me on his
10   behalf were fairly significantly placed members of a national
11   law enforcement security agency.       I should say agencies
12   plural.     The disclosure of the information annexed to that
13   complaint was a disclosure of information which was reckless
14   and significantly endangered the I ife of the person to whom
15   that information related and that disturbed me no end because
16   it behooved any lawyer -- forgetting about a lawyer -- anybody
17   looking at a document which was clearly, clearly designed to
18   be kept very confidential, to be very, very careful with not
19   making that information and letting lt float at large.          I want
20   to emphasize why it is that ! have regarded and do regard this
21   very seriously.
22                 l '!I give you a couple of minutes to talk to
23   Ms , Moore.

24                 (Recess.)
25                 MS. MOORE:   Your Honor, I don't believe we're going


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 1   to reach a resolution short of a hearing that we initially                I
 2   requested and we sti I I would I ike to have the respondent               i.
                                                                               :
 3   testify.    We would also I ike to have Mr. Bernstein directed to
 4   appear in court to testify so that we can get to the ful I
 5   bottom of where these documents came from and who exactly has
 6   them and who else may have them.
 7               THE COURT:    Okay.
 8               MR. LERNER:   We have no objection to Mr. Oberlander
 9   testifying as to the items set forth in the order to show
10   cause. that is, where he got the documents from and to whom
11   they were given.    Beyond that we wi l I object as no further
12   inquiry is relevant in our opinion, your Honor.
13               THE COURT:    Are you ready to proceed today or do you
14   need an adjournment for that purpose?
15               MS. MOORE:    Your Honor, I would prefer to do it all
16   at once so we get Mr. Bernstein as wel I, on Friday, ir
17   possible.
18               THE COURT:    I suppose you wi I I issue a subpoena for
19   Mr.   Bernstein.
20               MS. MOORE:    Yes, we wil I present one for the court.
21               THE COURT:    Do you have another date in mind?
22               MS. MOORE:    Friday would work for us.
23               THE COURT:    Does that work for you, Mr. Lerner?
24               MR. LERNER:   May I check my calendar?    r know it's
25   the court's preference to do it all at once, and Ms. Moore's.


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                                                                              I.
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 1   Mr. Oberlander is prepared to testify right now.            His
 2   testimony would be very brief. in accordance with what was
 3   ordered.
 4                THE COURT:      Why don't we do it al I at once.
 5                MR. LERNER:      Al low me to check my calendar.
 6                MR. STAMOULIS:       I wf I I say that I have trial in
 7   Delaware on Friday.          I 'rn admitted to the Eastern District but
 8   I practice primarily in Delaware.          Though my clients,
 9   Mr.   EJ ekam and Mr. Kriss,      it's going to be c Iear that they
10   were not the ones that obtained these documents or gave them
11   to Mr. Oberlander.        And to the extent that they even saw them
12   it was only    in connection with the complaint, after it was
13   written.
14                l don't know if movant is going to seek to have
15   testimony from my clients or if we can settle that with an
16   interview and affidavits, especially for Mr. Ejekam who is in
17   Africa and wi I I not be able to be here for a hearing.
18                THE COURT:      Why don't you work that out with
19   Ms, Moore.     There's nothing for me to address In that regard.
20   If their testimony is not necessary, if they can provide the
21   information you need by affidavit,           don't have any problem.
22                MR. LERNER:      My calendar is clear on Friday.
23                MR. STAMOULIS:       I have trial on Friday.
24                MR.   LERNER:    Monday.
25                MR. STAMOULIS:       If you Insist on Mr. Kriss


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 1   testify Ing?
 2               MS. MOORE:      I certainly insist on Mr. Kriss
 3   testifyfng and, depending on affidavits, I may also insist on
 4   Mr. Ejekam testifying.        But Mr. Kriss is here.       I do want him
 5   to testify.     There seems to be a conflict in footnote two of
 6   the letter that Mr. Lerner said.          Bas Ical ly, what he's saying,
 7   it was your client who was behind the documents being

 8   pub I ished and we need to resolve that confl let.
 9               MR. LERNER:      Ms. Moore is confusing who
10   Mr. Stamoul is represents.        Mr. Bernstein is not represented by
11   Mr. Stamoul is.
12               MR. STAMOULIS:        Let me get my calendar.
13               MS. MOORE:     Footnote two of the I etter we just
14   received states:       Doe harps on a portion of the racketeering
15   complaint brought against him that Mr. Oberlander admitted the
16   documents are sealed.       The relevant al legation in the
17   comp Ia int states no such thing as to tl1e present or recent
18   past, but in any event the complaint is not Mr. Oberlander's
19   statement, it is his clients' statement.            It is a statement of
20   the i r a I I egat ions, not his , and if they are j ud i c i al
21   adm i ss i ons they are the i rs, not h is .
22               Those clients referred to in footnote two are
23   Mr . Kr I ss and Mr.   Ej ekam.
24               THE COURT:     What letter are you referring to?
25               MS. MOORE:     The letter we received this morning


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 1   accusing me of misconduct.
 2                THE COURT:    The letter dated June 14?
 3                MS. MOORE:    Yes, your Honor.
 4                THE COURT:    Reading from footnote two?
 5                MS. MOORE:    Yes. your Honor.
 6                THE COURT:    All right.     We have Monday.
 7                MR. STAMOULIS:     Your Honor, I am avai Iable on
 8   Monday.     I could be here.
 9                THE COURT:    Ms. Francis.
10                THE CLERK:    10:30 works.
11                THE COURT:    The 21st,
12                MR. LERNER:    Thank you, your Honor.      He.
13                MS. MOORE:    Your Honor. we assume that the temporary
14   restraining order is sti I I in place.
15                THE COURT:    Yes, it is.
16                MR. LERNER:    Can we address the contingency, if
17   Mr. Bernstein is not avai !able via subpoena what we then do?
18                MS. MOORE:    We' I I contact the court lf we need to do
19   anything at that point.        We're hoping he is avai !able.    We may
20   go forward without him.        We' I I figure it out.
21                THE COURT:    There's nothing about these proceedings
22     don't be! ieve that requires the record of these proceedings
23   to be sealed, unless there's something I'm missing.
24                MS. MOORE:    Your Honor, his name is used.      If we can
25   substitute John Doe for his name throughout, then there's no


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 1   need.   I'm sensitive at this point to unsealing them until we
 2   can possibly redact it or change it to make sure it's John Doe
 3   throughout .
 4              THE COURT:    Mr. Lerner.
 5              MR. LERNER:    No objection as to referring to him as
 6   Mr. Doe.

 7              THE COURT:    So ordered.     Thank you.
 8              MR. STAMOULIS:     Thank you, your Honor.
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             ANTHONY M. MANCUSO,     CSR    OFFICIAL COURT REPORTER
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA                         98 CR 1101 (ILG)


                       Plaintiffs,
               v.
FELIX SATER aka FELIX SATTER,
                       Defendant,


FREDERICK M. OBERLANDER, ESQ. et al.
                       Non-Party Respondents


                        Declaration· of Frederick M. Oberlander
       I, Frederick M. Oberlander, declare under penalty of perjury, pursuant to 28

U.S.C. 1746, that the factual statements set forth herein are true, based upon my personal

knowledge, and my knowledge derived from my review of the materials maintained by

me for the prosecution of the matter of Kriss v. Bayrock, and the defense of myself in this

proceeding as to which I am a non-party respondent.

                                       Introduction
        1.     On May 18, 2010, in response to movant' s ex parte petition, Exh. A,

without notice and a hearing, this court, sitting as a star chamber, issued, undocketed and

under seal, a patently unconstitutional prior restraint TRO against me and the co-

respondents, enjoining us from disseminating truthful information, lawfully obtained, of

public concern, viz. docwnents evidencing movant's federal racketeering conviction, plea


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bargain and sentencing, portions of which respondents included in a civil racketeering

complaint they filed against movant et al. on May 10, 2010 in the Southern District of

New York.

        2.      If this were the court's only transgression, I might have charitably

considered it to be constitutional amnesia, and reacted with measured restraint.

        3.      But this gag order was the least of it. I have discovered, and the documents

reveal, that - despite thirty years of binding precedent - for over a decade this court has

covertly maintained movant' s criminal docket as a "super sealed" case, which is patently

unconstitutional, and the court is unconstitutionally concealing the docket and

surreptitiously dispensing whatever justice, or lack thereof, as the court sees fit.

        4.      Since it was accompanied by the implied threat of criminal prosecution, I

believe the gag order was meant to chill me into silence. I will not be silenced. The court

has concocted a system of private justice without public accountability. This is not just

constitutional amnesia. This is a constitutional crisis.

        5.      With no evidentiary hearings, no on-the-record findings, no due process of

any kind whatsoever, this court maintains that, somehow, revealing even one word

contained in any one of these documents would be a clear and present danger to national

security, basing this on facts that the court alone claims to know from extra-judicial

sources, which facts it apparently refuses to share with the respondents.



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        6.     Interestingly, twelve years ago in November 1998, shortly after this court

sealed the file on this action, Business Week got hold of the complaint- a plain vanilla

criminal complaint charging the movant and co-defendant Gennady Klotsman with RJCO

violations, etc., and wrote about it, Exh. B. Notwithstanding that I stand in the same

position as Business Week, and the article remains on its website, this court has not

brought Business Week into these proceedings. Perhaps the court does not wish to pick a

fight with someone who buys ink by the gallon. The Business Week article states that the

criminal complaint crune from a court file. So what is the court going to do about it?

Nothin,g- because obviously there is nothing, constitutionally, that the court can do. And

there is nothing that the court can do to me.

        7,     Notwithstanding the court's feelings about national security, the Business

Week article remains on the website - and has been there for years, apparently- and our

Union stands as she stood, rock-bottomed and copper-sheathed, one and indivisible.

        8.     Many other persons, law firms, insurance companies, etc. - for example

McGraw Hill, Akerman Senterfitt, Wilson Elser, Morgan Lewis, Courthouse News,

Nixon Peabody, Roberts & Holland, Duval & Stachenfeld, Salomon & Company, the

Bayrock Organization, Zurich, and CIGNA-have had access to some or all of these

documents. Yet the Union stands as she stood, rock-bottomed and copper-sheathed, one

and indivisible. If disclosure of these documents are such a clear and present danger, why

aren't we all dead yet? More to the point, why hasn't the court held hearings 24x7,


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haling all these persons before it; why out of all these persons are only these respondents

singled out to be gagged? Surely if these documents contained hydrogen bomb secrets,

the FBI would be all over this; why not now in this case?

        9.      The answer is obvious. There is no threat to national security. The only

threat is that the court feels that there has been an affront to its honor and the integrity of

the process - yet the only threat is that this proceeding will reveal that the court has

maintained a constitutionally illegal super-sealed docket system of private justice.

Regrettably, this court's sense of super-patriotism may explain why it has allowed itseJf

to be used by the movant as an instrwnent of, and shield against liability for, his past and

ongoing crimes.

        10.     The scope of the TRO is breathtaking, globally gagging everyone in the

world, everywhere, who ever received these documents. But the TRO was widocketed

and issued under seal, and only the respondents have been served. The court has ignored

that others are within its scope, yet have not been placed on actual notice of these

proceedings - viz.i Business Week, and the defendants and their insurers in the Krisi v.

Bayrock action - so that they could know that while they went to sleep in America, they

woke up in Amerika, secretly gagged.

        11.     The signers of the Declaration of Independence mutually pledged to each

other their lives, their fortunes, and their sacred honor. They proclaimed this publicly.

This court, however, hides what it does, and no one can doubt the reason is pusiJlanimous


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fear. The court knows if it tries to gag Business Week or a law firm, they will respond not

with measured restraint but with righteous constitutional outrage. The court perhaps did

not expect that I would respond with indignation, or that I would sign a declaration such

as this. Nor did the court expect that in seeking to gag me, I would reveal that the court

has selected who may speak the truth, and who may not, based on which speaker it thinks

can't, or won't, fight back. This court would dole out First Amendment protection only to

a favored speakers it fears are too big to gag. Well, your honor, I will not be gagged.

         12.    Two hundred years ago in Marbury v. Madison, Justice Marshall said it is

emphatically the province and duty of the judiciary to say what the Jaw is. Today, this

court would extend that to include the right to say who may speak about it and who may

not. To this, I object.

         13.    Similarly, two hundred years earlier, in Dr. Bonham's Case, Justice Coke

invalidated a statute of Parliament enabling the London College of Physicians to levy ·

fines against anyone who violated their rules, finding that their statutory powers violated

"common right or reason" because "no person should be a judge in his own case." I

agree.

         14.    This court has made this case its own. No court may do that. Men have

understood this not just for two hundred years, but for two thousand, from when Roman

praetor Ulpian wrote,




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                Iude~ tune lit~m ~uam facere intellegi~ur, cum dolo malo infraudem legis
                sentient/am d1xent dolo malo autem v1detur hoc facere, si evidens arguatur
                eius veI inimicitia vel etiam sordes.                                                           I
                 A;judge makes t?e case his own when with wrongful intent, whether the                          I
                 bias be due to friendship, hatred, or corruption, he gives a fraudulent
                judgment.


                15.    Times change. Technology changes. The evils that men do, do not. I well
       believe this court has departed from its duty to judge impartially and issuedfraudes

       sentientiae - that is, judgments tainted or cheated of honest and impartial deliberation,
       cum dolo malo.

                16.    This court must deem itself disqualified, because it is a witness to what it
       purportedly sealed and what its order stated, but will not reveal that order to me. Or this

       court wiU have to recuse itself, when I move on July 19th to unseal this case and all of the

       unconstitutionally sealed cases in this courthouse. This unconstitutional sealing process

       in this case, with no hearings, findings, or notice, from its inception, is and has been not

       just a stain on the constitution and the judiciary, but invalid ab initio, and thus each and

       every item in the secret docket must be not only re-docketed in public, but released to the
       world immediately and in its entirety, with all deliberate speed.

                17.    My application will be far broader than just seeking the unsealing of this

       one case. Under Second Circuit precedent, I may demand - and I will demand - the

       unsealing of every secretly sealed docket in this court house. Based upon representations

       by this court, I believe the court has admitted that this courthouse maintains a dual docket

       of "super sealed" cases, surreptitiously dispensing hidden process to favored defendants,

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        and so on July 19th I wilJ move for the immediate release to the world of the nature and

        description of each and every such case, and the immediate reconstruction of public

        docket sheets in each and every such case, and their release as well.

                18.     There is no possibility that this court can, let alone appear to, impartially

        sit in judgment of itself and its years of constitutional transgressions, and so it will have

        to recuse itself immediately.

                19.     Moreover, by refusing to share its extra-judicial, non-evidentiary

        knowledge of what, if any, documents were ever sealed and not just unlawfully vaulted

        away out of sight, and in accordance with what orders or decrees, if any, and upon what

        constitutionally required hearings and findings, if any, and what corresponding decretory

        language exists, if any, all of which are matters of materially disputed fact, this court has

        disqualified itself.

                20.     Finally, I would ask of this court one question: You have done enough.

        Have you no sense of decency sir, at long last? Have you left no sense of decency? For

        the only threat to our Union is that a judicial system that would self-justify and

        rationalize how it could ever dare operate in secret.

                                                  Summary
                21.     The movant's motion, brought by TRO did not seek, as requested relief, a

       permanent injunction against dissemination of the information contained in the
        documents at issue. It sought a temporary restraining order against the dissemination of

        purportedly sealed and confidential materials. The permanent relief sought was an order


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 directing the respondents to testify as to whom they got the documents from and who

they gave them to, The TRO was itself an illegal prior restraint, in violation of the First

Amendment. Nonetheless, I have testified as to how I got the documents, and to whom I

gave them. So this entire star-chamber proceeding should now be ended. Case over.

        22.     But somehow, this matter has been converted into a motion to restrain my

free speech rights, via a request for a return of the purportedly sealed documents that

were given to me, and a permanent injunction against my using any information that I

obtained from them. Since it appears that the court wishes to go down this road, I will

respond zealously, as it is my absolute right to do. My zeal will include, as noted above, a
motion to unseal 1• .



1
 Make no mistake, this is a case of prior restraint. In Procter & Gamble v. Bankers Trust,
                1
78 F.3d 219 {6 h Cir. 1996), the court held an injunction prohibiting a news magazine
from publishing civil litigation filings was an impermissible infringement on First
Amendment rights, A fortiori, in this case, where the Documents are litigation filings or
other judicial documents or played a significant role in the performance of Article III
functions in a criminal case (see Amodeo, infra at fn.13), an injunction prohibiting
Respondents from publishing them would be unthinkable prior restraint. Movant's
reliance on Zyprexa is thus misplaced, as Zyprexa involved an injunction against
commercial documents passed between the parties in discovery and which played no role
in the performance of Article III functions (Amodeo). Furthermore, although irrelevant to
this case, the Zyprexa court noted that the non-judicial commercial documents in that
case had been properly sealed and that the sealing order itself had been violated; in this
case no documents have been properly sealed, because the entire scaling process was
constitutionally corrupt, there having been no requisite hearings or findings, apparently
everything simply shoveled into the vault without even a formal sealing order, asswning
anything at all, including any of these documents, was actually sealed to begin with, since
the Court refuses access to those records and thus there is no record evidence anything
was ever sealed, and Respondents deny anything was sealed (and maintain that if


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                                           The Documents
                23.    The evidence has shown that in March 2010, l received unsolicited from

       Joshua Bernstein, then a client, five documents2: (i) a proffer; (ii) a cooperation
       agreement; (iii) a presentencing investigation report (PSR); (iv) a criminal complaint; and

       (v) a draft information (collectively, the "Documents"). I was given (i), (ii), and (iii) in

       both printed and electronic form, and (iv) and (v) in electronic form only.

                24.   I received them passively and so for First Amendment purposes lawfully3•




       anything was, it was sealed unconstitutionally, corruptly, and illegally), and in any event
       even if this Court had decided to uphold the Constitution and properly sealed any of the
       Documents, that sealing order would have never been violated because Respondents
       obtained the documents without involvement of the Court files or Court process [Roman
       Catholic Diocese of Lexington v. Noble, 92 S.W.3d 740 (Ky. 2002), refusing to hold
       newspaper in contempt for publishing documents which were sealed; sealing order
       merely restricts access to the documents in the custody of the court through the court or
       its process, not access to copies of the documents or the same information obtained other
       than through the Court: "An order sealing a record or part thereof should not be read as
       creating a prior restraint on publication of the contents of the sealed material, unless the
       order expressly says so.'l And movant never claimed the proffer was never sealed at all.
       And of course Zyprexa is not authority to begin with. To the extent the Zyprexa court felt
       entitled to enjoin individuals but not the media on the imp1icit basis that individuals'
       rights of free speech are Jess than those of the media, the court was in error, for that is not
       the law here or anywhere else in this country. Huminski v. Corsones, 396 F.3d 53 (2nd
       Cir. 2004). Some or all of these same points are true of movants other misrelied-on cases
       FRCP 26 commercial discovery cases, and this Court may disregard them as well.
       2
         In the form I received them from Bernstein, the cooperation agreement had appended to
       it a Department of Justice financial statement. So from my perspective there are five
       documents at issue, whereas from the movant's perspective there are six, since the
       movant considers the financial statement to be a separate document.
       3
          Bartnicki v. Vopper, 532 U.S. 514 (2001), holding that where a person is a passive
       recipient of infonnation of public concern his dissemination thereof is protected against


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        25.      The documents are judicial documents related to or part of the federal

charge, adjudication, and disposition of criminal racketeering charges brought against the

movant in 1998, the adjudication occurring before this same court and with this same

case number, 98·CR-l 101.

                               The Return oftbe Documents
        26.      Insofar as the ·~return" of those documents means the return of the

original, printed versions that I was given, I have no objection to delivering them to the

court to do with as the court sees fit. However, insofar as the "return" of those documents
means the destruction of all copies thereof, physical or electronic, in my possession, I

object on the grounds that such a "return" is a de facto prior restraint, as discussed

immediately next.

                                       The Injunction
        27.       A permanent injunction would continue the patently unconstitutional prior

restraint under which this court placed the respondents on May 18, 2010. I object.

            There is a Presumptive Right of Access to Most Criminal Documents
        28.      In this and the immediately following section, "Right of Access" refers

only to the right of a person to obtain access from the court itself (or as the case may be,

the executive branch).




penalty by the First Amendment regardless whether the person giving it to him acquired
it illegally and regardless whether, if such were the case, he knew or should have known.


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        29.     Respondents, and everyone else, enjoy presumptive First Amendment and
common-Jaw rights of access to court procedures and documents. The authority for this

includes decisions of the United States Supreme Court and the Second Circuit Court of
Appeals. It is well understood that the reason for these presumptive rights are the
protection of society's interest in having its citizens able to see or learn for themselves

what goes on in their courts and engage in the marketplace of ideas by discussion of what
they have seen or learned (and in the case of criminal proceedings to protect the

defendant's rights to an open trial so he may feel safe that the court or prosecutors will
not trample on his constitutional rights in secret).

        30.     Yes, these presumptive rights of access are qualified, but that only means

that they are not absolute and at times when a person seeks access to a court process or

documents the court may engage in a balancing test, weighing these rights of access and
society's interest in protecting them against the countervailing interest asserted by the

person objecting to that access.

       31.      In particular, when the court proceedings or documents in question are

criminal in nature, the right of access is founded both in the First Amendment (and Sixth)

and common law, and is of paramount societal importance, such that only a showing of a

compelling interest can justify restricting it, and then only to the degree necessary. 4



4 By contrast, in civil proceedings, in the case of garden-variety commercial documents
exchanged during discovery, there is a common-law right of access, but it is less


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Within this category of criminal proceedings or documents, the presumptive First
Amendment and common-law rights of access are ranked according to the proceeding or

document to which access is requested.                                                      iI
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         32.   In this circuit, the most open documents in criminal proceedings (that is,

the documents to which the presumption of access is most protected and most strong) are

docket sheets, for the obvious reason that without access to those docket sheets no one

could know what other documents he might want to access. This circuit has found an

almost overwhelming First Amendment right of access to criminal dockets (and,

though not relevant to this case, has found the same right of access to civil dockets as

well).

         33.   Almost, if not as, subject to this presumptive right of access are those

documents known as ''judicial documents," which in this circuit means those documents

which played a role in the adjudicative decision itself.

   There is no Presumptive Right of Access to Presentence Investigation Reports
         34,   Pursuant ot F.R.Crim.P 6, there is no presumptive right of access to grand

jury minutes, while maintained under secrecy; however, even this secrecy is not absolute,

and upon sufficient showing of need the public may be allowed access,




protected and thus more readily overcome by a showing of need to keep the documents
from public view.




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              35.     Presentence investigation reports have also been historically not open

      from ready access, but the source of that protection is not statutory, as is the case with

      grand jury minutes, but by judicial common law, and again their secrecy is not absolute.

      Although not definitive or clear in its application, this court has said in dictum that it

      considers such reports to be similar in this sense to grand jury minutes.

           There Is a Presumptive Right of Access5 to Most Criminal Judicial Records

              36.     Respondents, like everyone else, enjoy presumptive First Amendment and

      common law rights of access to court procedures and documents. The authority for this

      includes decisions of the United States Supreme Court6 and the Second Circuit Court of

      Appeals. 7

              37.     It is well understood that the raison d'etre of these presumptive rights is

      the protection of society's interest in having its citizens able to see or learn for

      themselves what goes on in their courts and to be able engage in the marketplace of ideas

      by discussion of what they have seen or learned 8 (and in the case of criminal proceedings



      s In this and the immediately following section concerning PSRs, "Right of Access"
      refers only to the right of a person to obtain access from the court itself (or as the case
      may be, the executive branch) when either is in possession "in the nonnal course'', and
      not to any other right of access from any person other than the court or executive branch.
      6 Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555 (1980); Press-Enterprise Co. v.
      Superior Court of California 464 U.S. 501 (1984); Press-Enterprise Co. v. Superior
      Court ofCalifornia, 478 U.S. 1 (1986).
      7 Hartford Courant v. Pellegrino, 380 F.3d83 (2004); United States v. Amodeo, 44 F.3d

      141 (2d Cir. 1995).
      8
        Huminski v. Corsones, 396 F.3d 53 (2d Cir. 2004).


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       also to protect the defendant's rights to an open trial so he may be· safe that the court or

       prosecutors will not trample on his rights in secrecy).

               38.     The right ofaccess of an individual citizen, and his right to engage in that

       marketplace of ideas, is as strong, and as strongly protected, as is the right of access of
       the largest media outlet. 9

               39.     Yes, these presumptive rights of access are qualified, but that only means

       that they are not absolute and at times when a person seeks access to a court process or

       documents, the court may engage in a balancing test, weighing these rights of access and

       society's interest in protecting them against the countervailing interest asserted by the

       person objecting to that access. 10

               39.     In particular, when the court proceedings or documents in question are

      criminal in nature, the right of access is founded both in the First Amendment (and Sixth)

      and common law, and is of paramount societal importance, such that only a showing of a          ,I


      compelling interest can justify restricting it, and then only to the degree necessary, 11

      (By contrast, in civil proceedings, in the case of garden variety commercial documents

      exchanged during discovery, there is a common law right of access, but it is less


      9 Id. ("Rights accorded by the First Amendment provide quintessential protection for the

       individual.")
       10
         Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555 (1980); Press-Enterprise Co. v.
      Superior Court ofCalifornia 464 U.S. 501 (1984); Press-Enterprise Co. v. Superior
      Court ofCalifornia, 478 U.S. 1 (1986).
      JI Id.




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       protected and thus more readily overcome by a showing of need to keep the documents

       from public view).

                40.     Within this category of criminal proceedings or documents, the

       presumptive First Amendment and common law rights of access are ranked according to

       the proceeding or document to which access is requested.

                41.    In this circuit, the most open documents in criminal proceedings (that ls.

       the documents to which the presumption of access is most protected and most strong) are

       docket sheets, for the obvious reason that without access to those docket sheets no one

       could know what other documents he might want to access. This circuit has found an

       almost overwhelming First Amendment right of access to criminal dockets (and, though

       not relevant to this case, has found the same right of access to civil dockets as well),

       which may be restricted only upon a due process finding of compelling interest. 12

       Almost, if not equally, open to access are those documents generally referred to for this

       purpose as 'judicial records," which in this circuit means those documents which played

       a role in the adjudicative decision itself. 13

                The Proff~r, Cooperation, Complaint, and Information Are Criminal
                Judicial Records; They and the Information in Them Are Matters of
                                          Public Concern
               42.                             of
                      Within this category criminal proceedings or documents, the

       12 Hartford Courant v. Pellegrino, 380 F.3d83 (2004).
       13 United States v. Amodeo, 44 F.3d 141 (2"d Cir. 1995). Respondents cite this case solely

       for the definition of judicial records, and not for any relevance to the issue(s) of prior
       restraint.


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presumptive First Amendment and common law rights of access are ranked according to

the proceeding or document to which access is requested.

                Per Se

        43.     Given the abundant decisional law establishing the existence of First

Amendment and common-law rights of access to these documents because of the

fundamental, bedrock policy of alJowing citizens to disseminate them throughout the

marketplace of ideas, it is axiomatic that they are matters of public concern per se, given

that their public concern is what creates these rights of access in the first place.



                In the Specific Facts of This Case

        44,     The record reflects that the movant is a violent recidivist felon with prior

convictions for assault with a deadly weapon and for violation offederal racketeering

law. On that basis alone the facts of his criminal racketeering adjudication in this court

are matters of public concern. This isn't a parking ticket,

        45.     Apparently, in spite of the massive racketeering scheme for which he was

convicted in this court, the movant received no prison term and no order of restitution,

even though he and his co~criminals, including Mafia an~ Mafiya mobsters, stole over

$40,000,000. On that basis, these documents are matters of public concern, as sentencing

dispositions always are.

        46.     Even while awaiting sentencing, the movant began racketeering crimes at



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Bayrock, some of which relate back horizontally to the sentencing process itself.

Specifically, movant began skimming almost $1,000,000 a year, year after year,

unreported, from Bayrock in 2003. On that basis, these documents are matters of public
concern.




        48.    Finally, in hearings before this court on June 21, 2010, in an episode not

likely to wind up in her career highlights tape, counsel for the movant allowed him to

take the stand. One can imagine how excited she, and movant, must have been to imagine

how be would make a big splash. One can also imagine how he felt when he jumped off



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the high board only to realize moments later that the respondents had drained the water

out of the pool. For movant perjured himself when he testified that he was a member

(owner) ofBayrock, and then backtracked and said he was not

                                        He not only committed another predicate crime,

which the respondents will supplement to their SONY RICO complaint, but did so within

10 years of the first such lie, and thus is now subject to racketeering liability for operating

an enterprise (courtroom SB, EDNY) through a pattern of racketeering (perjury and

obstruction of justice). On that basis, these documents are matters of public concern.



                There Is a Non-Presumptive Right of Access to Presentence
                Investigation Reports

        49.     Pursuant to Fed. R. Crim. P. 6, there is no presumptive right of access to

grand jury minutes, while maintained under secrecy; however, even this secrecy is not

absolute, and upon sufficient showing of need the public may be allowed access, as

Charmer states. Presentence investigation reports have also been historically not open to

ready access, though the source of that protection is not statutory, with grand jury

minutes, but rather is decisional law, and again their secrecy is not absolute, and upon

sufficient showing of need the public may be allowed access, as Charmer states.

Although not definitive or clear in its application, this court has said in dictum that it

considers such reports to be similar in this sense to grand jury minutes.

        50.     However, the fact that grand jury minutes and PSRs are not readily


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accessible does not make them not matters of public concern. In this case, the PSR is a

matter of public concern for the reasons cited above; viz. it is the evidence that the        I

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movant lied to the Probation Officer, a predicate racketeering crime, and that the

Probation Officer failed to detect it, both of which are matters of public concern.

        51.    Charmer never addressed First Amendment issues of free speech or prior

restraint. There is however federal authority on that point, and therefore the respondents

end this argwnent by citing appellate authority that, read with New York Times and

Bartnicki, allows them to disseminate not only the four judicial records, but the PSR as

well.

        52.    In United States v. Smith, 123 F .3d 140 (3rd Cir. 1997), the court was

addressed the question whether it could impose a prior restraint on a newspaper which

had lawfully come into possession of a sentencing memorandum which contained grand

jury material (it had been leaked by the executive branch). The court sealed the

sentencing memorandum after the leak had been detected, on the ground that F.R.Crim.P

6(e) material was implicated, and ordered briefing on the extent to which the sentencing

memorandum was sourced in secret grand jury material. The court held that the

newspapers, which already had the sentencing memorandum and wanted access to those

briefs and an associated hearing, had no First Amendment right of access to those briefs

or the associated hearing, but then observed as to the sentencing memorandum they

already possessed, which contained much of the same material as would the briefs and



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the hearing:

         The order entered by the district court in this case cannot effectively bar
         further dissemination of any potential grand jury secrets by members of
         the public who possess the sentencing memorandum. Nor could the court
         enter an order barring parties in possession of the sentencing
         memorandwn from passing the memorandum onto other parties. Under
         prior restraint law, orders prohibiting the media from publishing
        infonnation already in its possession are strongly disfavored. Although the
        district court could not prevent the newspapers from publishing the
        sentencing memorandum once they came into possession of it, the court
        properly prevented further government disclosures of theputative grand
        jury secrets contained in the sentencing memorandum to additional parties.
        Even if the dissemination by members of the public continues, the order
        barring further disclosure of any secret grand jury material will at least
        narrow that dissemination.


        53.        The court so held even though it noted that the sentencing memorandum

disclosed, and would disclose1 certain sensitive infonnation that Rule 32 required

probation officers to exclude from PSRs and disclosed, or would disclose PSR material in

violation of Rule 32(b)(6).

        54.        This is a resounding trifecta of First Amendment freedom: The court held

that newspapers and members of the public already in possession of a sentencing

memorandum containing not only secret grand jury material but also PSR material and

even material too sensitive for a PSR could not be enjoined from disseminating it at will

because they enjoyed a First Amendment right to do so and could not be made to suffer

prior restraint.

        55.        Neither may respondents be enjoined, from disseminating the PSR or any



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of the other Documents. This is still the United States of America, not Soviet Russia. 14




Dated:       Suffolk County, New York
             July 16, 2010



                                                      Frederick M. Oberlander




14
   This court should note that in United States v. Watkins, 623 F.Supp.2d 514, SDNY, the
court ruled that where a plaintiff in a civil case attempted to take a position in that case
about his financial condition ten years earlier which was materially different from what
he had told the Probation Officer and court at the time during his federal sentencing for a
drug crime, as evidenced by the PSR, the revelation of that fraud was sufficient need
under Charmer to justify unsealing the PSR sections that related to his financial condition
and other records as well. Clearly, in this case movant is in worse position if he attempts
to argue that his PSR should be protected (and this is beside the issue of prior restraint),
because even if Respondents didn't already have the PSR Watkins would entitled them to
get it on motion. Obviously, Watkins also confirms that the PSR in this case is a matter of
public concern/or New York Times and Bartnicki purposes.


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Exhibit (
       LAW OFFICE OF FREDERICK M. OBERLANDER



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      ATJ'ORNJ':\'·AT·LAW

      fred55@aol.com




October 18, 2010
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                                                                                       MON'l'AllK, NEW YOl\K 11954
                                                                                           '!'BCJWHONE\ 212.826.0357
                                                                                                   FA.'( 212.202.7624




Brian Herman, Esq.
Morgan Lewis      ·
(by Fedex)

Re: Kriss et al. v. Bayrock Group LLC et al.    PLAINTIFFS' DEMAND FOR THE PAYMENT OF $105,000,000
   . SONY 10 CN 3959                              COMMUNICATION IN CONTEMPLATION OF SETTLEMENT

Dear Mr. Herman:


Enclosed is the original complaint with certain changes made to facilitate settlement prior to public
notoriety and the unstoppable national and international scandal that wiH result. However, before I address
our agreement to try to cooperate in good faith:


PLAINTIFFS' DEMAND FOR THE PAYMENT OF DAMAGES OF $105,000,000

Plaintiffs have pied and will well present a case for the jury award of damages of approximately
$105,000,000, exclusive of prejudgment interest and attorneys fees and exclusive of other legal and
equitable remedy. This includes trebling as provided by 18USC§1964(c). Your client will be jointly and
severally liable for all of the damages, and there are no considerations of causality.

This is based on our estimate of actual damages of $35,000,000 and includes assumptions as to available
abatements of certain potential penalties and interest. We will provide a statement of damages on request or
at the first settlement meeting, but for now understand that this figure of actual damages in very large part,
other than as to those penalties and interest, represents the value of Plaintiffs' interests in Bayrock in 2007
at the time they were, in a word, stolen as part of the racketeering and state law wrongs. They are based on
Plaintiffs' entitled share of the projected proceeds ofBayrock as Bayrock itself computed and disseminated
in 2007. Your client has given deposition testimony in March that he was instrumental in the preparation of
those estimates in 2007 and that they were plausible at the time, and plausibility is the legal standard.

I should refer you to the Arizona case Rhue with the comment that the state law is essentially identical in
New York, including the plausibility standard and the measuring date prospective as ofthe date of the theft,
and Ariwna RICO is substantially the same as federal RICO.

Moreover, Arizona law will control as to Bayrock Camelback in any event. It is clear Restatement doctrine,
and New York doctrine, that the law of the state of incorporation governs the internal affairs thereof,
including without limitation the obligations of managers, owners, and officers to and among each other.

But your takeaway from Rhue should be focused on two points: First, even though the projects went
bankrupt subsequent to the theft from plaintiffs. since at the time of the theft the partnership had circulated
financing documents claiming a large profit was expected. they were hung with that; and second, not only
were the damages trebled under punitive damage law. they were again trebled. doubly. under RICO. In
contrast, Plaintiffs here demand only a single trebling.          ·
THE STANDSTILL AGREEMENT AND REDACTED COMPLAINT

Plaintiffs have observed this agreement in good faith. The attached redacted "complaint" is for immediate
dissemination, not service, upon all defendants to incent them into settlement discussions without the
necessity for blowing this all up publicly.

First, allegations which quote from or describe the contents of the PSR, complaint, proffer, information, or
cooperation agreement will be blacked out in standard redaction typeface. For your review, they are shown
now as strike-through gray highlighted font.

While I was redacting it for this purpose, I took the opportunity to add additional allegations which well
relate the human trafficking of minors and the bribery ofKazakh government officials to the racketeering.
As you will see, they allege Bayrock or Arif or both owned most or all ofRixos, which along with the
Savarona was the situs of the forced sexual servitude of the underage girls, reportedly videotaped; that Arif
was known as part of the racketeering to embezzle money from Bayrock, such money itself the proceeds of
racketeering crimes, to send to Fettah in Turkey in support of this, and that at least one Kazakh official
received substantial money from Bayrock in 2007 for an ostensible "energy project" which disappeared off
the face of the earth. The redacted version alleges this all relates per Daidone, and alleges violations of the
Foreign Corrupt Practices Act which are either themselves RICO predicates or at least violate Travel Act
predicates (in addition, of course, huma11 trafficking and sexual exploitation of minors are RICO predicates,
as are using vessels at sea for human servitude). These additions are in magenta highlight.

In other words, your client, and the other defendants, is( are) now alleged to have aggregate RICO liability
to Plaintiffs and now others for not only the financial crimes already alleged but for international bribery,
human trafficking, and the involuntary servitude and sexual exploitation of children. There is no allegation
that your client personally participated in these predicate trafficking and exploitation acts (but of course
overt participation is not a requirement for substantive or vicarious RICO or state law liability therefor).

I might add almost everything alleged is an extraditable offense pursuant to 32 UST 3111, the United States
bilateral extradition treaty with Turkey. Of course Mr. Arif is already there, so this may or may not matter.

But for the rest of this letter I want to concentrate on your client's prior racketeering conviction and our
standstill agreement and what must happen next.


Reasoning by Induction and Deduction from the Transcripts and Other Public Documents

As you know, all transcripts of all hearings in the OSC you brought are matters of public record. They are
not sealed, nor could they have been without prior noticed public hearings and on the record factfinding,
but in any event my counsel requested, and received on the record affirmation that they are not sealed.

As a result, the identity of your client is public record, because forever and through today, the case number,
CR-98-1101, which you have captioned as "John Doe'', nevertheless has shown all this time on PACER as
captioned "United States of America vs. Felix Sater" (and in any event Judge Glasser declined to order
anyone not to state that John Doe is your client).

As a result, the existence of his PSR, cooperation, information, complaint, and proffer are matters of public
record because they were discussed in open court.

As a result, your client's conviction can be presumed, and certainly alleged, because he wouldn't have a
PSR if he hadn't been convicted.

As a result, your client's conviction for violation of federal RICO predicated on securities fraud and money
laundering can be presumed, and certainly alleged, because that's what most of his co-defendants were
(publicly) convicted of.
As the PACER and physical (court storage) docket sheets are completely empty, one can presume, and
certainly allege, that your client was not ordered to pay restitution, as that, and any other aspect of
sentencing, would have had to have a docket entry, pursuant to Hartford Courant.
As the December 2007 New York Times article your colleague believes so credible relates, Mr. Klotsman,
your client's co-defendant, was at the time in 2007 paying $625 per month restitution.

As the applicable restitution provisions, §3663A for example, and §5 ofUSGS, state that restitution may be
ordered paid over time, but must be paid within 5 years of sentencing, one can presume that Mr.
Klotsman 's conviction, and your client's, occurred no earlier than December 2002.

As that is within the 10 year period ofFRE 609, this will all be admissible (notwithstanding the size of the
loss would justify an exemption in any event 1•

As the press accounts, congressional hearings, and other public documents show, the White Rock and State
Street crimes extended through 1996 and into 1997, and one can presume, and certainly allege, that your
client's racketeering charges cover that period.

 As the MVRA (Mandatory Victims Restitution Act) applies to convictions for covered offenses which
 occurred after April 24, 1996, it would apply to your client's conviction for racketeering straddling that
 date, so long as racketeering (i) is a covered offense; (ii) is a continuous crime and thus there is no ex post
facto implication; and (iii) Booker does not apply to the MVRA.

As the 2nd Circuit has ruled in Cataggio that pump and dump securities fraud racketeering convictions are
covered offenses, the first leg is satisfied.

As the 2nd Circuit's rulings in Butler and Samet provide that racketeering is a continuous crime and that
racketeering activity which straddles April 24, 1996 is covered by the MYRA, the second leg is satisfied.

As the 2nd Circuit has ruled in Re iffier that Booker does not apply to the MYRA, the third leg is satisfied.

As all three legs are satisfied, your client should have been ordered to pay restitution in the full amount of
the Joss, which can well be alleged from public records to have been at least $40,000,000. See §3663A.

As the other co-defendants who were convicted were ordered to pay restitution, we can presume, and
certainly allege, (i) that the mandatory nature of the restitution was apparent to the Court at the time, else
why would everyone but your client be ordered to make restitution (again, this is all well supported by
inductive and deductive reasoning without recourse to the PSR); and (ii) that the Court found the
administrative burden exclusions inapplicable.

As your client took about $8,000,000 or so from Bayrock, plus whatever he topk from Michael Samuels
directly or indirectly through the FL deal (ask him to explain this), and from Mirax (ask him to explain this
too), and almost all of this occurred by the end of2007; possibly some in 2008, we can certainly presume
and allege that, given the presumptive earliest possible date of his conviction as December 2002, had
$40,000,000 restitution been ordered, the victims would have actually received a very substantial amount
within the 5 year window, certainly $10,000,000 or more can be alleged,

All the above can be alleged without reference to the PSR. Of course, as you well know, the PSR is
absolutely damning, but I can allege the above, in the following context, without violating any existing or
possible court order or standstill agreement:



1
  When asked by Mr. Bernsteins counsel ofrecord (in other words, not me) during his March 2010
deposition if he had been convicted of any crime other than assault with a deadly weapon, your client was
kind enough not only to decline to answer on 5th Amendment grounds, but to state that in doing so he was
relying on your firm's advice that he could so decline. In other words, he waives privilege.
Pretext and Face Saving

Your initial attempt to conceal all this was predicated, to the extent any legal basis was stated or
discernible, on some concept of in rem jurisdiction or global gag orders or some nonsense that somehow
dissemination of information of public concern contained in lawfully obtained documents can be prior
restrained when inconvenient for your client.

When that failed, you and Judge Glasser decided that the "danger" to your client ofrevealing his
"cooperation" justified prior restraint. This is pretext. And it is shameful.

It is shameful because there is ample federal court precedent supporting a First Amendment right to
disclose the names of undercover police operatives and undercover informants, some of which I cited in
prior letters to the Court. But it's worse than that.

It is shameful because no one bothered offering any actual evidence of any threat, nor was any finding
made of substantial likelihood of success (in fact Judge Glasser went out of his way to say that the
probability of success was there, or it wasn't).

It is shameful because it's all pretext. What my clients believe happened here ls simple.

They believe Judge Glasser had a predisposition to "reward" infonnants, as well reported in the media, for
example in the case of Sammy Gravano, who was sentenced in 1994 without any order of restitution and
allowed to keep his millions of dollars he took as a Gambino underboss for, inter alia, dozens of contract
killings (which would itself support an allegation that Sater was also allowed to keep millions), which was
then up to the trial judge's discretion. In fact, such failures to award restitution was what prompted
Congress to pass the MYRA to remove it from the judge's discretion and make the order mandatory.

They believe that your client was rewarded for his cooperation by being allowed to keep the millions of
dollars he admitted taking from the White Rock racketeering enterprise and by being allowed to evade what
was then mandatory restitution, inter alia concealing by "super sealing" his entire criminal process.

The PSR as you well know is a roadmap to all this, which is why there is no chance you will withstand
First Amendment scrutiny of the public interest attendant to disclosure of all this and the PSR.

Fortunately for your client's thousands of victims, the Supreme Court just this June ruled in Dolan that the
90 day time limit for a judge to order restitution is not a barrier to, and that a judge retains the right to,
order restitution at any time, so when all this becomes public any of them can petition Judge Glasser for
restitution orders, notwithstanding this is 15 years after the offense.

But wait. There's more.

Your client was convicted of racketeering predicated on securities fraud. Not only the conviction, but the
entire criminal proceeding against him, was covered up. No victim was told. No victim was informed. No
victim could have found out had they gone looking, and for all we know some or all of them did.

Of particular interest here is §1964(c), the civil damage section of RICO, particularly insofar as the PSLRA
limited the use of predicate acts of securities fraud in civil RICO actions (emphasis added).

         Any person injured in his business or property by reason of a violation of section 1962 of
         this chapter may sue therefor in any appropriate United States district court and shall
         recover threefold the damages he sustains and the cost of the suit, Including a
         reasonable attorney's fee, except that no person may rely upon any conduct that
         would have been actionable as fraud in the purchase or sale of securities to
         establish a violation of section 1962. The exception contained In the preceding
         sentence does not apply to an action against any person that is criminally
         convicted in connection with the fraud, in which case the statute of limitations
         shall start to run on the date on which the conviction becomes final,
You see, your client's victims were deprived of their right to sue him in RICO for treble damages because
his conviction, a substantive element of his civil liability, was wrongfully and intentionally concealed.

Or in alternate terms, your client's victims were deprived of, and continue to be deprived of, since
concealment is a continuing offense, their knowledge of, and thus their right to, a chose in action.

And interestingly, the 2"d Circuit ruled 20 years ago, in Porcelli, that depriving someone ofa chose in
action by wrongfully concealing it from them states a cause of action in RICO (assuming jurisdictionally
significant use of mail and wire).

I'm telling you that your client remains liable for continuing, related racketeering offenses, to his victims,
and not only by the doctrine of continuous concealment as a continuing RICO predicate, but by any
concept of equitable tolling2 •

Since you know the PSR shows his responsibility can be as much as $80,000,000, not just $40,000,000,
that makes him potentially liable for $240,000,000.

But wait. There's more.

The leading cases on the issue, in SDNY, Bingham, and in EDNY, Chubb, state that prejudgment interest is
available in RICO in exceptional cases, such as where the defendant is responsible for delaying justice. I
think it's clear this would be such a case.

That makes him potentially liable for something in the vicinity of$600,000,000. Exclusive of counsel fees.

It also makes liable anyone else who conspired with him or participated with him in this racketeering,
substantively or vicariously, based on combinations of relatedness and causation, and outside of RICO
makes liable everyone involved in the fraudulent conveyance, conversion, or transfer of his assets, as a
matter of state law, insofar as these claimants are and remain creditors under New York law.


NEXT STEPS

This was never about some purported threat to his safety. As I said in my last letter to Judge Buchwald,
these would have to be the most stupid criminals in the history of crime if they haven't figured out that
Sater cooperated. We're supposed to believe that none of his co-defendants noticed that he was testifying
against them, and none of them noticed that they (those who did) went to jail and he didn't?

This is a cover-up of his evasion of restitution and liability for his racketeering crimes, part of the obvious
result of the super-sealing of the criminal proceedings.

So long as I have no obligation to disclose these facts, and my clients have no obligation to disclose them,
and Judge Buchwald with full disclosure signs off on this as appropriate, we will cooperate with this
avoidance ofliability for his racketeering in the 1990's. But in return he cannot evade liability for his
racketeering in the 2000's, at least to Plaintiffs and those to whom they owe duties.

In return you will, as a threshold act to show good faith, cooperate by immediately executing a companion
tolling agreement, a stipulation of further extension of time to serve, an agreement to accept service on Mr.
Sater's behalf, will join in all concomitant requests to Judge Buchwald, and will otherwise acting with all
deliberate speed to get every other defendant tolling, stipulating, and joining, and then "in there"
negotiating while this is all tolled and sealed and gagged.



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    Which in the federal context applies to the government as well as to private litigants, per Irwin.
That includes Mr. Samuel, whom we have sued personally and against whom we will amend to include
RICO conspiracy liability.

Although you don't know of it, I know of(but it is work product and my client's control whether I can
disclose it) multi-million dollar cross-claims your client has against at least some of these Defendants.
Perhaps that will further incent him to cooperate.

On which note, as I already told you, my clients are indifferent as to which Defendants write the checks,
and if your client can get out of this without paying much, ifanything, that's fine with them. They are also
well aware that your client lacks the means to pay what is demanded, and thus are proposing he pay at least
in very principal part with his cooperation, something he no doubt will understand.

Start working the phones. Based on our negotiations with Mr. Schwarz and counsel, my clients and I are
relatively certain Bayrock Group LLC and Mr. Schwarz (trust me, Mr. Halberg, too), will be very eager to
go along and help, as will Akerman Senterfitt. I suspect Mr. Sater will convince Mr. Samuel as well.

I remind you my clients are not interested in one dime they are not entitled to by law and this is no
extortion or improper threat. They simply demand for what they are entitled to: one billion dimes 3•


ANTI-SPOLIATION AND DEMAND FOR TURNOVER

You and your client are on notice to preserve all books and records, regardless of claim of privilege,
whether in your client's possession and control or yours, and if such whether or not work product, for
purposes of this litigation and for presumptive demand by federal, state, and local agencies and Interpol.




Sin~y yours,        . ~..R'?---
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Attorney-at-Law




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  At this time, plaintiffs will very favorably consider settling the entirety of all claims known and unknown
for their actual damages of$35,000,000. This is not an offer at common law or for purposes ofFRCP 68. It
is the least amount which plaintiffs would be willing to accept for a quick settlement that avoids the
dissemination. Please note this or any settlement may be subject to judicial approval.
Exhibit G
      LAW OFFICE OF FREDERICK M. OBERLANDER



I     FRBD!lRICK M. 0BBRLANDER
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November 9, 2010                               CANCELLATION OF STIPULATED STANDSTILL
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                                       COMMUNICATION IN CONTEMPLATION OF SETTLEMENT
Brian Herman, Esq.
Morgan Lewis
(by email, facsimile, and Fedex)

Re: Kriss et al. v. Bayrock Group LLC et al.      §DNY 10 CIV 3959
    United States v. John Doe                     EDNY 98 CR 1101

Dear Mr. Herman:


Please take note that I myself in my own behalf, and as counsel for and in behalf of my clients Mr. Kriss
and Mr. Ejekam, declare the stipulated standstill agreement of August 12, 2010 in re EDNY 98 CR 1101 to
be cancelled as to all three of us, as ofright, such cancellation to be effective Tuesday, November 16, 2010.
I and my clients reserve all other rights thereunder, including without limitation all other rights to
cancellation as may exist.

As you know, Plaintiffs have determined that dozens of copies of the complaint and exhibits were sent out
by third parties acting on their own, primarily by Mr. Schwarz, prior to any court ever ruling on anything,
and then circulated by them and those who received them. There isn't anything you can do about it. There
is no legal recourse to anyone.

If you wish Mr. Sater's activities lawfully kept quiet to any extent, stand still, stop filing motions and get
out of the way so Plaintiffs can try to resolve the case before everything uploads to PACER and goes
public. The only way to try to prevent worldwide notoriety will be a globally stipulated sealed
confidentiality order accompanying a global settlement. No prior restraint ever was possible and thanks to
your litigation in EDNY and what it revealed and the transcripts thereof, all you have accomplished now is
to guarantee massive public interest in the cover-up not only of the Sater conviction but the super sealed
files and the evasion of mandatory restitution of the $10,000,000 (give or take) that Plaintiffs can allege
Mr. Sater took out ofBayrock and the wrongful concealment of the $600,000,000 RICO chose in action
available against Mr. Sater, concealments themselves RICO predicates, which by definition make all these
matters of public interest so beyond any First Amendment threshold as to make silly any attempt to enjoin.

I am sending separately a litigation standstill agreement for the SDNY matter, which is in everyone's
interest and which matches in substance and duration the standstill the Bayrock defendants (including Mr.
Schwarz) all signed two weeks ago. It includes a stipulation as to serving the original complaint as filed,

If you don't stipulate I'll get it so ordered anyway because (as Judge Glaser himself pointed out) the issue
of dissemination is moot, but you'll have wasted more time and be that much closer to the time when Judge
Buchwald orders this public and your client finds this on the front pages everywhere, including New York,
Iceland, Turkey, and Kazakhstan, and all the other plaintiffs worldwide, including Glitnir (which already
knows of the EDNY criminal matter from public filings but not yet about your client), join the party.

I can with confidence predict from the settlement discussions I've had that all the defendants will be
delighted to keep this quiet, if it is in Plaintiffs' interests to ask them to do so and if such can be done while
allowing Judge Buchwald to respect the presumptive common law right ofaccess to civil litigation filings.
You have two friends, Plaintiffs and the Second Circuit, where it is Holy Grail to protect sealed and
stipulated confidential civil settlement agreements even against grand jury subpoena. But first there has to
be such a settlement agreement. And that lies in the discretion of Plaintiffs. If this case is not settled
quickly, it will surely go viral. If you obstruct a settlement instead of helping get there, everything will go
public with clockwork inevitability. This is not a threat, it is mathematics. And it is certain.

No power on this earth will much longer prevent as much lawful and legal worldwide dissemination of this
Complaint and every document attached thereto or referenced therein as the public and press doing the
dissemination think its value justifies. You already saw what Courthouse News thought of it, and
everything else I file about Bayrock, entirely without my or my clients' involvement. Only a stipulated
sealed confidential settlement agreement Plaintiffs find acceptable, executed very soon, can stop that.

You claim to be worried about Mr. Sater's notoriety yet all you managed to do is get back to where we
were in May with the decidedly non-trivial addition of a preclusive judicial determination that I and my
clients did nothing wrong and can disseminate at will. You've handed my clients preclusive judicial
affirmation of what they already had, the First Amendment right to disseminate, created worldwide front
page news value based on what was revealed about what went on here, and intentionally interfered with
their ability to settle the case by adopting the ridiculous argument that serving a complaint on someone who
already had it was wrongful, as a result practically guaranteeing loss of time needed to settle and an ensuing
public disaster for your client who by your own admission is the most exposed to publicity of all.

You say his safety is threatened. My clients are not endangering it. They are endangering his economics.
Ask the Sapirs and iStar how happy they'll be when Trump SoHo sales are shut down, the money refunded,
and the offering plan voided and they possibly face bar from fmther development in New York because
your client was concealed from disclosure in the offering documents. I think they have $120,000,000 in the
project behind iStar, which has $300,000,000. That's $420,000,000 riding on a project worth now I think
$240,000~000. And I believe the Sapirs guaranteed at least some ofth!l loan. Kramer Levin will be
overjoyed, all the more since Steptoe already found their connection with FL while litigating FL's fraud on
Glitnir depositors and would love to connect your client, all of which is in the Complaint (ask him about his
dealings with Kramer Levin), and you better believe if this blows up I'm inviting them in through their
counsel, as well as all the buyers now suing before Judge Wood, who will be delighted to know that while
they don't have securities fraud, they have RICO, with far bigger value. I look forward to your client's
testimony that he didn't own much ofBayrock, owned no membership interests, while he tries to explain
why Akerman Senterfitt drafted a trust for his wife and children for the express, stated purpose of assigning
his Bayrock membership interests to the trust, which my clients alleged he executed as part of the cover-up.

He's going to be an awfully popular fellow. Always remember, ifI can't settle this in time now, you will
have brought this about by your decisions, taking the tactical nuclear device I filed in SDNY and enhancing
it beyond what even I could have, magnifying its yield to that of a strategic thermonuclear weapon by
dragging in EDNY and that disaster. You say you did this to protect Mr. Sater? I don't get it. I really don't.

Sign the litigation standstill and get out of the way. You have seven days to seek further relief from
Judge Glasser. If you do, if you don't standstill, if you continue to interfere with service or dissemination, if
I see letters, motions, or anything else, I will instruct counsel to seek emergency relief. And I'll get it. And
you'll get the inevitable, concomitant global public news and media coverage of everything everywhere.

You and Ms. Moore may meet with me anytime this week. Do not mistake the tone of this letter. It is not
arrogant. It is, "What were they thinking?" Listen to me. I see legal ways out for your client which are in
my clients' interests to facilitate. You won't see them. You need my help. Take it. Fast. Or Judge Buchwald
will be presiding over World War ill with coverage likely on the front page of the New York Law Journal.


Si~y yours,. /".?{"&--·
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Attorney-at-Law
Exhibit H
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            14                                                                       FOR THE COURT,
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK
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 3
     UNITED STATES OF AMERICA
 4
          -against-                           U.S. Courthouse
 5                                            Brooklyn 1 New York
     JOHN DOE,
 6
                 DEFENDANT,
 7                                            Apr i 1 1 , 2011
                               - - - - x      11:00 o'clock a.m.
 8
                 TRANSCRIPT OF HEARING
 9               BEFORE THE HONORABLE BRIAN M. COGAN
                 UNITED STATES DISTRICT JUDGE
10
11
     APPEARANCES:
12
     For the Government:            LORETTA LYNCH
13                                  United States Attorney
                                    147 Pierrepont Street
14                                  Brooklyn, New York     11201
                                    BY: TODD KAMINSKY
15                                  Assistant U.S. Attorney
16
     For John Doe:                  MICHAEL BEYS ESQ.
                                                1
17                                  NADER MOBARGHA,~ESQ.
18   For Mr, Roe:                   RICHARD LERNER, ESQ.
                                    DAVID SCHULZ, ESQ.
19
20
21   Court Reporter:                SHELDON SILVERMAN
                                    Official Court Reporter
22                                  225 Cadman Plaza East
                                    Brooklyn, New York 11201
23                                  (718) 613-2537
24
25   Proceedings recorded by mechanical stenography. Transcript
     Produced By Computer Aided Transcription.

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 1              THE CLERK:    United States versus John Doe.
 2               (Appearances noted) ,
 3              THE COURT:      Good morning.
 4              THE COURT:      Who is in the back?
 5              MR. KAMINSKY:       Kevin Lee, an intern in the Columbia
 6   Law School, intern law program assisting with this case.
 7              THE COURT:      I'll note the record of these
 8   proceedings will remain sealed, although depending on what's
 9   discussed, I or the circuit may choose to unseal it after.
10               I've reviewed all the papers.
11               Does anyone have anything they want to add to the
12   papers?
13               MR. BEYS:    Yes, your Honor.        There are two matters,
14   one of which the court may already have on behalf of John Doe.
15   Judge Glasser's scheduling order dated March 23rdrd, I'll pass
16   a copy to your Honor's deputy and also a case we did not cite
17   but is virtually tracking the language of Judge Glasser's
18   order.    It's In Re criminal contempt proceedings against
19   Gerald Crawford, Second Circuit 2003 case; the cite, 329 F.3d
20   131, stands for the proposition under the collateral bar·
21   doctrine, a party may not challenge a district court's order
22   by violating it, which is closely related to what Judge
23   Glasser stated in his order.        I pass that to your Honor's
24   deputy as we 11 .
25               THE COURT:     Anything e1se?


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 1                MR. LERNER:     This decision was just handed up.
 2                THE COURT:     I haven't read i t anymore than you
 3   have.     You dispute the fact that he cannot challenge a sealing
 4   order by violating it?
 5                MR. LERNER:     I denied the premise there is a
 6   sealing order --
 7                THE COURT:     I didn't ask you that, sir.     If there
 8   is a sealing order, do you think you can challenge it by
 9   violating it?
10                MR. LERNER:     A sealing order is binding on the
11   court staff.
12                THE COURT:     You're just not going to answer my
13   question, are you?
14                Is it your position a sealing order can be
15   challenged by the party who is enjoined from violating it to
16   violate?
17                MR. LERNER:     As stated, the answer is no.
18   However
19                THE COURT:     That's all I'm asking you.
20                MR. LERNER:         I would like to ask your Honor if
21   you've seen the government's letter of March 17th that was
22   directed to Judge Glasser which moves for the unsealing of the
23   docket.
24                THE COURT:     That's the one with the grid that
25   refers to certain documents, a chart or grid?


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 1              MR. KAMINSKY:         Yes, two letters that Mr. Roe did
 2 ·not receive the grid that actually reveals what they are, but
 3   received the overall argument in terms of what would be in the
                                                                                    ..
                                                                                     I
 4   grid.                                                                           I
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 5              THE COURT:       Yes, I've seen that.
 6              Let me start with that,        I   don't think you can do
 7   that.   The circuit has entered an order.            It's on appeal.
 8   Judge Glasser's decision is on appeal.              I don't think he has

 9   jurisdiction to go ahead, modify now.           I'm sure if you want to
10   unseal certain documents and you have the agreement of
11   Mr. Doe's counsel and, Mr. Learner, I can't imagine why he
12   objects to any unsealing, do a consent motion to the circuit,
13   refer to me --        they may decide it themselves but the notion
14   suggested in a footnote in your letter Judge Glasser still has
15   jurisdiction to modify his orders that are on appeal, he'll
16   determine that ultimately.
17              MR. KAMINSKY:         That's fine.       It was important to
18   the government that it alert - -
19              THE COURT:        Appear reasonable in saying certain
20   things don't have to be sealed?
21              MR. KAMINSKY:         Yes.
22              THE COURT:        I understand that.        You have to do it
23   the right way.
24              MR. KAMINSKY:         We appreciate that, your Honor.
25   It's certainly we take what you say to heart, also let you


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 1   know we did not cavalierly send the letter to whatever judge
 2   was closest.   We talked about it and after our understanding
 3   of how the case unfolded, we did think it was appropriate,
 4   although certainly after speaking with Mr. Doe's counsel        1   we
 5   understand there are arguments against that.
 6             One of the reasons we forwarded to your Honor
 7   yesterday our letter to the Second Circuit was a bit more of
 8   an explanation as to why we did what we did,       Of course,
 9   hopefully, now the Second Circuit and we would be happy if it
10   were the case, would tell us, the government to hold your
11   horses, you'll get to the unsealing when we say you do.
12             THE COURT:     As I say, I suspect without knowing if
13   everyone is consenting, the circuit will allow modification of
14   its order or Judge Glasser's order.       You're divested by the
15   notice of appeal if Judge Glasser's injunction and interim
16   injunction from the circuit.    I don't think there's power of
17   the di strict court to go ahead· and decide that.
18             The other point I will dispose of quickly.       With
19   regard to Mr. Beys 1 s argument, one of the things the circuit
20   intended me to do was to remedy or conduct hearings on prior
21   violations.    I don't see that at all,     That is not part of the
22   implementation directive I see from the circuit.       That I think
23   is not going to happen as to past violations until the circuit
24   resolves the appeal.    If you feel differently, you want my

25   mandate to be expanded, you could make a motion t.o the circuit


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 1   to do that and the circuit will determine that how far it
 2 · thinks best.
 3                Mr. Beys?
 4                MR.   BEYS:   Nothing    1   thank you.
 5                THE COURT:     With regard to Mr. Lerner s         1




 6   application, there are two problems.             Number one, still much
 7   too amorphous to lead me to any other conclusion you're
 8   looking_advisory opinions that could be used to gradually wear
 9   away at the injunctive orders in place.                No need to bother to
10   deny that.     I will tell you it is sufficiently vague that I'm

11   unable to give you the advtce you're looking for.
12                Mr. Roe says he's going to commence a lawsuit.                     I
13   won't know whether it violates the injunction the circuit has
14   entered until he goes ahead and commences that lawsuit.                     I
15   think there's a very good chance, depending on what he puts in
16   there, that it will.
17                There are numerous, very vague references to matters
18   in the public record.       Some of the public record, you tell me
19   matters are discussed.       They're not discussed.             The press
20   release, for example that was issued in 2000, at least the
21   copy I've been given does not refer by name to Mr. Doe at all,
22   anyone.
23                MR. LERNER:         It does.
24                THE COURT:     My copy doesn't.           I'll tell you, I've
25   been through it with a fine~toothed comb.                Maybe I have a


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 1   redacted copy.
 2                MR. LERNER:      Footnote, if you're looking at the
 3   press release 1 JA1153, footnote number 2 on the bottom of that
 4   page.
 5                THE COURT:      The press release had footnotes?
 6                MR. KAMINSKY:       The government can concur with that
 7   fact.
 8                MR. BEYS:     As does Doe, your Honor.
 9                MR. LERNER:      Doe's counsel agreed in their letter
10   that Roe has the knowledge in his letter that Roe may
11   disseminate documents that are already in the public domain.
12   Therefore, we would like a declaration by this court that he
13   may do so.
14                MR. BEYS:     We would object, Judge.
15                THE COURT:      I'm not doing that.   What you can do,
16   if you want me to make a ruling, to give me specifically the
17   documents that you say are in the public domain and then we'll
18   have a hearing as to whether everyone agrees those are in the
19   public domain.
20                MR. LERNER:      Your Honor, I provided the court with
21   the joint appendix with tabbed documents that we contend are
22   already in the public domain.
23                THE COURT:      Your request was not phrased just in
24   terms of distributing those documents.         It was phrased in
25   terms of extrapolating from it, allowed that possibility.           I'm


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 1   not going to allow you to extrapolate from that.         What you're
 2   going to have to do, if you want any kind of advisory opinion
 3   from me, is to get preclearance of exactly what it is you're
 4   going to say.
 5               What I suggest to you, you submit a chart.       The
 6   chart has a left column of single-sentenced statements.            It
 7   has a right column of where those statements are in the public
 8   domain.     If that's the case, then I may approve that.
 9                Mr. Beys, why would I not approve that?
10                MR. BEYS:    We would like the opportunity to speak
11   to the question of inadvertent disclosure.        What we said in
12   our papers, we don't think we can stop Mr. Roe from talking
13   about or disseminating what's already out there.         We could be
14   wrong.    The Second Circuit could have a different view of it

15   and, moreover, we would like the opportunity to brief the
16   issue of whether the government did it inadvertently 11 years
17   ago when it spent 13 years trying to conceal that fact.
18                THE COURT:    But if it's in the public domain, isn't
19   it already out there?
20                MR, BEYS:    Like I said, your Honor, we think that's
21   the case,     We wrote that.    We could be wrong.    But yes, it's
22   already out there, names Mr. Sater by name in one line.
23                THE COURT:     Right.    That's what I'm concerned about
24   the tone and nature of Mr. Learner's paper, that you will take
25   one small reference, combine it with other things you know


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 1   from documents that were not in the public domain and give
 2   that public domain statement of a minor nature a whole new
 3   life and that you will not be permitted to do.
 4              I'll be glad to consider specific statements that
 5   you wanted to make with sources and then 1 11 determine if you
                                                     1




 6   can make those statements.
 7              I also have to tell you, Mr. Learner, I thought your

 8   papers were absurd.      It was like a comic book characterization
 9   of what legal papers are supposed to look like.           When you have
10   Mr. Roe talking about engineering decompensation, I just can't
11   imagine any federal judge finding that the least bit
12   persuasive.   I'm looking for facts in here.        I've got an
13   affidavit, reads similarly to some of the pro se affidavits I
14   get.   I don't understand what you're trying to achieve.

15              Is this the way you write in all your cases?
16              MR. LERNER:      This is not an ordinary case.       We felt
~    it was warranted.
18              THE COURT:      I think it's not.    No case is ordinary.
19   Every case is entitled to particular special attention and
20   effective advocacy is effective advocacy no matter what the
21   context is.   If you want to get to me, at least, or any other
22   judge that's going to touch this case, let's do legal papers
23   the way legal papers are normally done, not 1ike·a comic book.
24              Anything further?
25              MR. BEYS:      One question.   This is what I meant to


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 1   ask before, your Honor.       Regarding our contempt motion, in
 2   addition to writing to the Second Circuit for clarification,
 3   would your Honor have a problem with us bringing an order to
 4   show cause to Judge Glasser who does still retain jurisdiction
 5   over the underlying case?      We believe, as we've written --
 6             THE COURT:      Don't you want to wait for the circuit
 7   to affirm or reject those injunctions?
 8             Why do you need to do that now?
 9             MR. BEYS:     For one reason, your Honor.     There is a
10   statement that he's going to file a lawsuit in state court.
11              THE COURT:     That won't be addressed.     If he does
12   that and he has to be put in jail because he does something
13   like that, that will not be addressed by your order to show
14   cause for past violations.
15              MR. BEYS:    That's true.     That is our one concern.
16             THE COURT:      As I said, I'm not advisory opinions.
17   The next thing Mr. Roe may hear from me is why he shouldn't be
18   put in the MDC for violating the Second Circuit's injunction.
19   That's all there is to it.· There's nothing more that we can
20   do at this point.
21              MR. BEYS:    Thank you.
22             THE COURT:      I will tell you, Mr. Learner, the
23   threats, they fall on deaf ears.       I have no investment in this
24   case.   If Mr. Roe doesn't violate the injunction, I don't have
25   anything to do.     If he does, I have something to do.     That's


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 1   it.

 2              Anything else?
 3              MR. BEYS:      No, your Honor, thank you.
 4              THE COURT:      Mr. Kaminsky?
 5              MR. KAMINSKY:        Very briefly.    The Second Circuit
 6   mandate does specifically entrust your Honor with enforcing
 7   the district court's orders.         One such order that still has
 8   not been complied with~~ it is baffling -- they still
 9   maintain the very orders that are subject to the injunction
10   and the TRO.   The case that was handed up to your Honor
11   earlier before by Mr. Beys, the in re contempt proceedings of
12   Gerald Crawford, specifically state that a litigant does not
13   have the ability to say "I'm going to violate the order, hold
14   on to this stuff and wait for the circuit to prove I'm right. "
15   He must hand over and/or place those documents in some type of
16   transitory place and wait for the circuit to rule, but he
17   still has them, in direct contravention of the court's order
18   saying give them back, give them to the U.S. Attorney's
19   Office.   No one gave    anything.
20              THE COURT:     The directive to give them back is in
21   Judge Glasser' s order, not the circuit, right?
22              MR. KAMINSKY:        Right.
23              MR. LERNER:         I would like to object to that
24   statement, your Honor.      There is no order directing the
25   destruction of electronic copies or return of photocopies.


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 1   The original that was provided to Mr. Roe by Mr. Bernstein,
 2   iawfully, at that, was handed up to court.        It is in the
 3   court's possession.      It was stated at the hearings that the
 4   original has been returned.      Therefore, there is no further
 5   original to be returned and there are only electronic copies.
 6               THE COURT:      Mr. Kaminsky, quote for me the portion
 7   of the order upon which you are relying.         Direct me to that.
 8               MR. KAMINSKY:      The Second Circuit mandate of yours
 9   or Judge Glasser's order to them?
10               THE COURT:      I assume you will agree with me the
11   Second Circuit's order in and of itself does not require the
12   return of either originals or copies, right?         It incorporates
13   Judge Glasser' s orders?
14               MR. KAMINSKY:      That's correct,    It says you have
15   the limited mandate of implementing and overseeing compliance
16   with our orders and the previous orders entered by Judge
17   Glasser.    That's a quote,     One of those orders, your Honor,
18   because I'm currently immersed in drafting the appeal, I have
19   two hearings singed into my head and at the end of the
20   July 20th proceeding, Mr. Doe's counsel at the time1
21   Ms. Moore, says specifically to Judge Glasser we would like
22   you to include in the TRO copies of the documents because
23   although Mr. Roe is telling you he's given them back to you,
24   what good is that if he has the copies? The judge said I
25   agree.     Mr. Learner's response is are you issuing a further


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 1   TRO? The judge says I am.
 2              THE COURT:      I need to see that.    I'm sure you're
 3   not misrepresenting that but I need to see it.
 4              MR. LERNER:     There's no specific directive by the
 5   court --
 6              THE COURT:      I'll look at it and then l'll see.
 7              MR. BEYS:     If the government doesn't submit it1
 8   we'll gladly submit it to your Honor.
 9              THE COURT:      Does anybody have it here?
10              MR. BEYS:     We don't have the transcript here.           We
11   have a joint appendix.
12              MR. KAMINSKY:        I point you to, beginning on line 4
13   of page 706 of the transcript.
14              THE COURT:      Mr. Learner, you want to respond to
15   what the transcript says?
16              MR. LERNER:      May I take my copy?
17              THE COURT:      Sure.    That's our copy but you can look
18   at ours or we can trade, whichever you prefer.
19              (Pause.)
20              MR. LERNER:         Page 706 of the joint appendix?
21              THE COURT:      Correct, line 4.
22              (Pause.)
23              MR. LERNER:      There's no specific directive by Judge
24   Glasser to destroy the electronic copies of the document and
25   there's been no dissemination of the document.           Therefore,


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 1   there's been no violation of any TRO and we would request
 2   further briefing before you wish to entertain this issue.
 3               THE COURT:     No, it 1 s absolutely clear on its face
 4   Judge Glasser intended you to destroy electronic copies and to
 5   return any photocopies.         If that is not done by the end of
 6   Monday, I will hold your client in contempt.
 7               MR. LERNER:     We would need to brief that.     I would
 8   like the court to be aware it is actually impossible to p'urge
 9   electronic files.
10               THE COURT:     I understand.    They can always be dug
11   up by a technician, that the most you can do is overwrite
12   them.    You can also remove from the first level of the
13   recording media those documents so that they cannot be
14   accessed by anyone but a technician.        That's fairly easy to
15   do,
16               Mr. Learner, are you playing games with me?
17               MR. LERNER:     No.
18               THE COURT:     You think I don't know how these things
19   work?
20               MR. LERNER:     No, I don't know what your Honor
21   knows.
22               THE COURT:     They're stored on files 1 on the
23   C drive.    You find.the copies, you delete them.        I understand
24   that doesn't mean a technician couldn't unpeel the layers of
25   data written over them and find them at some point. ·I'm not


                     SS        OCR       CM     CRR     CSR
                                                                                15

 1   requiring you to do that at this .point but I am requiring you
 2   to delete them.      Don't tell me that can't be done, sir.
 3               MR. LERNER:         Your Honor, these files are backed up
 4   every night on the computers.           They're on an off-site service,
 5   That is the problem.
 6               THE COURT:      The backups?
 7               MR. LERNER:         Yes.
 8               THE COURT:      Mr. Kaminsky, what's your view as to
 9   backup tapes?
10               MR. KAMINSKY:         Your Honor, I'm actually trying to
11   process this.     I think, programs -- the best thing to do is to
12   possibly get an affirmation from someone that works at the
13   company that that backup will be kept in a certain place by a
14   certain proprietor, wi 11 not be able to be accessed.                           i.
                                                                                     !




15               There is the possibility the circuit will disagree
16   with Judge Glasser and then that document ~ay need to be
17   accessed.    We just don't think they should have access to it
18   at this time.
19               THE 'COURT:     I    think, for that reason, it's good
20   enough for now to have no accessible copies from any desktop
21   computer.    The fact that they're in backup tapes, we might
22   require a purging of those later, but we will not require it
23   now.   If they're on backup tapes, that's fine.             I don't want
24   anyone with access to the network that your client uses to be
25   able to get 1nto that network from a desktop or laptop


                     SS        OCR          CM    CRR      CSR
                                                                   16

 1   computer and access those documents, but solely resident on
 2   the backup tapes.
 3             Anything else?
 4             (No   response.)
 5             THE COURT:     Thank you all.
 6              This transcript is available to both sides if they
 7   wish to order it.
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                     SS     OCR     CM     CRR    CSR
Exhibit 'J
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                                              ..... ,...
--------·---------------------------------------·---------- ){
                                                                                           . ·''.'Ki..YN OFFICE
UNITED STATES OF AMERICA,
                                                                 ORDER
                            Plaintiff,
                                                                 98 Cr. 1101 (ILG)
                       - against-

JOHN DOE,
                                                           .
                                                          ...



         Richard Roe is an attorney who seeks to use documents and information from this sealed

criminal case against John Doe in public discourse and WlI'elated civil litigation. Judge Glasser,

who presided in the underlying criminal case which culminated in a 2009 sentencing of John

Doe, has permanently enjoined Roe from possessing, distributing, or using in any way the

Presentence Investigation Report ("PSR") and other documents prepared for this case (the

"sealed documents"). Roe has filed several civil cases alleging Doe's involvement in fraudulent

business practices, and objects to the continued sealing of Poe's criminal case. The Government

has asserted that maintenance of the sealing orders for at least part of the criminal docket is

necessary to maintain the personal safety of Doe and national interests in law enforcement and

security.

         On February 14, 2011, the Second Circuit issued an order addressing Richard Roe's

appeal from Judge Glasser' s injunction, Roe's petition for a writ of mandamus directing Judge

Glasser to allow public access to the case docket, and the Government's request for a temporary

injunction to restrain Roe from dissemination of any sealed materials. The Circuit denied Roe's

petition and granted the Government's motion for an emergency stay in unsealing the docket and
a temporary injunction prohibiting Roe from ''distributing or revealing in any way . · · any

documents or contents thereof' from this case or any related sealed cases. Roe's appeal of Judge

Glasser's injunction is pending.

       In connection with the February 14 Order, the Circuit remanded the case to the Eastern

District with instructions for the Chief Judge to assign a District Judge "with the limited mandate

of implementing and overseeing compliance with our orders and the orders previously entered by

Judge Glasser." By Order of February 15, 2011, then-Chief Judge Dearie referred the case to me

for enforcement of this limited mandate.

        In the exercise of my limited jurisdiction, I held a hearing on April 1, 2011, to address

Roe's request for clarification of the Second Circuit's Order. This Memorandum Decision and

Order addresses his question as.to whether he may disseminate information available in public

records. Roe has brought to the Court's attention several instances of publication ofinformation

contained in the sealed documents at issue, including newspaper and magazine articles

describing Doe's past and particulars of the case, and a press release from the U.S. Attorney

stating that Doe had pleaded guilty to RICO charges.

        At the April 1 hearing, I opined that information available to the public was not covered

by the Second Circuit's injunction, but emphasized that extrapolation from sealed documents .

would not be permitted because it could easily be combined with and thereby tainted by Roe's

knowledge of non~public, sealed information. I suggested that insofar as Roe sought a more

specific interpretation ofthe Second Circuit's orders, he might submit a chart that listed single

sentence statements juxtaposed with their sources, which he has done. Doe has objected to the

use each of the three proposed statements, and I evaluate them in tum.




                                                  2
       The first fact upon which Roe has requested clarification is: "98-CR-1101 is .. · [the}

criminal case [of John Doe's real name] and John Doe is (John Doe's real nameJ." The specific

sources listed for this statement are that the caption for the case once included John Doe's real

name rather than 1'Doe," a magazine article, more than a decade old, which noted that a "sealed"

complaint existed, arid a newspaper article, nearly five years old. Roe also cites an unsealed

recent hearing associated with the case's docket number.

       RQe lists no source that refers to "Doe" by his real name and includes docket nwnber 98-

CR-1011. Roe argi;ies that because the case was once accessible on PACER under the caption

that included Doe's real name along with the <locket number, the information is in the public

domain. The Second Circ\lit's Order does not permit dissemination of such material because

Roe has not pointed to a source currently available to the public that contains the same

faformation.

       The remaining public sources cited in support of this statement simply do not link John

Doe, by his real name, with the docket number. Instead, in making the statement, Roe adds his

knowledge of the docket number to public information that a sealed case exists, which is exactly

what the injunction seeks to prevent. Roe makes the frivolous argument that because Judge

Glasser did not explicitly reiterate the prohibition on disclosing Doe's real name at this unsealed

hearing, Doe's name may be made public. However, Doe's real name was intentionally never

mentioned at the hearing. Thus, just as in the instant Order, the prohibition against revealing

Doe's real name is implicit 1:/ased on the sealing of the case as a whole and the use of 11Doe'' at

that hearing. Doe's identity cannot be discerned from that hearing and the Second Circuit's

Order staying an unsealing of the docket enjoins Roe from revealing such information.




                                                  3
.·,   I




                 The second statement combines the public information that Doe was convicted of RICO

          charges - accessible to the public in a press release published by the U.S. Attorney -with non-

          public information regarding the nature of the predicate acts underlying the RICO charges. It

          does not appear that the names and descriptions of the predicate acts are publicly available from

          any source other than a letter in a related case that Roe downloaded from PACER in 2010, but is

          now under seal and thus subject to the Second Circuit'~ injunction. Roe's distribution or

          revelation of the infonnation contained in the letter would violate court orders.

                  Finally, Roe seeks to make a third statement: "On October, 23, 2009," John Doe, by his

          real name, "was sentenced to probation and a $25,000 fine." The Government's request to

          unseal certain infonnation about Doe's sentence is currently pending before Judge Glasser.

          Unless and until Judge Glasser orders this infonnation unsealed, it remains subject to the Second

          C1rcuit' s injunction.

                  It seems obvious that Roe is seeking to fatally undermine the purpose of the injunctions

          by publicizing infonnation that would render them ineffective. Roe therefore may not issue any

          of the three statements submitted in his April 14 letter.

          SO ORDERED.

                                                                           S/BMC
                                                                      ••   ....   H   u.s:t.s.
          Dated; Brooklyn, New York
                  May 1312011
Exhibit   K
                     FILED UNDER SEAL, BUT OBJECTING TO SAME
                       AND REQUESTING IMMEDIATE UNSEALING


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA,
                                                               08 Civ. 1101 (ILG)
                                                  Plaintiff,
                         -against-                             iro: Hon. Brian Cogan
"JOHN DOE,"
                                                Defendant.


              Notice of Motion of Richard E. Lerner (prose) and Non-
               Party Respondent Richard Roe to Quash or Vacate the
             Order Show Cause of February 13, 2012 and the February
                     15, 2012 Amended Version of that Order.

       Please take notice that upon the annexed memorandum of Richard E. Lerner, dated the
17th day of February 2012, and upon all the pleadings and proceeding heretofore had herein,
Richard E. Lerner (prose) and non-party respondent "Richard Roe," by and through his
attorneys Wilson, Elser, Moskowitz, Edelman & Dicker LLP, hereby moves for an order
immediately quashing or vacating this court's order of February 13, 2012 and.the February 15,
2012 amendment of the same order.

Dated:       New York, New York
             February 17, 2012

                                                     Respectfully submitted,

                                               WILSON, ELSER, MOSKOWITZ,
                                                 EDELMAN & DICKER LLP

                                               By:     Isl
                                                    Richard E. Lerner
                                               Pro se and as attorney for non-party respondent
                                               "Richard Roe"
                                               150 East 42nd Street
                                               New York, New York 10017-5639
                                               (212) 490-3000
                                               File No. 07765.00155




4935949v.1
To:    (Via email, and U.S. mail).

      Nader Mobargha, Esq.
      Beys, Stein & Mobargha
      The Chrysler Building
      405 Lexington Ave.
      New York> New York 10174
      212-387-8200
      nmobfµgha@bsmlegal.net

      Todd Kaminsky, Esq.
      United States Attorney
      Eastern District of New York
      271 Cadman Plaza East
      Brooklyn, New York 11201
      212-254-6367
      Todd.Kaminsky@usdoj.gov


      (Via fax only)
      Hon. I. Leo Glasser




                                     - 2 -
4935949v.1
                     FILED UNDER SEAL, BUT OBJECTING TO SAME
                       AND REQUESTING IMMEDIATE UNSEALING


!UNITED STATES D1STRICT COURT
!EASTERN DISTRICT OF NEW YORK
!UNITED STATES OF AMERICA,
                                                            08 Civ. 1101 (ILG)
                                               Plaintiff,
                         -against- ·                        Ifo: Hon. Brian Cogan
"JOHN DOE,"
                                             Defendant.


              Memorandum of Law in Support of Motion of Richard E.
            Lerner (prose) and Non-Party Respondent "Richard Roe" to.
            Quash or Vacate the Order Show Cause Qf February 13, 2012
             and the February 15, 2012 Amended Version of that Order.


                                        Summary
   I submit this pro se and in behalf of my client, Frederick M. Oberlander,
formerly known as Richard Roe. 1 We respectfully demand emergency relief from
the violations of our Constitutional rights occasioned by your illegal and unlawful
execution of that certain February 13, 2012 order to show cause, which must be
immediately ruled void ab initio and stricken from the docket as:

       »-     The form of the petition is fatally flawed. We demand strict
              compliance with statutory and constitutional requirements.

       »-     Regardless of form, statutory and constitutional jurisdictional
              restrictions require petitioner's contempt petition to have been
              made directly to the Second Circuit. You were devoid of all
              authority to execute it. Doing so was jurisdictionally barred, the
              order pro tanto brutum fulmen.




1 Richard Roe's identity is, and has been for some time, a matter of public record, well
before the New York Times story, through no action of his. The court can have no
constitutionally cognizable interest in attempting to pretend otherwise.
                                            - 3 -
4935949v. l
        );;>-   We respectfully demand you order said order to show cause to have
                been void ah initio for want of jurisdiction, then recuse yourself
                from further involvement pursuant to 28 USC 455(a) and troubling
                questions about your maintenance of an inaccurate docket in U.S.               I
                v. Saracino, lO·CR·OOl 73.
                                                                                               I
       );;>-    Nevertheless if you proceed to implement it in any way or
                otherwise give the slightest legal cognizance to it you will be                I
                confirming that you intended to and did commence criminal
                process against us without requisite, in fact any, due process.
                                                                                               I
       );;>-    This transmission is to be interpreted as a "special appearance"
                and in no way is a waiver of any of the above and in addition is not
                a waiver of testimonial privilege nor may it or anything in relation
                thereto be considered such.

       One year ago I submitted my client's affidavit predicting that this case was
inexorably headed into, what he called, "decompensation collapse." He cautioned
that the unlawful, and unethical measures taken to cover up the illegal sentencing
schemes in the Eastern District would inevitably require more and more adaptive
measures that it would collapse, spectacularly so. That day has come.


                  AS A PURPORTED REQUEST FOR "CML" CONTEMPT
                        ADJUDICATION, PETITIONER'S PAPERS
                             ARE FATALLY DEFECTIVE

        Petitioner styles his papers as requesting civil contempt proceedings. While it
is a matter of constitutional indifference how they are styled, as they request
criminal contempt proceedings, nevertheless if this court disagrees and deems them
civil, they are in violation of EDNY Local Rule 83.6:

       Local Civil Rule 83.6. Contempt Proceedings in Civil Cases [formerly Local Civil Rule
       ~~                                          .

       (a) A proceeding to adjudicate a person in civil contempt ... shall be commenced by
       the service of a notice of motion or order to show cause. The affidavit upon which
       such notice ofmotion or order to show cause is based shall set out with particularity
       the misconduct complained of, the claim, if any, for damages occasioned thereby and
       such evidence as to the amount of damages as may be available to the moving party ...




                                              - 4 -
4935949v. l
           b) If the alleged contemnor puts in issue his or her alleged misconduct or the
           damages thereby occasioned, said person shall upon demand be entitled to have oral
           evidence taken, either before the Court ... appointed by the Court. When by law such
           alleged contemnor is entitled to a trial by jury, said person shall make written
           demand before the beginning of the hearing on the application ...
           (c) If the alleged contemnor is found to be in contempt of court, an order shall be
           entered (1) reciting or referring to the verdict or findings of fact upon which the
           adjudication is based; (2) setting forth the amount of damages, if any, to which the
I.
           complainant is entitled; (3) fixing the fine, if any, imposed by the Court, which fine
           shall include the damages found and naming the pe:r;son to whom such fine shall be
           payablei (4) stating any other conditions, the performance of which will operate to
           purge the contempt; and (5) directing, where appropriate, the arrest of the contemnor
           by the United States marshal a.nd confinement until the performance of the condition
           fixed in the order and the payment of the fine, or until the contemnor be otherwise
           discharged pursuant to law. A certified copy of the order committing the contemnor
           shall be sufficient warrant to the marshal for the arrest and confinement of the
           contemnor ...

            We suggest your honor may prefer to simply strike petitioner's papers and
     the order to show cause, ruling it to have been void ah initio on grounds of fatal
     defect in form, for failure to include an afiidavit.


                                                      ***
           If your honor feels that it needs further reasons than that - as if the
     procedural defect itself were not enough of a basis to quash or vacate the order to
     show cause -you should turn to the next page.




                                                  -    5 -
     4935949v.1
       In light of petitioner's failure to disclose to the court that it was petitioner
himself or counsel who confirmed the identity of Richard Roe online to the world
and any act ofcontempt in doing so was his, an affidavit subjecting him and counsel
to charges of obstruction for such omission is particularly appropriate.

       I refer to the public docket of the RICO case lO·CV-3959, Item 15, which has
been downloadable on PACER for 6 months, has been widely circulated online
outside of PACER and is in the hands of countless persons in and out of the media.
The endorsed letter written by Doe's counsel follows, after a screenshot of the
docket information in 10·CV·3959, which identifies "Frederick Martin Oberlander"
as plaintiffs' counsel.




                                        - 6 -
4935949v.1
      Read that again please. It shows that in a docket wherein Mr. Oberlander
was identified as counsel of record, John Doe's counsel identified him by his a/k/a
"Richard Roe." That is, the identity of "Richard Roe" was outed by John Doe,2

      The orders of the Second Circuit are also all over the internet, and the June
29th summary order itself discloses who Richard Roe is, because this is the only
RICO case shown in court records as having been filed in the Southern District on
May 10, 2010. It takes but a few minutes to figure out who is who by searching
Google, with the words RICO, "May 10 2010," and Buchwald, all of which terms
were in the June 29th order of the Second Circuit, and then looking at what is
publicly available on Pacer. So it is actually the Second Circuit that outed "Richard
Roe."


                      YOUR HONOR HAD NO AUTHORITY
                  TO EXECUTE THE ORDER TO SHOW CAUSE
                     (WHETHER IT BE CIVIL OR CRIMINAL)
                THE ORDER THUS PRO TANTO BRUTUM FULMEN

              If the Proceedings Requested Be Critninal

      By express statutory restriction, you lacke~ the authority to sign that order
to show cause because the alleged underlying order was not yours to vindicate. It
belonged to another court. By 18 USC§ 401, 3 Congress stripped lower courts of any
authority they might have otherwise had to adjudicate a criminal contempt of the
orders of any other court but their own. This is jurisdictional. The Second Circuit
cannot give you the authority, nor can you claim as inherent the authority, that
Congress has expressly forbidden you. 4

2
  Additionally, in a complaint filed by John Doe in a related proceeding before Judge
Buchwald (docket number 10-CV-9658, see the docketed complaint) Oberlander was
identified by name as the person who was given documents by Bernstein, the documents
identified by the Second Circuit as being at issue. That complaint publicly identified
Oberlander.
a "A court of the United States shall have power to punish by fine or imprisonment, or both,
at its discretion, such contempt of its authority, and none other, as ... (3) Disobedience or
resistance to its lawful writ, process, order, rule, decree, or command." [Emph. Added]
4 Marbury v. Madison 5 US (1 Cranch) 137 (1803). In contempt proceedings in the Court of
Appeals in respect of appellate orders issued pursuant to a statutory grant of authority
("administrative 11 appellate proceedings), the Second Circuit has delegated fact-finding, see
NLRB v. Gia.nnasca, 119 F.2d 756, (2d Cir. 1941), NLRB v. Remington Rand, Inc.,130 F.2d
919 (2d Cir. 1942), but it has never delegated (or even considered the issue) fact-finding in
contempt proceedings related to its own orders issued in cases reaching it by normal
appeals coming up from courts below, and, in any event, it cannot delegate its sole

                                           - 7 -
4935949v.1
       Nor can it give you the authority it may not even have itself. It is an open
question - one we intend to litigate thoroughly - whether absent an express
Congressional grant of authority a Court of Appeals has the authority to enforce its
own orders by criminal contempt.5 Were you to proceed, .you - a district court judge
- would be in the untenable position of adjudicating the scope of the Article III
jurisdiction of a superior court. It is impossible and jurisdictionally barred, the
functional equivalent of an appellate court certifying an interlocutory (or final)
question of its own authority to a district court instead of to the Supreme Court.

              If the Proceedings Requested Be Civil

        As civil contempt is by definition coercive, the invalidity, whether procedural,
·constitutional, or otherwise, of any order alleged to have been violated is a defense.
 We intend to defend vigorously on the ground, inter alia, that the entirety of all
 orders issued, at the least by the Second Circuit, are unconstitutional, in particular,
 and without limitation, in that they were issued for an unconstitutional purpose,
 that is, the continuing concealment of systemic judicial and executive branch
 lawlessness. We will contend that such lawlessness has been deemed to fall within
 the scope of the term "sedition" (see addendum), such sedition constituting high
 crimes and misdemeanors, including the conspiracy to and actual accomplishment
 of the falsification of judicial records and repudiation of mandatory sentencing and
victims rights laws and the defrauding of victims of untold millions of dollars.

       As petitioner points out, the Second Circuit said (but did not order) that using
the name Roe was to prevent the public from finding the truth, and no amount of
pretense or handwaving will erase its own admission that it was part of an overall
scheme existing for no lawful purpose: While protecting the safety of a cooperator
may justify sealing, it cannot justify unlawful misconduct in willfully and
intentionally defying mandatory sentencing laws.

      This court would be enlightened, we believe, by the Supreme Court's
unanimous decision in Ex Parte United States, 242 US 27 (1916). When your honor
reads it, you should think very carefully about the restitution illegally kept from
John Doe's victims. This court should also keep in mind what the Supreme Court
noted in Dolan (2010), that the obligation to impose a sentence of restitution is
paramount above any other law of the United States.

authority whether to proceed to begin with. Moreover, any substantive and most procedural
issues are mixed issues of law and fact and so cannot be fully, if at all, delegated.
0 Black, Douglas joining, in dissent in United States v. Bal'flett, 376 US 681, 724 (1964),
"For many reasons I cannot agree with the Court's opinion. In the first place, Congress has
never expressly given the Federal Courts of Appeals jurisdiction to try and punish people
for criminal contempt of court, and I am unwilling to hold that such a power exists in these
courts in the absence of a clear and unequivocal congressional grant." The court's opinion
did not address the issue.
                                          - 8 -
4935949v.l
       We do not litigate the issue here, but merely outline it to show that you
cannot have the authority to preside, other than possibly as a fact finding master, if
at all, over a civil contempt proceeding which must inevitably adjudicate the
validity, including the constitutionality, of orders of a superior court. That is an
appellate function, and (outside of bankruptcy appeals to a di~trict court) district
courts lack authority to pass upon the constitutionality (here the
unconstitutionality) of an appellate order. Appellate orders don't get appealed down,
they get appealed up, even then only where Congress has created such rights.

      As it happens, what Judge Glasser and the Second Circuit have done, iri
concert with your own prior orders, is to hide an entire covert justice system
operating devoid of constitutional legitimacy. It is so repellent to our Constitutional
system that it· is not merely invalid by reason of unconstitutionality. It and the
orders attempting to conceal it (including the disgrace of purporting to order a
United States citizen not to report judicial unlawfulness to Congress) are and were
at all times jurisdictionally barred. No federal court may enjoin anyone from
revealing its own misconduct, ever, such injunction again pro tanto .brutum fulmen.s


               THECOURTMISAPPREHENDSTHECOLLATERAL
              BAR RULE AND THE DIFFERENCE BETWEEN "MERE"
             ERROR AND JURISDICTIONAL BAR (AND THE RELATED
                   CONCEPT OF TRANSPARENT INVALIDITY)
   Space does not permit full exegesis of this complex equity jurisdiction topic, but
we believe the court1 s misunderstanding can be seen in the following excerpt from
the transcripts of hearings before the court on April 1, 2011:

       MR. BEYS: Yes, your Honor. There are two matters, one of which the
       court may already have on behalf of John Doe. Judge Glasser's
       scheduling order dated March 23rdrd, I'll pass a copy to your Honor's
       deputy and also a case we did not cite but is virtually tracking the
       language of Judge Glasser's order. It's In Re criminal contempt
       proceedings against Gerald Crawford, Second Circuit 2003 case; the
       cite, 329 F.3d 131, stands-for the proposition under the collateral bar



6 The last time a judge issued an opinion purporting to legitimize barring citizens from
petitioning for redress of grievances, one Judge North, that judge, and   the attorney general,
were impeached by Parliarp.ent, in 1679. The affair led to the adoption of the English Bill of
Rights, shortly thereafter, upon which our Bill of Rights, specifically the right to petition for
redress of grievances, is based.

                                             - 9 -
4935949v.1
       doctrine, a party may not challenge a district court's order by violating
       it, which is closely related to what Judge Glasser stated in his order. I
       pass that to your honor's deputy as well.
       THE COURT: Anything else?
       MR. LERNER: This decision was just handed up.
       THE COURT: I haven't read it anymore than you have. You dispute
       the fact that he cannot challenge a sealing order by violating it?
       MR. LERNER: I denied the premise there is a sealing order · ·
      THE COURT: I didn't ask you that, sir. If there is a sealing order, do
      you think you can challenge it by violating. it?

       This is error. The issue in a contempt proceeding is not "challenging'' an
order, it is whether the order entered (i) bound the alleged contemnor; (ii) was not
jurisdictionally barred; (iii) was violated with the requisite scienteri and (iv) in the
case of civil contempt, was valid, including constitutionally.

       It is the interplay of (ii) and (iv) that this court misapprehends.7 In this
context, invalidity refers to unconstitutionality by reason of "mere" error, while
jurisdictionally barred refers to an order so clearly outside the authority of a court
that it transcends error and is void, a nothing, an abuse of (no actual) authority, as
Judge Learned Hand wrote in Alemite, 42 F.2d 832 (2d Cir. 1930), pro tanto brutum
fulmen, freely ignored with impunity.

      And yes, a sealing order that actually exists and in its written terms (that is,
terms written in actual, not invisible, ink), purports to restrain "any of the parties
                                                                 11
and any other persons with actual notice of this order from disseminating
materials no matter obtained outside court process is, as to such other non·party
persons, a notbio.g. As to such other persons, it may be used for lining a birdcage or
wrapping a fish, but it may not be used to impose upon them any duties of any kind
whatsoever. We wouldn't expect you to just take our word for it. So we'll cite
Supreme Court authority. In citing Alemite ·with approval in Chase v. City of
Norwalk, 291 US 431 (1934) wrote:

      Independently of the prohibition of Judicial Code, the decree entered
      by the District Court was clearly erroneous in so far as it enjoined 'all
      persons to whom notice of the order of injunction should come from
      taking any steps or action of any kind to cause the enforcement of the                 !
      ouster in the state court.' The city alone was named as defendant. No
      person other than the city was served with process. None came
      otherwise before the court. The prayer of the bill sought relief solely

7In the interest of time, I do not address transparent invalidity, which can be understood
as occupying a middle ground between invalidity and jurisdictional bar.

                                         - 10 -
4935949v.l
      against the city and 'its officers, officials, agents, employees and
      representatives.' It is true that persons not technically agents or
      employees may be specifically enjoined from knowingly aiding a
      defendant in performing a prohibited act· if their relation .is that of
      associate or confederate. Since such persons are legally identified with
      the defendant and privy to his contempt, the provision merely makes
      explicit as to them that which the law already implies. See Ex parte
      Lennon, 166 U.S. 548, 17 S.Ct. 658. Butbyextewiingtheinjunction to
      'all persons to whom notice of the injunction should come, ' the District
      Court assumed to make punishable as a contempt the conduct of
      persons who act indepeJ;J.dently 8.lld whose rights have not been
      adjudged according to law. See Alemite Mfg. Co. v. Stllf'f(C.C.A.) 42
      F.(2d) 832. Under the clause inserted ill the decree, officials of the
      state of Ohio might be proceeded against for contempt, if they should
      apply to the state court to enforce its judgment, although acting solely
      in the performance of their official duty. To subject them to such peril
      violates established principles of equity jurisdiction and procedure.
      Scott v. Donald, 165 U.S. 107, 117 , 17 S.Ct. 262; Hitchman Coal &
      Coke Co. v. Mitchell, 245 U.S. 229, 234, 38 S.Ct. 65, L.R.A. 1918C,
      497, Ann.Oas. 1918B, 461.4 Those principles require that the clause he
      limited to confederates or associates ofthe defend8.llt.

       Then add that a sealing order (as it is being tortured into existence here) has
been twisted into a prior restraint, and the Supreme Court's holding in Carroll v.
Princess Anne, 393 US 175 (1968), that a prior restraint may not issue without full
adversarial due process provided the person to be restrained, then, Yes, your honor,
a legitimate sealing order (let alone Judge Glasser's fabricated one) expressly
directed at anyone who comes in contact with documents outside court process and
restraining their dissemination of same may be freely ignored Period.

       (Incidentally, assuming they ever correctly read a case, Mr. Doe's lawyers
will find that it is legally impossible to base a contempt proceeding on the violation
of an unwritten order where the decretal language is not available. United States v.
David Cooper. 333 F3d 161 (2d Cir. 2003). Even the government agreed with that
proposition in that case.)                                           ·

       The point is not to revisit sealing orders. The point is that it is error to
believe that every order must be obeyed at risk of contempt. It is clear error. And
the point is that certain orders are so outside the pale, so clearly abusive, that such
illegality is always a defense to contempt, civil or criminal. Other terms for
illegality would be without authority, unlawful, or jurisdictionally barred.




                                       - 11 -
4935949v.1
       So for example, an order of this court compelling a state to pay money
damages in a suit brought by a citizen would violate the 11th Amendment and as
such would be so cl~arly without Article III authority as to be freely ignored, as
opposei;l to an order compelling a state to take certain actions where such order was
merely erroneous, but not jurisdictionally barred.

       And we repeat that the collective orders here, issued to prevent a citizen from
revealing to the world, to 300,000,000 other citizens, to 50,000,000 registered
voters, and to 535 members of Congress that the courts have debased themselves by
hiding convictions, by hiding from crime victims their right to restitution (contra
the laws of Congress and Supreme Court precedent), are such orders, and such is a
proper defense both to civil and criminal contempt.

      A defense you may not preside over at any rate, not just because of the
presence of the Second Circuit's orders, as argued previously, but because of our
need to examine pursuant to our Sixth Amendment rights, see next, issues
involving an apparently incomplete docket for one Sebastiano Saracino, your case
number lO·CR·OOl 73, where a motion to close a courtroom was made and discussed
in public proceedings on December 2, 2010, then never heard from again and never
docketed upon your honor's ejection from the courtroom of reporters from the Daily
News and New York Post (who should have moved to stay their ejectment while
contacting counsel, but that's their problem). We will also call Salvatore Gieoeli,
who is publishing online allegations that the Eastern District makes illegal deals
with cooperators which, inter alia, unlawfully evade restitution, as he reports on his
blog.

       We will know what he knows and why he knows it, and from whom, and why
with every web site and blog within 200 miles, including Mr. Gieoli himself,
discussing that Saracino was a cooperator, it was not a threat to Saracino's safety to
disclose his guilty plea to immigration fraud, but was such a threat (if press reports
are correct) to disclose his guilty plea to murder.      ·


                        PETITIONER1S PAPERS REQUEST
                       CRIMINAL CONTEPT PROCEEDINGS

       In the interest of brevity, as we have briefed the court in mid·2011 on the
constitutional impermissibility of pretending that criminal contempt proceedings
are civil, such papers incorporated by reference, we summarize why .the character
and purpose of the alleged contempt are criminal.a




s See United Mine Workers ofAmerica v. Bagwell, 512 U.S. 821 (1994).

                                        - 12 -
4935949v.1
       > The alleged contempt is backward looking. It is a completed act in
             the past (allegedly) violating a court order. It is not ongoing. It is
             not a continuing refusal to act.

       > The petition requests sanctions.
       > The alleged contempt cannot be purged and so the monetary relief
             requested cannot be avoided.



                  THEREFORE FULL CRIMINAL DUE PROCESS
             RIGHTS WOULD ATTACH (IN THE APPROPRIATE FORUM)
       And this presents another illustration of the difference between orders which
are so clearly illegal, unlawful, ultra vires, without authority, abusive,
jurisdictionally barred, etc. and those that are "merely" iri error (remember again
that "merely" in error is still a defense in civil contempt).

       We are aware of no specific form requirement for a person, party or
otherwise, to request that the court commence criminal contempt proceedings
(which in this district, at least as far as another district court judge has ruled, can
only be brought by judicial decree, not by grand jury), but it is quite clear that the
court can only grant the request and commence those proceedings pursuant to Fed.
Rule Crim. Proc. 42, which inter alia requires the charging instrument be read
aloud in open court.

       However, we believe, but do not concede, that the better view is that the court
would still have the power, though not the right, to order commencement of
criminal contempt proceedings by other means which violate Rule 42i that is, that
an order of commencement that is, perhaps only technically, not in compliance is
not a nullity freely ignored, but is an error.

       (Again, we do not concede the point whatsoever and retain the right to argue
·otherwise at such time as someone does something who aCtually has the
 constitutional authority to do it, see next).

       Were the order to show cause in relation to an allegedly violation of one of
this court's own orders, we believe we would argue - again that is not the ·case so
this is supposition not argument by which estoppel would lie - the order is valid but
flawed and we have the right to demand its emendation. Again it's possible that we
would argue the order is a nullity, but we do not reach the point now.




                                          - 13 -
4935949v.1
       And that's because, as argued above, your honor has no authority to do
anything as to the order allegedly violated other than "monitor compliance with it,"
certainly no authority to adjudicate contempt of it or decide whether to do so.

       Therefore, and for that reason only, and before we ignore anything on
grounds of jurisdictional bar, we request your honor confirm that he in,deed lacked
all authority to sign the order to show cause (civil or criminaD and order it stricken
as the legal nullity it is).

      While that request is pending, we will maintain the position that, as it is a
legal nullity, it has not actually triggered criminal process, or anything, and
therefore will abstain from the actions we would otherwise need to take in self
defense, if it were the intent of this court to proceed anyway in the absence of
authority to try this proceeding.

       However, in the interest of time, we request that this court stay all process of
every kind in this instant matter while it decides whether it has the authority to
adjudicate the alleged contempt. This authority, to stay the status quo ante, is
clearly within your authority, it is called the jurisdiction to decide jurisdiction. See
United States v. Shipp, 203 US 563 (1906). However, it is a temporally limited
authority, and exists only insofar as is necessary to preserve the status quo.

        If however the court believes it had the authority to sign that order, we
request being so advised immediately and an immediate 1292(b) certification and
stay. 9 In the unhappy event the court refuses that, and insists on proceeding with
this, then we will deem the court's refusal to provide criminal due process rights,
beginning with the announcement of the contempt charges in open court, including
the right to demand a jury, and to have the entire proceeding in open court, and to
call witnesses, and so on, to be an action so clearly devoid of authority that it may
be ignored with impunity.

    ·· We Demand a Separate Docket

   On a related note, whatever you decide, we demand that you docket this
proceeding, commencing with the filing of the petition separately, on its own
miscellaneous or criminal docket.

      On this point we respectfully advise the court that any conceivable notion
that you have the authority to repudiate the Bill of Rights, including the Sixth
Amendment guarantee to public contempt proceedings - which in this Circuit
includes even civil contempt proceedings, In Re Rosahn, 671 F2d 690 - to "protect
Mr. Doe" would not withstand even the mildest scrutiny.

9 Independent Drivers v. Skinner, 931 F2d 582 (9th Cir. 1991) (where issue was whether
sole authoritJ resided with appellate court, 1292(b) certification was correctly issued).

                                        - 14 -
4935949v.1
       Your honor is well aware that were this, as it should have been, separately
docketed, you would be required to hold public hearings on whether anything, let
alone the whole proceeding, could be hidden, and those proceedings would not be
adjudicated merely by the qualified First Amendment right of access, but by our
Sixth Amendment rights to have the public present and aware, and in particular in
the case of criminal contempt where one judge combines all functions together, with
no check and balance, the idea that you could simply avoid all of this, including a
Brandenburg v. Ohio particularized finding of imminent grave harm that could be
avoided no other way, simply by docketing it inside Judge Glasser's long dead and
illegally empty docket, is simply unsustainable as anything other than participation
in the conspiracy of secret courts.

      Your honor simply cannot believe that by making an administrative
(non)decision to let this stay (un)docketed on someone else's long dead criminal
docket, the entirety of the Sixth as well as First Amendment may be ignored by
incorporation of what Judge Glasser never legally did to begin with. Nothing in
Doe's counsel's unsworn letter, save for few easily redactable words, was not
already made a matter of public record by the Second Circuit itself, and by Doe
himself, by his letter to Judge Buchwaldidentifying the "plaintiffs counsel" in the
SDNY action as "Richard Roe." That is, there is nothing that is not already public,
and yet you reflexively (i.e., unconstitutionally) sealed Doe's application.




                                      - 15 -
4935949v.1
                                      ***
      Because this "special appearance" letter motion requests relief which is
inconsistent with a response on the merits to the underlying petition and order to
show cause, we do not at this time, but reserve all rights to, submit additional
responses including jury demands and other assertions of First, Fourth, Fifth, and
Sixth amendment rights.

      We submit this under seal, but over objection, and demand its immediate
unsealing.

Dated:         New York, New York
               February 17, 2012


                                              Respectfully submitted,

                                        WILSON, ELSER, MOSKOWITZ,
                                          EDELMAN & DICKER LLP

                                        By:       Isl
                                             Richard E. Lerner
                                        Pro se and as attorney for non-party respondent
                                        "Richard Roe"
                                        150 East42nd Street
                                        New York, New York 10017-5639
                                        (212) 490-3000
                                        File No. 07765.00155




                                     - 16 -
4 935949v. l
                                       Addendum
        We use the term sedition with precision. It is correct, at least as would have been
undc;irstood by the Framers, in the context of Article III, impeachment, and the period
from 1769 through 1798.
        As defined in the Alien and Sedition Acts of July 14, 17f)8, entitled: 11An act for
the punishment of certain crimes against the United States," sedition includes:
        That if any persons shall unlawfully combine or conspire together, with
        intent to oppose any measure or measures of the government of the
         United States, which are or shall be directed by proper authority, or to
        impede the operation of any law of the United States...he or they shall be
        deemed guilty ofa high misdemeanor...
        In today's usage this would be similar to conspiracy to obstruct; however, in the
context in which we use it we disclaim this or any statutory criminal interpretation and
use the term sedition in its context, by definition, of a political crime.
        As Blackstone understood the term "high misdemeanor" in his 1769 volume, and
commented, it most typically referred to maladministration in official office, and indeed
had no commonly understood meaning in English criminal law at the time, outside of
such wrongful acts of officials. Thus, we use it accurately to describe a conspiracy to
violate the mandatory sentencing laws of the United States (in the same way Suffolk
was impeached in 1450 for repudiating victims rights and restitution laws) and.:... as did
our forbears - we call it "sedition," per se impeachable. Whether the acts comprising it
be statutory or common law crimes or not is of no concern to us.
        Federal judges cannot operate in secret, alone or in combination with probation
officers and officials of the Department of Justice, to evade mandatory restitution laws
or any other mandatory sentencing laws. It's seditious.
        Your honor understands the difference between motive and intent. Protecting
personal safety (if a legitimate, non-pretextual concern) is an admirable motive. Doing
so by concealing convictions, repudiating mandatory restitution sentencing laws, and
also in this case concealing the victims' civil RICO choses in action which per 18 USC
1964 do not lie until entry of judgment (where, as here, the predicate acts may be dealt
with as securities fraud) is evading the laws of Congress with the specific intent to
cause an illegal result. That the result is illegal is made clear by Ex Parte United
States, 242 US 27 (1916), a unanimous decision of the Supreme Court that when a
judge violates a mandatory sentencing law he does so illegally and unlawfully, and no
argument of inherent or implied authority will be heard. It is made illegal by United
States. v. Dolan, (2010), wherein the Supreme Court affirmed the Congressional
mandate to sentence criminals to restitution is above any othe1· law whatsoever.
        Orders intended to restrain a citizen from revealing this are per se
jurisdictionally barred, unless this court believes a court can de facto enjoin its own
impeachment, self evidently an act devoid of Article III authority, as impeachment is
the ultimate political, thus non-justiciable, question. See Nixon v. US, 506 US 224
(1993).




                                         - 17 -
4935949v.l
Exhibit   L
  1                                                       UNJ:TEP !3TA'I'E8 DHJTHICT COClRT
                                                          EASTERN OISTRICT OF' NEW YORK


  3   UN!'l'KD STATlt.S Of' J.\l'<IBIUCA,                                                 C.rirninal J\r;.tion
                                                                                          No.   9(\CRO:i101


  5                   ·~against-                                                          Febr.ua.ry 27, 2012
                                                                                          10:13 a.m.
  6

  7   JOHN DOE,

 8                               De:fendant.
      ......   ",''   ....   ,   ••   .,.   'f   't   "   .....,   •   t-: • • • • • 4
  9

10                                            1'R7:i.NSCRil?T OE PROC;EEDINGS
                                       BE.FORT~ TH.E HON:O'RABLE: BRIAN M'. COGAN
11.                                     UNITED ·S'l'A'I1ES DTSTRICT COURT ~lUDGE

12

l 3   APPEARANC.8S:

14    For th~ C:fovernment:                                             l,OR!ilT!l'.A LYN:CH,     Unite!=I Stat.es 1\t:totney
                                                                        Ez1stt~·.rn District
                                                                                           cif New "i'.o.rk
15                                                                      271 Ca~.IJnan PlazaEa,'!ft
                                                                        .Brooklyn, New Yo1:k lJ.201
16                                                                      BY:  TODD KAMI,NSKY, Esq.
                                                                                  E:VAN Nmuns,          r~sq.
17                                                                                LISA KRAMER, Esq.
                                                                        Assistant United Sta.tes Attorneys
18
      t"rJr tl1e befend<3rlt:                                           MTCHAEL P. BEYS, Esq.
19     (John Do.e)                                                      JASON HF.:RLAND, Esq.
                                                                        NADER MOBAHGHA· 1          Esq.
20

21                                                                      RICHA.HD 8'         r..ERNER,    Esq.

22
      Court      R1~1porter:                                            Lisa Schwam, CSR, CRH, RMB.
23                                                                      225 Cadma11 [>laz.a Ea$t 1 Room N3'73
                                                                        Brooklyn, Nr;;w York 11201
24                                                                      (718)        613~-2268


25    Procreedings r:ep9.r.tr:id by mac.hir1e stenog.niphy, transc.t"ipt
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                                                           LISA SCHWf\M. 1               CSH,   CRR,    RMR                     1
                                                             Official Court Reporter
   l               'l'HE COUR'.eROOM Dr~PU'r).':              Roe· v. Doe,      Docket; No.      9flCHU01.

  2                Counsel, pl.ease state your app.ea:r:ances,                         sta1~ting     with

  3    the gover-nmen t.

  4                MR. KAMINSKY:                   For the United States, 'l'ocld Kaminsky,

  5    Lisa Kramer,        and mvan No.r·;r-:is.             Good iuo.r:Tlinq, Yr;.'lur Honor.

  6                THE COUH'r-:               Good 111ornin~J.

                   MR".    B.B.Y.S:          Good morn:Lng,         Y.ollr rbnor.   E'or.   ,John Doe,
  8    Michael Beys, J·ason Berland, and Nao~r Mob;.:n:gha from th1:! f.i..r:rn of

  9    Beys,   St~in       & Mobargha.              Good mornitig,

lO                 THE CODB.'1      1
                                        :     Gt;iod .rn.o.rning.

1.1                MR . .LERN"ll~R:             Go.od mor.n.i:ng,      I'm Richard J,.erner.:.       I'm

12     appear;i.ng for rU.ctw.rd                Ho1~.

13                 'l'H:E COOR'r:             Good morning.

14                 ~IL     ROl!:;           1 am appeadn.g for: .Rich.a.rd Lerner.               Your.:

15     Honor a*ked me to identify myselt.

l.6                THE COtlR'.r:              I'm s.ar1::-y; say that again.

1.7                MR.     ROI~:            I.'m appearing for Mr. J,err1e.r.               D9 you wish me

.1.8   to use my    nam~      as T 1 ir1. ttdrriitt.ed in this Cobt"t or do you wish rne

19     to use the --

20                 'l~HE   COURT:             What do yo\.i mean you' re appearing for

21     Mr. Lerner:..?      He u; not a. par:ty here.

                   MP.. ROE:                !:le is indeed.         This is a response. to at1

23     application to hol.d botl-i of us in contempt..

24                 '.e1::rg COUR'r:           T see.      And .su you 1 re appearing

                   MR. HOE:                 I'm representing him i:ri this appltcation.



                                            LISA SCHWAM, CSR, CH.R, RMR                                     2
                                              Of;f;".i.cial Court Rf;:.po.r.r;et
  1                     'l'HB CQUR'!':        And y,Qu have no conflict of intr~rest                           .i.11

  2     doJng that'?

  J                     MR.     !~OF.::     I f WE.\ do, yo·u niay asa1:imo Ciri bur

  4     ,r,epresentation mut.ua:lly that                             it has hi;!11m wa.tve.d t:o au:r: :ni.ut.ua.l
  5     sat.:i.sfiJctJon.

  6                     THE COUR'f.':         Well, si:r:, :i.t's not entLr.ely up to you.                             As

  7     I u:r1de.1:stand itr              there~    arfil two pa:r.t.ies whorn c;ontempt" .is sought

  8     against.         Yoµ 1 r<? telling                  lli.~   .each of y-:ou is .r:ep:n~senting the

   9    othe1·,   evet\ though I               could find that either .cini;~ of you is i.n

10      cont;·~1'mpt.      8ach (jf you h(;l·V'e an int~r:;ntive to                       exone.r.ate yoursel..f

lJ.     and,   to tha.t extent, you' re un.ited in ir:rt.erest.                                  And ea.ch o:f you

12      have an im;enttve, to                      t.ht:i      ex.tent. yc.)u are not i:ixc.we.b:1t.ed 1 to pin

13      responsibility on your client.

1 i.j                   Why is that not'. a confl i.ct of int.ere$.it.?

15                      JYIEL   ROE:        Well,           f:Lr~t      of aJl, as a p:rc.\ctical matte,r

                        THE COURT:             NC).            LetJs ti;i.lk about whc)t. the        rul~:is


17      niquire.

HI                      MR. ROE·:           I expect that bot;h of us w:lll take

J.9     t.est.imonia·l p.r.:iv:i.leg(~ and,                         t.hf:;"!refor.e, I don 1 t think it's goi.ng

20      to b@ a problern.                  l doµbt. that eithfH one of, tJS will be

21      testifying.

                        '.!'HE C:OUHT!         You're ··- I1Tn :;;o.r.:r:y;             I don't unde.rstand

23      what: you just said.
24                      What do you mean, "t.estimon:Lal pr::ivileg~}'~?

25                      MH. ROE:             I ·mi:rnn, th<tt T believe, a·lthough th~: issue



                                             :l"IGA SCJIWAM,              CSR,   CRR, RMR                               3
                                               Off1cia1 Court Report1::n·
 1    hasn't com<; up yet, that .Mr'.. Lerner w:U..L ·a$sert ~'iEth Amendtn<;fr1t,

 ~:   w.hetb.er this be civ-.i.l or c:ri.nliYtal; ar\d sq will I, .tn whi·f$.h cas.e

 :3   !:here isn't going to be testi'/UOii,y fr.om eft:)ler.: one Of                        LlS.


 4               '.l'lfh~ COUHT:      Is th~re gqJcng to be argument f:r:otn either



 6

 7               ':J~HE   CODRT:      The.n the con.flict J..s p;t'esent.r S\r.

 8               MB,, l1ER!$11l:R:     Ou:v a.rgtiments     a.r.;,~    l:)J(:>in9

 9               'PHE COUR'l':        Who a.re you speaking for now, ~:C',                     J~e.r:n.er;


10    you.r:selJ; o.r: your cl ie.rit?

11               MR. J_,ERNgH:         :C 'm speaking      fo1~       Ri.c,:ha.r:d Hoe.

12               THE COU.R'I':        All riqht..       Go ciht:!ad.

13               MR. LE',RNER ~        There w:i.J.l not be a confLi.ct becau.se w.e

14    wi.U be pi:e.sf;lnLi.ng -- our arg111tients will                    bE~   patalle·l, simila:r:

J.5   argi.iments,   :rnrne posit.ion.         w~~   arc::J not going t:o b.e point.:Lng

16    finge.rs G!.t each lither.           .And we 1 re both goinq to. -- neit]).cr of us

17    will be testifying.

18                MR~     ROE:     If I may, if Your Honor wovld give me 30
19    seconds, we have a mo.ti on bef.ore the Ccrnrt to dec:lar~ that it

20    lc:1cks subject-ma tte.r jurisdiGti<rn ..

21                THE COUR'r:         Yes.     'l'hat motic:m is denil:::d.               I have

22    subject-matter jurisdiction.

23                MH. ROE:         May I     re.quel:lt, tben,          F.l   1292('.b) ce.:rtificaU:on

24    on the issue?

25                THE COUHT:           You may request 1.t.                   J.t. is denie.i;i.



                                     I.ISA SGHWAM,     CSH,    CHR.i .RMR                                    4·
                                      Official Collr't. .Repo:t:ter.
  l               MR. HOE:          AU ri9ht.          May I request a. .sto::i.y pending a

  2    writ of prbhibition?
  3               THE:   COUWr:         Yoq     may i;eqUE;!St it.    It is d'enied.

  4               MR. ROE:          All right.         Thank   you.
  5               THE: COURT:           J.,et:. me ht::<ar f'l:·om the oth0r pa:cties <J.. s. to

  6    wheth'er ther.e is an objectlon to p'l,'.'Qceeding with tw~' aJ.1eged

  7    ccntemnors, each represerrting the other.

  8               MR. KA.MINSKY:                Your Hon.or, may I    very quickly poi.fit oti't.

  9    that pr.iot' to coming here tade1y1 based on the notit::e of mpt.lon:

10     filed before Your l:l911or, it. s_ays,              ''NoJ:i.cr;i of m.ot.i.on, Rt chard

11     Lerner, prose,"

12                1
                  .rHE COURT!           Ri9ht:.      Th'tlt was my unde1: St<rnding.

13                MR. HOE:!         I   Wt:Js    only act,mitted today.     He couldn't have

14     put a_nyth.i.ng ~1lae on. there until I got admi.tted.                   Nobody was

1S     tJ:y:.lng to :fool the Coux:t,              T be.came ~dm.:Lt.ted today for this

16     purpose.

17                THE    COUl~T-c       Who admitted you t.Odi.:ly?

lf.l              MR. ROJ::;        I waived :in.         I got a Certificate of Good

J.9    Standing from Southern Distr1ct at ti o'c;lock.                      Brought it here,

20     paid the mon£1y 1 swore in, and I'm admitted in Eastern District

21     as of 9:45.

22                T~E    COURT:         Did you disclose when you got yoµr

23     cer:tificate that you, we.re t:he subject of a contempt mot.ion'?

24                MR. ROE:          When l qot the certificate from Southern




                                    LIS.I\ SCHWAM 1 CSH, CRH 1 RMR
                                        Of.fic.icil Court    Repo1~t1~r
 J.              'l'HE. COUR'l':     No.        In    tlv:~   Eastern Di.st.rl<.:t.
 ')
 '•              MR.   ROE:        Wt1en I -came in here and swore i.n'?

 3               THE   COURT:        Yes.

 4               MR. EOE!          I just did it ha l.f .an hotr:r. ago, 1":lnd th.ere was

      nothi.nq that sa.ys ,'.lre· you th.e subjll!Ct of any d.Jsc.ipJ..inary                               if

 6    :r di.d it wrong,    I apolog·ize, but 1. ha-v!S.in' t. been fotm<J or

 '7   ad:iudge.cl in contempt; and pa.t:ticular.ly since this is, no matt<:;r

 8    how they label it, 1-ikely a                   criminc~l     contempt J?roce.eding / 1

 9    p·resume .im,:or:rec.tly -- and 1'11 apol.0gi7..l~ if: 1 1 .m wron.g -- t.hat·

10    pl'.'esumptipn o.f innocence applier;;.

1.1              •rm:: COf.JRT:       Let. me return to my original                   gul~St.l.C'.ln.


12               ME. IU\.MINSKY;             Yes,     Yout H.onot.         With the Gf.l"Vt:iat,        Y..ou'r

13    Hon<>.r:, that 1 1 .m not. e.xactJ.y ce.rtt)in what You:r: Honor was pl.annin9

      on goinq forwar;d with t:his mo:r:nir1g 1 t:.h(::rc:: is obvir1usly a bi.g

      p:robJ.mrt that colmsnl is not. adequately repre.sentec;l :\.rl that                              th~re


16    a.r:e conflict issues          th~it    aJ:e obviously p.resent.              S.hould there .be

17    r.:.mytl'l.i.ng later that wt)uld -need to have a t$teinding reco·rd that

18    eve·.ryone could s1Jpport 1 a·i"ld thi.:rt would b!;;- obviously 1egitimat~,

t9.   there is clea.r:J.y a. problem t'igllt .now that the q<;ivei~nment is

20    loath to continue in this                 ~urrent        situation ..

21               MR. BE:YS:.         J·udqr~,    i.f I fl\ay, I 1 d also like to add

.22   so:rr.iethin.<.:r to J'our Honor's point. that M:r. Lerner and Mr. Roe have

23    an incentive t'.c1 put U.abi1ity on eacl1 other.                           I would. not~! .f.o.r

24    t.br:!! Court ~1 F'ebr.ua.ry 10th fax to Judg(; Glcis.ser which Mr. Iie.rner

      writes on behalf        ~'f   1".lr. Roe, basically M:cus.inq Judgr:.• Glas1>1;,r of



                                    r~ISA    SCHWJ\M,. Cf:lR,      GRR 1   RMR                                    6
                                     Official co-u.r.t Report.er
                                                                                                  ,.
                                                                                                  !;·


 1.    willrully part:icipatir1g in a schemH t.o defra.uci Doe's victirns in

 2     whatever it is t.he-y've been claiming alt along.

 3                I .Jllst want to quote the langtiagr:i becaose it shows

  4    exactly what ".(our Honor :Ls c;on.ce:rned about,           wh;i;(~h   is the finger

  5    pointing and the di.stan.b.i.ng f:r.om ea.ch ol:her.           Mr, J_,e:rne.:i; is ve,ry

  6    t::an;ful to say,        "My client m.:1.i.ntains that such acts const;itu.te

 7     the willf1Jl dc-:p:i:avation of and indeed the derrci.uding of

  8    Mr, Doe 1 s crime victims of the.i:t property ri.glits, ''              And later on

  9    .again he :i.s caref1.11 to .say,          "My cJient."

10                It's    exact.ly wh1:1.t You.i: Honor is concerned wU;.h, arid

11     it's a very real concern.

1.2               THE COO RT:           Ok<'iY.   Then I take it. that both of l:he

1.3    p.r:op911ents of tfH'! c;o.ntHmpt order see a dif:f.'1.oulty in the

14.    e.Kchan9e of represe.ntat:ionn whJ:ch I've been advised of for the

15     f:irst time this ·mor.ninq.

1.6               All r·iqht.           W$' n7! go.ing to adjourn till E):i.day at

J.'7   11: O(l.   I want an       exchang~        of letters f:rrim the partfos hy

18     Thursday mo:r.:rdng <H> to why this p.r:oposed representation i,s or i.$

19     not proper.

20                 Y~s,    Mr.. Beys'!

21                 MH. BEYS:        Judge, unfortunately, Mr. Berland and I will

22     be in Miami far the White Collar Conference.                    I cion •·t. know LE

23     anyone from the gove:r:r:mtE-rnt will be there•

24                 CC?ulc:i I     a~k   for Monday?

25                 MR.    ROE~:     r have na problem, Your Honor.



                                    LLSA SCH.NAM, CSR, CRR, RMR                               7
                                      Official Cou~t Repo~ter
 1

 2                 THE COURT:         Monday at     1n 0 clock a.m.
                                                           1
                                                                              Now~    let me say

 3    a couj:>le o:f. thin9s just to clarify.                  I've alre.ady made some

 4    rulings.

 5                 Mr. Leil'.ner. -- and I'm speaking to you as Mr. Roe's

 6    coun.s e 1   ~-   you are press fa1g t;he motion to recuse th.at 1 s stated

 7    in your papers?

 8                  MR. l.ERN.E:R:     Yes, we i':lrE!.•

                    THE C:OU.R'l':    All right.       That, mot.ion .is de{iiec;l.         No

10    reasonably obj~ctive pe.r.son could se<-i) arty conflict here.

11                  Now, let me also nate that what we have                       hAr~   is vary

12    clearly a civil ¢cintempt.              I am not at all sure            i~    woiks as a

13    civil cont.empt;.        The only provision that's b~~en pbinted ou:t to

14    me as to which the:te may be a contempt is the second pciragr.a.pll

15    in the court of Appeals summary o:rde1~ filErd February 14th,                              :mu,
16    whith •imply notes that the Court ie referring to ~ichard Roe as

17    Richa.t.d Roe b11lcause tl:1e disclosure o:f his true identity nd.ght

ll3   h~ad   to the improper disc1osu.r:e of materials here: at issue.

19                  l'hat .i.s no·t .;1 decret:al paragraph: it is simply a

20    statement of the reqson w:hy the C<:m:r:·t of Appe9ls is qsing a,

21    pseudonym.         'l'hat is not to say that the disclosure of Roe's tr1ie.

22    lden:t:i t:y may not be can t-.emptuous.             One   in:fe.1~eni::e   tha l: could

23    possibly -- althou9h I am not presently drawing any su.ch

24    inference -- but one inference that could b~ drawn is that there
25    ls a scheme between Mr. Lerner and Mr.                     Ho•~,   or either one of



                                     LISA SCHWAM, CSR, CRR 1 RMR                                    8
                                      OffJ.ci.al Court Repo.rter
                                                                                                          I
                                                                                                          I

                                                                                                          I·
 1    thern, to under.mine the injunc:tiv~~ order·s l":hat have been

 2    previously issued, and one me.ans o.f. undermining those injunctive
 3    orders woi:tld be the disclosure of.' the true identity of Richard

 4    Roe.

 5                     That fact, combined with others, both publiC! and

 6    n.on:public, might. w0 l l le.ad to the ha-trn which the :Lnj unctive

 '7   p.r.ovisions entered by th.e Second Circu.i t and J·uctge Gl,asser

 8    expres!;lly sought to pre.vent.                   Hut thc:rt theory has not. been ma.de

 9    hef0re me on thi.';! .motion.                1 'vf~ onl.y be·en pointed t.o. th11t first

10    .re<;~;i.ta.l   parag,raph in the S·ec<,nd Circuit.'s o;r.der.                 And as I r;;ay,

11    it is not a dec.retal parag:ta:pb.




16    sought .here is to. ~»\:OP- :v:.ia:la:tioris.; I think we can a ..Ll be

1"1   assur.·ed i based upon ·the conduc.t                    or Mr:' Roe <md Mr. -Lerner'    I   :that

18    the attCJt·neys'.        f<~ra~,;    incu:r.rcd   011   thi·s·motion aren1.t going··t.o d:o--···'

19    anything.

20                     Because .i.t is. ent;L:r:e.ly.- possib1e; al:thotigh' I :h:E!ve -·fortr\ed




                                          .Ii.ISA SCHWAM 1 CSR,      CRR.1   RMR
                                            O.ffic.i..aJ_ Court Reporter
 1                 I will ·also note that I Lhit1k H's very unusua.l that

 2    tb.e government is al.lowing a pa..-r:·ty                th.at~   the government might

 3    s.eek to protect to protect h:i.niself.                      I know the         o.s. Atto:r.ne·y s      1



 4    Office is quite busy.               I have nc:it. yet met an Assistant that

 5    doesn 1 t   work ,really hard, but I will say .I c.a.i:i' t                       think of.

 6    anything goJnq on there tha.t is. mo,i;~ impo·rtant than l!:'!tting

 7    actual and potiantiaJ. wit.nesse;;l know that. l:.h$ government will



                   That's why I'm referring this for prosecution.                                     It is,

1.Q   c).f coLu:se,   the   ~J.S.    Attorney's dee.is.ion whether to p.r.osecute or

11    not.      1f the   o. S ... -J\ttlo:trney·declines.,, ...t.hen it ·y;.:L:Ll l'.i.0"''tl'.P· toi-.me, lt:c:'.I·


13    wouJ.d rec:onune.nd tl:io'tt :if there is 9oi.ng to bF.1 such. a p.rpsecutibn

lil   ba~;eci   upon approp.t':Uite charges, that the relief sought be

15    lirn:Lted to $5, 000 and six months imp.r:isonm~;nt, but, again,

16    that's the o.s.         Atto~ney 1 a d~tision.

17                 Now, I wa.nt the movant.s, p,:irticu.lat·ly Mr. Beys; but

1B    obviously be .ts col):3ulting with t.he gove:rn.m.ent., to determine

19    before this hearing or\. Monday if we· a:re in the p:z.'c)per forum here

20    based upon what I've said or whether there ai;e otht'J;r or no

21    actions that .should be taken; because if alJ r' ve got he.re is

22    Hi chard Roe told somebody who he was, T am not sure at all that

23    I can find that, by itsalfi is a pex se violation of any of the

24    in:junctive provisions.

25                 So l wi.11 see you aJl Monda.y a.t 10:00 a.m.                                LeL me



                                    LTSA SCHWAM 1 CSR,              Cl~H,    RMR                                  10
                                       Official Court Reporter
 l     check on€ more th:Ln_g.            I want to makr:1 s.ur~ there's no more open

 2     issues f.rom the eme:rgfmcy. ·motio:n that Mr.                   L~rne:r    filed,

 3                 MrL H,0-8:       With r1:-ispect,     there are,        Your Honor.

 4                 'l'HE COUR'l':     Let me hea.r fr.om Mr. Lerner.                  He .t.s the

 5     attorney who filed i.t.
 ,..
 0                 What's left, Mr. Lerner?

 7                 MR. J.,ERN.ER:       Well,    first I'd: Li.ke to note that \:his

 8     matter is not on the Court's public schedQLe today.                               We'd ask

 9     that any fur.:ther p1:-oceedin.gs in this court be publicly

10     documented and the proceedings tak.e pla·ce in an. open co\trt.room.

11                 'I'Hh1 COURT:      I h.:i.ve not Sef!lC:!d ~.h:i,$ c_nurt;.:rooiu..       .ts i t

12     anyone's ut1ders tanding that this transcript J.a                         Mi~.led'?


13                 Your .request J.s          deni~cl   as mbot.         Is there anythlng you

14     want that    you'r~      not gettirtg?

15                 MR •.'LERNJ::H.~     Well,    Yout~   Honor, the public: has a right

16     to advm1ced public notice of GOlJ,rt                  h~aring·s.         'l'his wa.s no.t

17     pos tivd.

18                 MR. R(J8:        l believe my client wot~ld press that Yc.rnr

19     Roner docket

20                 THE COURT:          Excuse me.         I'm not recognizing you .as his
21     attocney until tl1e conflir.!t issue is resolved.                           1 'm recognizih.g

22     him as the attorney who filed the motjon for relief before me,
23     and   :r. w111 hea.r only f.r.om him.
24                 MR. LERNER:           Fine,    Yr.:iu.r. HQnor •.    We '·ve requested. tht:tt

25     this be docketed 11nde:t f3 S'eparate inc.lex .number.



                                    LIS"/-~   SCHWAM,    CSR,    CRR,    RM.R                          11
                                      Offi.cJal Co1.lrt Reporter
  1                   THG COURT:             Well, I 'w no\~ gning to do that.           J might

  2    open this rnattet; I' 11 think aboi:l.t thaj:.                       You can both actdr.ess

 3     that fUrther in the letter I 1 m go·it1g to ge:t on Wednesday.

  4                   Anything else in your moti_on I d:Ldn 1 t cover,

  ~)   M·.r.,   t,erne-r?

 6                    MIL LERN.ER:            We' 11 be mov i.ng to d.isqualLfy the

 7     qoveri:unent.         The.re 1 s ampl•; precedent t.h.at the gove.t:'nment

 8     cannot

 9                    'rHE COURT:            I'm asking what's . .in your motion.           T.;m not



11                    Is the.re anything else in your: motio.n?

12                    MR. J.1E:t"l.!i/EH :    N   <', Your f:l.otl.tLr. •
13                    THE C::OtJRT:          A.1.1 .right.        Then I 1 .Ll see you on Monday.

14.    Thank you.

15                    ('l'im!!! noted:            10:31 f.l.m.)

16                    (-End of proceed.inras. )

17
lB
19

20

2J



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24

25



                                        LISA SCHWAM, CSR, CRR 1 RMR                                  12
                                          Official Court Reports±
Exhibit fl\
  Case 1:12-mc-00150-ILG Document 78 Filed 11/13/12 Page 1 of 4 PagelD #: 1349



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------···········-··············-········X                   ORDER
In the Matter of the Motion to Unseal                             12 MC 150 (ILG)
Docket No. 98-1101
--·-······-------------··-··------------------x
GLASSER, United States District Judge:
       Motions were made in United States y. John DQe, 98 CR 1101, a case that was
sealed at its inception on December 10, 1998, to unseal the docket sheet and the
documents indexed on it. The history of events which led up to those motions are, by
now, assumed to be known and for purposes of this motion need not be retold. A
separate caption, as noted above, and a separate docket number, 12 MC 150, was created
to ·be the repository of all filings relevant to those motions in the interests of judicial and
administrative expediency. Those motions are currently pending before the Court.
       In an Order issued on August 27,.20121 familiarity with which is assumed, Dkt.
#42, I granted the motion to unseal the docket sheet only and scheduled a future

hearing to determine whether unsealing any sealed document is required by a
compelling interest that overrides the qualified First Amendment and common law
rights of access. The first hearing was held on October 9, 2012 in a courtroom closed to
the public and the press. In re The Herald Company, 734 F.3d 293 (2d Cir. 1984);
United Stat!lS v. John Doe, 63 F.3d 121 (2d Cir. 1995). The second hearing was held on
October 23, 2012 and given the volume of documents required to be examined, at least
one and perhaps two more hearings will be required to complete the process. The
record of those hearings and the documents to remain sealed will be available for
appellate review. Thus, it bears noting that the only issue for determination pending
before the Court is the propriety of keeping documents sealed.
 Case 1:12-mc-00150-ILG Document 78 Filed 11/13/12 Page 2 of 4 PagelD #: 1350



       On October 23, 2012, Richard Lerner ("Lerner") and Frederick M. Oberlander
("Oberlander"), on behalf of their respective clients, filed under this docket number a
"Joint Request for Judicial Notice," attached to which were 17 exhibits totaling 742          I


pages. Among them are a presentence report of another defendant (Ex. F); a letter from
                                                                                              i

yet another defendant objecting to statements tn his presentence report (Ex. E); assorted
                                                                                              i
letters from defense counsel and Assistant United States Attorneys in other criminal          I
                                                                                              I
                                                                                              i
cases; a 309 page House of Representatives Committee Report (Ex. P), and a 285 page           !
House of Representatives Hearing (Ex. Q). That Request for Judicial Notice and the

attachments to it bespeak an indifference to their irrelevance to the discrete pending
issue of document sealing.
                                        Discussion

       I.     Fed. R. Evid. 201 provides for the taking of judicial notice of adjudicative
facts. Commentators and precedent agree that the specified fact to be judicially noticed
must be relevant and lawyers should specify precisely the fact to be noticed. 21B Charles
A. Wright & Kenneth W. Graham, Federal Practice and Procedure: Evidence § 5104(2d

ed. 2005); United States y, B.yrnes, 644 F.2d 107, 112 (2d Cir. 1981) (trial judge dld not

abuse his discretion in refusing to take judicial notice of a document of minimal

relevance); Whiting v. A.A.R.P., 637 F.3d 3551 364 (D.C. Cir. 2011) (material generated
by Congressional investigation not relevant); Trans-S,terling, Inc, v. Bible, 804 F.2d 525,
528 (91h Cir. 1986) (judicial notice need not be taken of facts irrelevant to decision);
United States v. Burling.tqn N. & Santa Fe R. Co., 520 F.3d 918, 930 n.2 (9th Cir. 2008)
(judicial notice declined of E.P.A. proceedings that "do not have a direct relation to main

issue.") Uniteg States y. Falcon, 957 F. Supp. 1572, 1585 (S.D. Fla. 1997) (A court may

                                              2
  Case 1:12-mc-00150-ILG Document 78 Filed 11/13/12 Page 3 of 4 PagelD #: 1351



refuse to take judicial notice of facts that are irrelevant to the proceedings,) That
limitation of relevance on judicial notice compels the denial of their Request.
       II.      28 U.S.C. § 1927 provides in relevant part that ~Any attorney ... admitted
to conduct cases in any court of the United States ... who so multiplies the proceedings
in any case unreasonably and vexatiously may be required by the Court to satisfy
personally the ... costs, expenses and attorney's fees reasonably incurred because of
such conduct.
       A district court may authorize sanctions pursuant to that statute when three
conditions are met: (1) "the attorney's actions are so completely without merit as to
require the conclusion that they must have been taken for some improper purpose; (2)
the attorney engages in conduct constituting or akin to bad faith, and (3) the Court
satisfies the procedural requirement of notice and an opportunity to be heard." Gollomp
v. Spitzer, 568 F.3d 355, 358 (2d Cir. 2009). The filed Request for Judicial Notice
.satisfies all three sanction prerequisites. I am driven to conclude that Fed. R. of Evid.
201 was seized upon as providing the pretext for filing a documentary stew.

       Sanctions may also be imposed to make manifest the inherent power of the Court
"when a party has acted in bad faith, vexatiously, wantonly, or for oppressive reasons ...
so that the very temple of justice has been defiled," Chambers v, NA$CO. Inc., 501 U.S.
32, 46 (1991). As a pre-condition to the exercise of that power, the Court must find that

the filed "Request" was without a colorable basis, asserted in bad faith for Improper
purposes Schlaifer Nance & Co. v. Estate ofWarho], 194 F.3d 323, 336 (2d Cir. 1999). A
filing of 742 pages of requests for judicial notice having no relevance to the very discrete
issue pending before the Court drives the Court to conclude that those pre-conditions

                                              3
  Case 1:12-mc-00150-ILG Document 78 Filed 11/13/12 Page 4 of 4 PagelD #: 1352



are satisfied.
         Based on the foregoing explication of the power of the Co'urt, Lerner and

Oberlander are here by directed to show cause at 4:00 p.m. on November 191\ 2012, why
sanctions should not be imposed for the vexatious, oppressive "Request for Judicial

Notice" filed in 12 MC 150 on October 23, 2012.

         SO ORDERED.
Dated:           Brooklyn, New York
                 November l31h, 2012.




                                                  I. Leo Glasser




                                              4
Exhibit N
Case 1:12-rnc-00150-ILG Document 86 Filed 11/19/12 Page 1of14 PagelD #: 1407



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------)
IN RE UNSEALING THE DOCKET AND CONTENTS                                    12-MC-150 (ILG)
THEREOF OF U.S. v. SATER, 98-CR-1101 (EDNY)
-------------------------------------------------------------------)
                                               OMNIBUS MOTION


1.    For disqualification of Fed era) Judge I. Leo Glasser pursuant to 28 U.S.C. §455;

2.    For immediate disclosure of all ex parte communications in this and related matters;

3.    For referra) to the United States Attorney, NDNY, for the criminal investigation of
      the following attorneys for their participation in racketeering enterprise corruption
      and criminal conspiracy in connection with this and underlying and reJated matters;

      At Mobargha, Stein, Bevs                  At Morgan Lewis Bockius    At the U.S. Attorney
         Nader Mobargha                              Kelly Moore            Todd Kaminsky
         Michael Beys                                Leslie CaJdweU
                                                     Brian Herman

4.    For the disqualification of Mobargha, Beys, and Kaminsky, for their participation in
      the aforesaid racketeering enterprise corruption and criminal conspil'acy;

5.     For expedited discovery and subsequent full due process adversarial hearing in
       connection with the above requests, for the determination, inter alia, whether the
       aforesaid racketeering enterprise corruption and conspiracy so infect the Eastern
       District that its disqualification in the entirety is required in the interests of justice;

6.     For the immediate disclosure of Sater's 2004 and later PSRs in the interests of justice;

7.     For the immediate disclosure of all documents and transcripts in this and all related
       matters within this court's jurisdiction on account of the constitutionally
       insurmountable pubJic interest in knowing all that has gone on in such matters.

8.     For stay sine die of the Rule 11 order to show cause pending resolution of the above.
      Frederick M. Oberlander
      Counsel for Lorienton Palmer
      28 Sycamore Lane (PO Box 1870)
      Montauk, NY 11954
      212-826-0357 pl)one
      212-202-7624 fax
      fred55@aol.com
Case 1:12-mc-00150-ILG Document 86 Filed 11/19/12 Page 2 of 14 PagelD #: 1408
                                                  2


                                    PRELIMINARY STATEMENT


       The accumulation of events now makes inarguable the conclusion that AUSAs, defense

attorneys, and probation officers have committed and conspired to commit multiple, related

crimes, engaging in enterprise corruption in common, coordinated zeal to bring about and cover

up Sater's illegally concealed racketeering conviction, his use of that concealment to commit

further crime, and their roles in its misprision, aid, and abettance. They have forfeited the right to

continue in this and related proceedings, and, we aver, to practice law, for that matter to remain

at large in society without being called upon to stand and de1iver, to answer for their crimes.

       The same accumulation of events also makes inarguable that your honor presides over

this and related matters in violation of 28 U.S.C. §455(a) and (b)(l), having failed to disqualify

yourself despite Congressional mandate you do so because of, respectively, your appearance of

bias and lack of impartiality, palpably obvious to, let alone reasonably questioned by, an

objective, informed observer; and (2) your knowledge of disputed evidentiary facts you obtained

outside this proceeding, or ex parte, a fortiori facts which you have wrongfully withheld from us.

       Now, given what must appear to that objective observer to be intentionally chilling,

retributive, In terrorem threats to sanction us for exercising our First and Fifth Amendment

rights - rights no court may deny - to introduce relevant evidence in support of meritorious

argument, and in particular in light of the documentary evidence we now proffer, that

observer cannot rationally conclude but that your honor appears to be in criminal

conspiracy with at least Nader Mobargha and Michael Beys, Sater's lawyers, to deprive us

and our clients of our rights. Our and our clients' interests thus align with those of Sater's

apparently still uninformed victims (many of whose identities we now know are known or

available to you) in respectfully demanding you leave the bench in these matters forthwith.
Case 1:12-mc-00150-ILG Document 86 Filed 11/19/12 Page 3 of 14 PagelD #: 1409
                                                       3


                                                ARGUMENT


       On September 10, 2012, the Second Circuit upheld a sentence of 8 years and $25,000,000

in fines given Myron Gushlak for his conviction, on plea, for securities fraud. The court

expressly held that Judge Garaufis committed no error in fixing such a huge fine and refusing to

credit for acceptance of responsibility because Gushlak, who had, like Sater, cooperated in return

for keeping his conviction secret for years, just as this court kept Sater' s conviction secret for

years 1, spent most of the "secrecy years" defrauding others, starting with his own business

partners, from whom he illegally, fraudulently, concealed his secret plea to securities fraud, and

from new victims to whom they sold securities but, again, from whom he illegally withheld the

fact of his secret conviction, the court finding no error in the trial court's conclusion that this

denial of reality, this concealment fraud especially in the presence of a duty to disclose, marked

Gushlak as a recidivist fraudfeasor who deserved to have the book thrown at him. This is from

Judge Garaufis's comments during Gushlak's sentencing proceeding 03-CR-00833:


        [D]efendant was far from a model cooperator. There are substantial and troubling indications that
       defendant regarded the secrecy of his cooperation not as a necessary protection of his future
       usefulness to the government but as a license to continue to deceive those with whom he
       conducted business.

                                                      *"' *
       The court can only infer from this behavior that defendant was less concerned with this court's
       sentencing decision than he was with presenting himself from being outed as a convicted felon and
       fraudster because of the obvious negative impact that information would have on his business
       activities.
       While defendant argues that he lied to [his business partner] because be believed he was obligated
       to do so by his cooperation agreement, he freely admits that he did not at any time seek the
       government's advice on how to handle the inquiry which prompted his lie.


1 There is no way to know whether keeping Gushlak's conviction secret was plausibly legal, because
Judge Garaufis still has not docketed the transcript of his plea hearing even after almost a decade
now. We can reasonably conclude it was illegal given that it would have to have been a secret
blanket sealing order and as we have argued in our underlying motion to unseal and as is currently
before the Supreme Court, even a real (as in actually existing) blanket sealing order is facially
unconstitutional, as it eliminates the court's obligation to continue to make individual closure
decisions. Note again this is another EDNY case where way after sentencing things are still hidden.
case 1:12-rnc-00150-ILG Document 86 Filed 11/19/12 Page 4 of 14 PagelD #: 1410
                                                        4


        Indeed, defendant's sentencing submissions indicate that keeping secret the fraudulent schemes
        that are the basis for this conviction has always been a central goal of defendant's cooperation.

                                                      ** *
        [D]efendant earned a fortune speculating on penny energy stocks mere months after telling the
        government that he lacked the means to pay a relatively small forfeiture judgment, but foiled to
        tell the government this until after he funneled what now amounts to $50 million into an
        irrevocable trust he established for the benefit of his children.
        Defendant admitted to the court that even though he knew he would be subject to 11 fine and
        an order of restitution as a result of a guilty plea, defendant did not consult with the
        government before placing these substantial assets into 11 trust which is potentially beyond
        the reach of this court's legal process. Defendant never approached the government to ask
        how he might use his sudden wealth to pay restitution to the victims of his criminal conduct.


        The Second Circuit and Judge Garaufis know a serial securities fraudfeasor and mobster

who corruptly takes advantage of "sealing orders" to defraud people when they see one. They

saw one. We presume this court does as well; for example, it had one in the witness box on June

21, 2010 when Sater testified before it, and was looking right at him.

        The Second Circuit didn't think that Gushlak was justified in committing these

concealment frauds 2 and hiding his money from what he knew would be an inevitable fine and

order of restitution. Perhaps Gushlak's cooperation agreement required him to turn over all his

assets to fulfill any restitution order3•

                After all, Sater, like Gushlak, hid wealth from what he knew would be inevitable

orders of restitution, including hiding $8,000,000 in partnership distributions from Bayrock by


2 Perhaps they would have     if Gushlak had argued his safety was at risk if he didn't steal the
money? You know, like Sater argues, "I had to commit all these concealment frauds at Bayrock
by hiding my conviction or my life would be in danger, really, I only participated in hundreds of
millions of dollars of notional concealment fraud to protect my family, I swear, I had to do it ... "
s For that matter, perhaps Sater's cooperation agreement requires the same and Sater and those
protecting him and their culpability in the coverup would do anything to avoid revealing that. Of
course, this court can't unseal what isn't on its docket to begin with, which is why counsels,
knowing cooperation and plea agreements are not kept in judicial files, requested the court
take notice of the absence from its own docket of the cooperation, upon which notice we
would move for an explanation why court papers have been filed left and right for years claiming
Sater's plea agreement and cooperation are "sealed" when they aren't even in court.
Case 1:12-mc-00150-ILG Document 86 Filed 11/19/12 Page 5 of 14 PagelD #: 1411
                                                  5


pretending they were "loans" (if correctly accounted for as distributions they would have been

subject to charging order liens in favor of any victim with a restitution order) and lied to his

probation officer that he had no money, which the officer duly reported in his PSR,

notwithstanding Sater was living in an $11,000/month rental mansion, about to buy a $1,800,000

home, and skimming nearly $1,000,000 a year from the firm.

       Of course, we can only make public that all that and more are revealed in Sater' s 2004

PSR because the Supreme Court of the United States gave us the right to do so. If it had been

up to this court, no one would ever know of the criminal corruption of the probation officer

and DOJ (but see infra for yet more), at least not from us, because this court gagged us

from telling anyone without even hearing any argument as to prior restraint, core speech

or anything else. The First Amendment simply didn't exist in Brooklyn for this court4•

       And of course because we can make public that those admissions against penal interest

(as to the probation officer), of his knowing participation in what Judge Garaufis and the Second

Circuit have confirmed is aggravated felony fraud, it follows we can make public the inescapable

conclusion that this court knew perfectly well what was going on with Sater, or was willfully

blind to it, unless this court would have us believe it doesn't read PSR's, even when it's issuing

prior restraints it doesn't read them, or at least didn't read Sater's, and didn't read the allegations

in the RICO complaint it has had for almost three years now.

       And still this court did nothing to unseal anything for years, ignoring all our requests to

do so, ignoring everything until the accident that let it out.



4 Charmer industries never reached the First Amendment issue, presumably because no court has
ever held that state law enforcement agencies enjoy the same First Amendment rights as do Mr.
Oberlander, Mr. Kriss, Mr. Ejekam, and everyone else this court ordered not to tell of its apparemt
involvement in this corruption.
Case 1:12-mc-00150-ILG Document 86 Filed 11/19/12 Page 6 of 14 PagelD #: 1412
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       Nor is this just Gushlak. We call the court's attention to the Ageloff restitution matter,

just argued weeks ago before the Second Circuit. One issue there is whether Judge Dearie

properly ordered Ageloff, a fellow fraudfeasor who often worked in cooperation with Sater,

Ageloff at Genovese-controlled Hanover Sterling and Sater at Genovese-controlled White Rock,

properly ordered Ageloff to pay some $200,000,000 in restitution in 2011, fully 13 years after he

pleaded guilty, roughly at the same time Sater did to substantially similar underlying facts.

       One thing we do know is that Ageloff wasn't in the court that day to hear argument,

because he's serving time in federal prison in Florida. His crime? Hiding his wealth, including in

trusts he set up for his wife and children, to evade what he knew would be inevitable fines and

restitution (and presumably extrinsic civil liability, though that itself wasn't charged).

        So let's see:

       When Gushlak takes advantage of his "sealed" secret fraud conviction to perpetrate

concealment fraud against his business partners and new victims, and hides the millions he

earned to keep such from his victims, including by family trusts, he gets slammed with 8 years in

federal prison for securities fraud and a total of $42,000,000 in restitution and fines.

        When Ageloff hides his millions to keep it from his victims, including by family tursts,

he gets five years in federal prison for money laundering and a $200,000,000 restitution order.

        When Sater hides his millions (if the court look carefully it will find- wait for it - that in

2008, Sater funded what we'll call an "EDNY Special" family trust for, you guessed it, his wife

and children by transferring his membership interests in Bayrock to the trust, which then flipped

it right back to Bayrock for approximately $1,500,000; why be surprised, hiding wealth in trusts

is the "thing to do" among EDNY felons who want to evade all responsibility to their victims) ...
Case 1:12-mc-00150-ILG Document 86 Filed 11119/12 Page 7 of 14 PagelD #: 1413
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        When Sater hides his millions - including the millions he received for surrendering

the membership interest in Bayrock by trust which proves his felony periury when he

testified before this court on June 21, 2010 that he was never a member, perjury for which

his probation could have been revoked and he resentenced to nearly 20 years in prison on

the RICO charges - the only thing that happens is that those who find out about it are

threatened with imprisonment if they tell anyone on a claim that it's necessary "to protect

his safety" yet are barred from introducing any evidence anywhere that such claims are at

least now, and for years have been, utterly false, fraudulent and pretextual, infra.

        (Parenthetically, given the request of Sater's lawyers this morning that the court rule the

RICO complaint utterly without merit [of course it has no jurisdiction to rule anyway, as the
                                                                                   5
complaint is not before it, but before Judge Engelmayer of Southern District ], the court should

consider itself hopelessly conflicted as a ruling that the complaint, which as the whole world now

knows contains such or similar allegations of Sater' s concealment frauds, nevertheless states no

cause of action under any plausible theory of existing or even new law, it's open season for

cooperators now, even more than usual in the Eastern District, claims by the Gushlak victims

[we understand there are quite a few in Germany alleging he defrauded them of huge sums while

hiding his conviction] must fail. In the alternative, if the court finds the complaint states

meritorious claims, it will - and ought to - have much to answer for in gagging this up for years.

No court can credibly rule in such a situation in which it effectively indicts itself if it finds - as it

must - that somewhere inside a 168-page 800 paragraph complaint written with the benefit of the

finest legal thought in the country in the substantive law is not devoid of merit.



6 Mr. Sater and Bayrock Group Inc., a money laundering artifice he created to hide still more money
he took from Bayrock, have waived service of the complaint and as to them issue has been joined.
They are certainly free to move before Judge Engelmayer for whatever relief they can get.
Case 1:12-mc-00150-ILG Document 86 Filed 11/19/12 Page 8 of 14 PagelD #: 1414
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       Back to Gushlak. Recall that Judge Garaufis said,

       While defendant argues that he lied to [his business partner] because he believed he was obligated
       to do so by his cooperation agreement, he freely admits that he did not at any time seek the
       government's advice on how to handle the inquiry which prompted his lie,


       Now, anyone with an IQ above wood would know that, just as it's been said that "One

may have a First Amendment right to free speech, but one doesn't have a First Amendment right

to be a postman," even a cooperation agreement doesn't mean you can put yourself in harm's

way by, you know, taking a partnership in a firm issuing securities and borrowing billions of

dollars and having to report about and disclose its principals' prior fraud convictions. There are

plenty of other jobs one can take that don't require stealing money from new victims and

defrauding your partners in breach of fiduciary duty.

       (If Sater/Gushlak had been a lawyer, would this court have minded if he continued to

argue before it after his conviction, hiding it from the bar? We're curious. Doctors hiding their

convictions from medical licensing boards? Teaches hiding convictions from schools?)

       But all this pales behind certain events which occurred in April and May 2011, which

began what now with this court's order to show cause force our hand and compel we move to

recuse for the appearance of bias based on collusion and criminal conspiracy.

       In late April 2011 Mobargha and Beys approached Richard Lerner and said that the

EDNY United States Attorneys Office was twisting their arm to force a settlement because, they

said, the AUSA's were terrified that the Second Circuit would uphold our First Amendment right

to reveal what we knew from the PSR and other documents as to all this apparent corruption.

       Attached hereto is the settlement proposal they came up with. It is notable for several

things, but most notable for the fact that, first, we would have to withdraw our First Amendment
Case 1:12-mc-00150-ILG Document 86 Filed 11/19/12 Page 9of14 PagelD #: 1415                            I   I
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arguments and never make such again; second, Sater would admit the truth, but only in secret,

sealed RlCO proceedings before Judge Buchwald, apparently again the hell with his victims; and

third, and most important, Sater would testify (and so presumably not perjure himself) that the

government told him to hide his conviction, even from Bayrock

       The government told him to do what Judge Garaufis and the Second Circuit deem serial

recidivist crime and repetitive criminal fraud.

       For the sake of those involved, they had better hope they have and will produce

upon subpoena a very high-level DOJ authorization for that, specifically noting that Sater

was authorized to participate in multi-billion dollar notional frauds as a top echelon level

informant - and as concealment fraud and conspiracy are ongoing crimes they had better

hope that's open-ended, as it should be self-evident that if it's a crime to hide your

conviction and misuse the sealing to facilitate it, it's a crime to conspire to do so or to aid

and abet it or act to conceal it (ask the Mayer Brown partner just convicted of securities

fraud for helping REFCO hide its corrupt books) and operation of an association in fact

pursuant to a scheme to do so, a single scheme, let alone the others we're uncovering in the

Eastern District, see supplement, creates a cause of action in enterprise corruption).

       But this court doesn't belong to the executive. This court has no luxury to refuse to

enforce the laws as written. Not. Once. Not. Ever. Not. Ever. Ex Parte United States (1916).

       Admittedly, were we to base a motion for recusal on grounds of this court's apparent

bias, stating the above and more, listing every ruling devoid of legal merit, claiming the

appearance of bias in the court's desire to facilitate and participate in this cover-up, we would be

subject to counter-argument that all this was just a (improbably consistently one-sided) series of

appealable error, that we had made a merits-based argument, though this court well knows that
Case 1:12-mc-00150-ILG Document 86 Filed 11/19/12 Page 10 of 14 PagelD #: 1416
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merits based arguments in egregious cases like this can satisfy the appearance standard of

§455(a). No, something else happened that put this over the top, viz. the Rule 11 motion.

       Attached hereto is the email cover letter from Mobargha and Beys which says, in a

nutshell, Mr. Oberlander, Mr. Lerner, take this offer, because this is rigged, don't you

know if Judge Glasser ever does hold a hearing to decide whether to unseal any of the

documents, he will ignore all your arguments, appeals, and evidence.

       You're doing exactly that, aren't you. Aren't you.

       Now ask yourself how it is that they knew you would do it and warned us you would do

it over a year and a half ago and, mirabile dictum, you're doing it.

       Perhaps they reached such an agreement with you to throw the case against us in one of

the many secret ex parte proceedings we've just found out about. Perhaps they didn't. It doesn't

matter, because if you wish to testify they did not, you are a fact witness and off the bench; and

in any event, no sane person, let alone objective, informed person, would believe anything other

than the apparent possibility of this court's active, collusive, criminal participation in what our

coming amendment hereto will detail more fully is enterprise corruption, including its cover-up,

the only question how far and to what extent it suffuses the Eastern District and the former

AUSA's there now in private practice.

       That's the test, whether there is apparent corruption based bias.

       Fail on that.

       Pending amendment and supplementation, we briefly outline the legal basis for our

conclusion that this court has, de facto, in terrorem, and de Jure, decided to ignore all our

arguments just as Mobargha and Beys warned you would.
Case 1:12-mc-00150-ILG Document 86 Filed 11/19/12 Page 11 of 14 PagelD #: 1417
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                               DENIAL OF FuNDAMENTAL RIGHTS


       Semble that it is among the inalienable, fundamental rights of every citizen to participate·

in court proceedings free of not only actual bias, prejudice, and corruption but also free of the

appearance thereof, and to have the opportunity to present legal argument and proffer factual

evidence in support thereof. These are fundamental rights, rights not created by the Constitution

but by natural law, rights the protection of which we the people have delegated to the

government for so long as we choose to allow that government to exist and serve at our pleasure.

       As stated, these are our inalienable, fundamental rights. Apparently just not in this court6 •

       No other conclusion is possible. Movants have requested Article III relief, viz. the

"unsealing" of those documents which are (or at least are supposed to be) listed on the docket of

U.S. v. Sater, 98-CR-1101 EDNY (Glasser, J.). What is the applicable legal standard?

       Right of Access. As to the 20% or so of the roughly 200 documents the contents of

which are unknown to movants, the standard is one of a right of access.

       Where the right of access is founded in the First Amendment, for example where access

would be had to transcripts of plea and sentencing proceedings, access may only be denied in the

presence of a compelling interest threatening immediate, irreparable near certain harm of

a AB stated in the main text, the court is a.ppa.rently predisposed to engage in mind-reading and
ascribe to counsels pretextual, nefarious motives to our legal arguments. We respectfully alert the
court that we are scrupulously adhering to the standards of §455(a) and requesting you step down
because of the appea.ra.nce of bias and prejudice founded in corruption and criminal conspiracy. We
are not here accusing the court of actually engaging in corruption and criminal conspiracy; indeed,
whether, when, where, why, or how, and if so to wha.t degl'ee the court has or ha.snot done so. a.re
properly by our choice matters ofindifference to this motion. We may, depending on what is revealed
in the disclosure of the ex pa.rte communications and disclosure demanded, move pursuant to §455(b)
or §144 and claim actual bias, in the latter case with party affidavits in support thereof, and we
reserve our right to do so, but we do not do so now. We understand the court's likely displeasure at
being shown to have apparently engaged in despicable acts. We can only suggest the court take up
with Mobargha and Beys, perhaps in one of those ex pa.rte meetings, but preferably by referral to the
United States Attorney for investigation (but not, of course, the United States Attorney for the
Eastern District), exactly why they thought it was a good idea to write that letter.
Case 1:12-mc-00150-ILG Document 86 Filed 11/19/12 Page 12of14 PagelD #: 1418
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national1y significant consequence, and only where there are no less restrictive means available        I
to protect against that harm, and only to the least degree of restriction necessary. Press              I!
                                                                                                        I
                                                                                                        i
Enterprise, In re Herald.Where the right of access is founded in the common law, then access
                                                                                                        !
may only be denied upon a substantially similar balancing test depending in part on the nature of

the document. Amodeo I, II.

       Procedurally, in either case factual findings must be met and in this circuit whether the

access claim be in First Amendment or common law the burden of proof (thus obviously of

production) is on the person who would maintain the closure, sealing, or, in this case, "sealing."

       And where the right of access claim is founded in the First Amendment, as the Second

Circuit has just affirmed in Gupta7 , there must be an evidentiary hearing and record factual

findings capable of de novo appellate factual review. No case has ever held that such hearing

may be held and findings made in the involuntary, court-ordered absence of the movant.

       No case could ever hold that. It is antithetical to. any concept of due process that a party

to a case may have his rights adjudicated in secret without participation by him or his counsel.

We are unable to find any example of such reported anywhere, going back to the Star Chambers.

There is no precedent, and no Article III authority, by which a court can purport to resolve a case

or controversy minus the participation of one party to the case or controversy, let alone when he




7 November 8, 2012. The 2nd Circuit held it presumptive structural error where a court closed a voir
dire, access to which is founded in the First Amendment (thus access to transcripts of which are
founded in the First Amendment, He1·aldJ, without satisfying substantive and procedural due
process, the latter by holding an evidentiary hearing to establish documented, on the record evidence
substantiating the compelling interest and lack of alternative. Notably, Gupta continues the
Supreme Court's conflation as sufficiently identical, if not coextensive, the Sixth Amendment and
First Amendment rights of open courts; indeed the Waller test for closure under the Sixth
Amendment was explicitly adopted by the Supreme Court as the equal of the Press Enterprise test
for closure under the First Amendment.
Case 1:12-mc-00150-ILG Document 86 Filed 11/19/12 Page 13 of 14 PagelD #: 1419
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objects; otherwise a court would be legislating, not adjudicating, asserting "jurisdiction" over the

party in name only but not in any practical sense of actually letting him function as a party.

        Right of Free Speech. But, as to the other 80% or so of the roughly 200 documents the

contents of which are known to movants, a fortiori as to the 155 documents authored by

Oberlander and Lerner and others working with or for them, the rules changed.

        Where someone is in possession of information, a fortiori that which is core, protected

speech, a fortissimo where it has all been obtained outside of court process, then any restriction

is a prior restraint and this court is well aware and needs no recitation of the substantive law that

it may not be enjoined or restricted in any way absent the strictest scrutiny and in particular

absent full adjudicative due process hearings establishing the requisite facts to clear and

convincing evidentiary standard. Carroll v. Princess Anne.

       For example, in this case, there are documents filed on 98-CR-1101 by Mobargha and

Beys in the contempt issue which are false or misleading and which, because they contain their

self-confessed admissions against penal interest that they filed such with other federal officials,

not just this court, are evidence of federal felonies, including substantive and conspiracy

violations of §1001 and obstruction statutes 8, beside evidence that they are, like their client,

taking advantage of (again, non-existent and illegal) "sealing" orders to perpetrate crime.

       Prohibiting us from revealing these crimes is outside any authority this court could

possibly claim under Article III, but even if it could claim the authority it could only prohibit it,

whether it calls the prohibition "sealing" or "prior restraint," upon full adversarial due process.


a We are lawfully in possession of executive branch documentation of statements made by Sater's
counsel to non·judiciary government officials which demonstrate that claims of threat or perceived
threat to or by Sater are fraud and we respectfully demand this court properly docket everything as
to the contempt proceedings that Mr. Oberlander in his October 5, 2012 request and Judge Cogan in
his October 18, 2012 docket "order" said was within your jurisdiction to docket and "unseal," not his.
Case 1:12-mc-00150-lLG Document 86 Filed 11/19/12 Page 14 of 14 PagelD #: 1420
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       And obviously as to what we ourselves wrote, full prior restraint analysis must be had.

       Yet this court now holds secret hearings as to which we are told we may not know what

the arguments are, we may not know what the factual issues are, and if we tty to introduce

evidence on motion we'll be charged with the equivalent of contempt for "knowingly" ignoring

       That's not a chill, that's a freeze.

       That's the smoking gun which completes the portrait of a court apparently engaged in

secret and collusive deals with Sater's lawyers to, just as they said, ignore all our argument,

evidence, and appeals exactly the way it is doing, de facto, in terrorem, and de jure.

       That's cause for you to step down. Forthwith.

                                              Conclusion
       This court must recuse itself due to apparent bias. We reserve the right to amend this

given the court's refusal to provide enough time and notice pursuant to the Fifth Amendment let

alone local rules as to motion practice. It was necessary to file quickly to forestall a claim that we

filed only in response to an adverse result in the Rule 11 hearing.

       We join in and adopt and ratify as if our own the motion filed by Lerner in behalf of

Oberlander and the motion filed by ThomsonReuters.



Dated: New York, New York
       November 19, 2012

       Isl Frederick M. Oberlander
       Counsel for Lorienton Palmer
Exhibit 0
. ·.;.-·· ...

                        Case: 10-2905                  Document: 296-1                   Page: 1           06/29/2011          326703         9


                10-2905-cr
                Roe v. United States

                                                          UNITED STATES COURT OF APPEALS
                                                             FOR THE SECOND CIRCUIT

                                                                SUMMARY ORDER
                Rulings by summary order do not have precedential effect. Citation to summary orders filed on or after
                January 1, 2007; is permitted and is governed by Federal Rule of Appellate Procedure 32.1 and this
                court's Local Rule 32.1.1. When citing a summary order in a document filed with this court, a party must
                cite either the Federal Appendix or an electronic database (with the notation "summary order''). A party
                citing a summary order must serve a copy of it on any party not represented by counsel.

                        At a stated term of the United States Court of Appeals for the Second Circuit, held atthe Daniel
                Patrick Moynihan United States Courthouse, 500 Pearl Street, in the City of New York, on the 29th day
                of June, two thousand eleven.

                PRESENT:
                                      JOSE A. CABRANES,
                                      ROSEMARY S. POOLER,
                                      DENNY CHIN,
                                                              Circuit Judges.

                - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                RICHARD ROE, an attorney,

                                                 Appellant,

                JANE DOE AND JOHN DOE II, clients of Richard Roe,

                                                  Pro Se Appellant.r,

                          v.                                                                               Nos. 10-2905-cr, 11-479-cr, 11-1408-cr,
                                                                                                           11-1411-cr, 11-1666-cr, 11-1906-cr,
                                                                                                           11-2425-cr
                UNITED STATES OF AMERICA,

                                                  Appellee,

                JOHN DOE,

                                                  De.fandant-Appellee.
                -------------------------------------------x
                FOR APPELLANT RICHARD ROE:                                                                 Richard E. Lerner, Wilson Elser
                                                                                                           Moskowitz Edelman & Dicker LLP
                                                                                                           (David A. Schulz and Jacob P.
                                                                                                           Goldstein, Levine Sullivan Koch &
                                                                                                           Schulz LLP; Paul G. Cassell, SJ.
                                                                                                           Quinney College of Law at the
                                                                                                           University of Utah, on the brief), New
                                                                                                           York, NY and Salt Lake City, UT.

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        Case: 10-2905              Document: 296-1               Page:2           06/29/2011            326703          9



FOR APPELLEE UNITED STATES OF AMERICA:                                          Todd Kaminsky, Assistant United States
                                                                                Attorney (Peter A. Norling and
                                                                                Elizabeth J. Kramer, Assistant United
                                                                                States Attorneys; Loretta E. Lynch,
                                                                                United States Attorney, on the brief),
                                                                                United States Attorney's Office for the
                                                                                Eastern District of New York, Brooklyn,
                                                                                                                                     i·
                                                                                NY.                                                  l
                                                                                                                                     i
FOR DEFENDANT -APPELLEE JOHN DOE:                                               Nader Mobargha, Beys, Stein &
                                                                                Mobargha LLP, New York, NY.*


         Appeal from a May 18, 2010 temporary restraining order, a June 21, 2010 permanent injunction, a
July 20, 2010 temporary restraining order, and a March 23, 2011 scheduling order issued by the United States
District Court for the Eastern District of New York (I. Leo Glasser,J11dge); appeal also from orders of April
1, 2011, April 4, 2011, and May 13, 2011 of the United States District Court for the Eastern District of New
York (Brian M. Cogan.Judge).

          UPON CONSIDERATION WHEREOF, IT IS HEREBY ORDERED, ADJUDGED,
AND DECREED that the judgment of the District Court permanently enjoining the dissemination of John
Doe's Pre-Sentence Repo:rt is AFFIRMED.
          The appeal in Docket No. 10-2905-cr is DISMISSED in part, and the appeal in Docket No. 11-
1408-cr is DISMISSED in full, insofar as they challenge the District Court's temporary restraining orders of
May 18, 2010 and July 20, 2010 and insofar as they challenge any related orders that may have been entered
or re-affirmed on May 28,June 11,June 14, or June 21, 2010.
          The appeal in Docket No. 11-1411-cr is DISMISSED because appellant has waived his opportunity
to challenge Judge Brian M. Cogan's orders of April 1, 2011 and April 4, 2011.
          The appeal in Docket No. 11-1906-cris DISMISSED for want of jurisdiction.
          With :respect to Docket No. 11-2425-cr, the order of Judge Cogan is AFFIRMED.
          The appeal in Docket No. 11-1666-cr by pro .re appellants is DISMISSED in' all respects except
insofar as it challenges the District Court's permanent injunction against the dissemination of Doe's PSR;
with respect to that claim, the judgment of the District Court is AFFIRMED,
          The Clerk of Court is DIRECTED to close Docket Nos. 11-1408-cr, 11-1411-cr, 11-1906-cr, and
11-2425-cr upon entry of this order. The Cl~rk of Court is also DIRECTED to close Docket No. 11-479-
cr to the extent it was not already closed upon entry of our February 14, 2011 order. See Order, Roe v. United
State;, Docket Nos. 10-2905-cr, 11-479-cr (2d Cir. Feb .. 14, 2011).
          The remainder of this cause (Docket Nos. 10-2905-cr, 11-1666-cr) is REMANDED to the District
Court (I. Leo Glasser, Judge) for proceedings consistent with this order and with instructions (i) to rule upon
the government's unsealing motion of March 17, 2011, (ii) to issue a final dete:rmination regarding whether
the dissemination of the other (non-PSR) sealed documents in John Doe's criminal case, particularly those
that :refer to Doe's cooperation, should be enjoined, and (iii) in the event that a final determination regarding


          •Pursuant to our order of February 14, 2011, John Doe was not invited to brief this appeal, nor has he moved to submit a
brief. However, Doe has filed various letters and opposition papers in response to Roe's motions throughout the course of the
appeal.

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                              Document: 296-1           Page:3         06/29/2011         326703        9


the dissemination of the other sealed documents does not result in a.n injunction against the dissemination of
documents referring to Dbe's cooperation, to enter an order temporarily staying the unsealing of any
documents referring to Doe's cooperation pending an appeal by the government to our Court. In the event
that the government elects not to appeal the unsealing of any documents that may be unsealed by the
District Court, the government is ORDERED to notify the District Court and our Court of its decision not
to pursue the appeal within the otherwise applicable time for taking the appeal.
         It is further ORDERED that, pursuant to United States v. Jacobson, 15 F.3d 19 (2d Cir. 1994), this
panel shall retain jurisdiction over any further appeals from proceedings in the District Court, including any
further petitions for extraordinary writs.
         It is hereby ORDERED that Judge Cogan shall retain jurisdiction for the limited purpose of
enforcing our February 14, 2011 mandate-that is, to ensure the parties' compliance with the orders of this
Court and any that have been, or may hereafter be, entered by Judge Glasser. Our panel retains jurisdiction
pursuant to United States v. Jacobson, 15 F.3d 19 (2d Cir. 1994), over any appeals from any orders or judgments
entered by Judge Cogan.
         Finally, it is ORDERED that apj:>ellant Richard Roe is hereby warned that the Court's patience has
been exhausted by his filing of six separate notices of appeal regarding the same principal legal
dispute-including the filing of an appeal from a March 23, 2011 scheduling order that obviously was not a
final order nor subject to any of the exceptions to the "final judgment rule," see Part (iv), post-and that any·
further attempts to re-litigate the issues decided by this order, or other future filings of a frivolous nature,
may result in sanctions, including the imposition ofleave-to-file restrictions, requirements of notice to other
federal courts, and monetary penalties.
         The Clerk of Court is DIRECTED to transmit a copy of this order to Judge Cogan.

                                            INTRODUCTION
         Appellant Richard Roe ("Roe"), an attorney, and two of his clients, pro st, appeal from a May 18,
2010 temporary restraining order, a June 21, 2010 permanent injunction, a July 20, 2010 temporary
restraining order, and a March 23, 2011 scheduling order entered by Judge Glasser. Because the pro se
appellants incorporate Roe's arguments as their own and make no other independent legal claims, our legal
conclusions apply to all appellants, though our order refers principally to Roe.

                                    BACKGROUND
A. The SDNY Complaint and Judge Glasser's Initial Rulings
         On May 10, 2010, Richard Roe publicly filed a civil RICO complaint against John Doe ("Doe") and
other defendants in the United States District Court for the Southern District of New York (Naomi Reice
Buchwald, Judge). Attached to the complaint were exhibits that included sealed materials from Doe's criminal .
case in the Eastern District of New York. The complaint itself explicitly referenced the confidential
information in the exhibits, including the fact that Doe had cooperated with the government.

         On May 18, 2010, upon an application by Doe, Judge Glasser issued an order to show cause why a
preliminary injunction should not be entered against Roe's dissemination of the sealed materials from Doe's
criminal case. He also temporarily restrained Roe and his clients from "disseminating the Sealed and
Confidential Materials or [the] information therein." The materials in Roe's possession included a 2004
Pre-Sentence Report ("PSR"), two proffer agreements, Doe's cooperation agreement, a criminal complaint,
and a criminal information. The TRO was later extended multiple times .without objection (and, on some
occasions, at Roe's request) until a hearing could be held on June 21, 2010.
                                                       3
        Case: 10-2905              Document: 296-1                Page:4           06/29/2011             326703           9



         At the June 21, 2010 hearing, Judge Glasser heard testimony from Roe before issuing a permanent
injunction against dissemination of the 2004 PSR, pursuant to United State.; v. Charmer IndustrieI, Inc., 711 F.2d
1164 (2d Cir. 1983). He also directed Roe to return the PSR to the United States Attorney's Office (Roe
eventually returned the PSR directly to the court). With respect to the other sealed documents, Judge
Glasser extended his temporary restraining order until July 20, 2010, with Roe's consent, and requested that
the parties brief whether the court had the authority to permanently enjoin the dissemination of those
documents.                                                                                                                              '
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        On July 9, 2010, Roe filed a notice of appeal concerning Judge Glasser's May 18, 2010 and June 21,
2010 orders.
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         On July 20, 2010, Judge Glasser held another hearing at which he recited his factual findings,
including: (1) that Roe knew the documents at issue were sealed prior to his public filing of those
documents; (2) that one of Roe's clients had "wrongfully taken" and had "no legal right to those
documents"; and (3) that dissemination of the documents would cause "irreparable harm, which is imminent
to Mr. John Doe ... [and] would put Mr. John Doe's safety at risk." Over Roe's objection, Judge Glasser re-
affirmed his ruling of June 21, 2010 regarding the permanent injunction against dissemination of the PSR
and extended his TRO with respect to the other sealed documents for another 10 days. He further ordered
that the permanent injunction and TRO should cover all copies of the documents at issue, and that all
originals and copies of such documents were to be returned or destroyed until Roe met his "burden with
respect to whether or not there is some need to maintain those documents or to keep them." The TRO was
subsequently extended to August 13, 2010, by request of the parties, while they negotiated a possible
settlement.

         On August 10, 2010, Roe filed a notice of appeal concerning the July 20, 2010 order that re-affirmed
the permanent injunction and extended the TR0. 1 Judge Glasser has not since issued a final ruling regarding
the disclosure of the non-PSR sealed documents.

B. Our February 14, 2011 Order and Judge Cogan's Assignment to Enforce Our Mandate
         On February 14, 2011, we heard oral argument on the government's motion for a temporary stay of
the unsealing of the appeal. In an order issued that day orally and later in written form, we granted the
government's request to keep the appeal under seal and temporarily enjoined Roe and his associates from
distributing or revealing in any way any documents or contents thereof subject to sealing. orders in Doe's
criminal case or on appeal. See Order, Roe v. United States, Docket Nos. 10-2905-cr, 11-479-cr (2d Cir. Feb.
14, 2011). We also remanded the cause to the District Court for the Eastern District of New York for the
limited purpose of allowing the Chief Judge to assign a District Judge to "implement[] and oversee[]
compliance with our orders and the orders previously entered by Judge Glasser." Id. Pursuant to our order,
then-Chief Judge Dearie referred the case to Judge Brian M. Cogan for enforcement of this limited mandate.




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            On February 7, 2011, Roe also filed a petition for a writ of mandamus requesting that we order the District Court to
withdraw its various injunctive and temporary restraining orders and publicly docket Doe's criminal case. We denied this petition in
our order of February 14, 2011. Su Order, Roe v. United States, Docket Nos. 10-2905-cr, 11-479-cr (2d Cir. Feb. 14, 2011).
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       Case: 10-2905         Document: 296-1            Page: 5        06/29/2011         326703        9



         On March 1, 2011, Roe submitted a letter requesting "clarification" from Judge Cogan that,
notwithstanding our order of February 14, 2011, he was permitted to disseminate certain information within
the sealed documents because that information was allegedly public knowledge. On April 1, 2011,Judge
Cogan held a hearing regarding Roe's request. At that hearing Judge Cogan le~ned that Roe had not yet
destroyed or returned certain electronic and paper copies of the origfilal PSR and other sealed documents, in
violation of Judge Glasser's July 20, 2010 order. Accordingly, by oral order on April 1, 2011, and by a
subsequent written order of April 4, 2011,Judge Cogan ordered Roe to destroy or return any remaining
electronic or paper copies of the PSR and other sealed documents, without prejudice to his ability to seek the
documents if any of the various sealing orders were vacated by our Court. See Order, United States v. Doe
(E.D.N.Y. Apr. 4, 2011).

         On April 8, 2011, Roe ftled a notice of appeal with respect to Judge Cogan's orders of April 1 and
April 4, 2011.

         On May 13, 2011, Judge Cogan issued a written order denying Roe's March 1, 2011 request to
release certain information contained within the sealed documents. After opining that information "available
to the public" was not covered by our injunction, Judge Cogan nevertheless ordered that Roe could not
"extrapolate from sealed documents ... (which] could easily be combined with and thereby tainted by Roe's
knowledge of non-public sealed information." Order, United States v. Doc (E.D.N.Y. May.13, 2011). Upon a
review of the specific statements and information that Roe intended to release, Judge Cogan further
concluded that "[i]t seems obvious that Roe is seeking to fatally undermine the purpose of the injunctions by
publicizing information that would render them ineffective." Id.

        On June 15, 2011, Roe filed a notice of appeal with respect to Judge Cogan's order of May 13, 2011.

C. Recent Events before Judge Glasser
         On March 17, 2011, after learning that Doe's criminal conviction had been disclosed in a press
release by the U.S. Attorney's Office for the Eastern District of New York, the government moved before
Judge Glasser for a limited unsealing of the docket and certain documents in Doe's underlying criminal case.
The government explicitly sought to unseal only those docket entries and documents that did not refer to
Doe's cooperation with the government.

         On March 23, 2011,Judge Glasserissued a scheduling order in which he stated that he was
"uncertain of [his] continuing jurisdiction to address the controversy presented by [Roe's F.ebruary 4, 2011
'demand' that the case be docketed and the government's March 17, 2011 motion for a limited unsealing of
the case]." Scheduling Order, United States v. Doe (E.D.N.Y. March 23, 2011). Accordingly, he.requested that
"the government, Richard Roe and John Doe [ Jbrief the issue of the Court's jurisdiction and submit their
briefs simultaneously on April 8th, 2011." Id.

        In addition to setting the briefing schedule, the order reflected Judge Glasser's factual finding that
Roe had "knowingly and intentionally flouted a Court order" by "unilaterally deciding" to disclose
information in Doe's sealed criminal case. Id.


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          Case: 10-2905         Document: 296-1             Page:6          06/29/2011          326703          9          i
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           On May 11, 2011, Roe filed a notice of appeal concerning Judge Glasser's March 23, 2011 order.

         On April 19, 2011, upon requests from both Roe and the government, we issued an order
confirming that Judge Glasser retained jurisdiction "to decide the government's motion to unseal, as well as
to decide any other pending or future motions to unseal that would not result in the public disclosure of
docket entries or underlying documents that reference John Doe's cooperation with the government."
Order, Roe v. United Statet, Docket Nos. 10-2905-cr, 11-479-cr (2d Cir. Apr. 19, 2011) (emphasis in original).

          Judge Glasser has not yet acted on the government's March 17, 2011 motion to unseal.

           We assume the parties' familiarity with the remaining facts and procedural history of the case.



                                                   DISCUSSION
                                                       (i)
          On appeal, Roe argues that the District Court violated his First Amendment rights in permanently
enjoining the dissemination of Doe's PSR and requiring him to return it to the government. We review a
district court's grant of a permanent injunction for abuse of discretion. Roach v. Mor.re, 440 F.3d 53, 56 (2d
Cir. 2006); see also Sims v. Blot, 534 F.3d 117, 132 (2d Cir. 2008) (explaining "abuse of discretion'').

         Uo,der United States v. Channer lnduttric.r, Inc., 711 F.2d 1164 (2d Cir. 1983), third parties must satisfy a
heightened standard in order to obtain access to a PSR, which is a sealed "court document designed and
treated principally as an aid to the court in sentencing." Id. at 1176. Specifically, a third party seeking access
to a PSR bears the burden of making a "compelling demonstration that disclosure of the report is required to
meet the ends of justice." Channer Indus., Inc., 711 F.2d at 1175.

          Here, Judge Glasser, who had presided over Doe's criminal case and was therefore familiar with the
extent of Doe's cooperation and his assistance in obtaining the convictions of myriad violent criminals,
explicitly entered a .finding that releasing proof of Doe's cooperation would cause him irreparable harm and
would put his safety at risk.

        Judge Glasser also found that Roe had improperly refused to submit an application to the Court to
unseal the report, despite his knowledge that the report was sealed and came from a sealed criminal case. See
id at 1170 ("[T]he presentence report is a court document and is to be used by nonjudicial federal agencies
and others onfy with the permission efthe court." (emphasis supplied)); ree also In re Zyprexa Irfiunction, 474 F. Supp.
2d 385, 417 (E.D .N .Y. 2007) (enforcing a preliminary injunction requiring the return of sealed documents
pursuant to the court's "inherent authority to enforce [its] orders''), ajfd, 617 F.3d 186 (2d Cir. 2010). Judge
Glasser found, instead, that Roe had determined unilaterally that he was entitled to publicly disclose the
report.

         Judge Glasser balanced his findings of physical danger to Doe and the intentional defiance of a
sealing order by Roe-findings that we hold were not clearly erroneous-against Roe's asserted need to use
the PSR in the SDNY civil case to establish that Doe had defrauded investors and others by not revealing his

                                                           6
        Case: 10-2905                Document: 296-1                 Page: 7           06/29/2011              326703           9



conviction. Because proof of Doe's conviction (as opposed to his cooperation) remains available from other
public documents-including a press release by the United States Attorney's Office for the Eastern District
of New York--and because the PSR is an incomplete and ultimately inadmissible document to which neither
Doe nor the government will ever have the opportunity to object, .ree Charmar lnd11.r., Inc., 711 F.2d at 1170-
71, the PSR is of dubious utility in the civil case except as a tool to intimidate and harass Doe by subjecting
him to danger. Accordingly and in sum, disclosure of the report is not "required to meet the ends of
justice," id. at 1175-indeed, quite the opposite. The District Court did not err, much less abuse its
discretion, in imposing a permanent injunction against dissemination of the PSR. See, e.g., United State.r v.
Charmer Indu.r., Inc., 711 F.2d at 1177 (stating that a "central element in the showing required of a third person
seeking disclosure is the degree to which the information .in the [PSR] cannot be obtained from other
sources").

                                                                   (ii)
          Doe argues that the District Court violated his First Amendment rights by temporarily restraining
his continued possession and dissemination of the other sealed documents from Doe's criminal case.

        A TRO, which is appropriate when "speed is needed ... to prevent irreparable harm," Carda v.
Yonker! Sch. Di.rt., 561 F.3d 97, 106 (2d Cir. 2009) (internal quotation marks omitted), is not a final judgment
and is not ordinarily appealable. See Gen. Motor.r Corp. v. Gib.ron Chem. & Oil Corp., 786 F.2d 105, 108 (2d Cir.
1986). To the extent we may, in our discretion, exercise pendent jurisdiction over the order pursuant to
Swintv. Chambm Cnry. Comm'n, 514 U.S. 35, 45 (1995), we decline to do so here. Accordingly, Roe's appeal is
dismissed insofar as it challenges the District Court's temporary restraining orders of May 18, 2010 and July
20, 2010.

                                                      (iii)
         On April 8, 2011, Roe filed a notice of appeal with respect to Judge Cogan's orders of April 1 and
April 4, 2011. Roe did not raise any arguments with respect to that appeal in his reply brief of April 18,
2011, nor has he filed a motion for leave to submit supplemental briefing.2 Accordingly, we hold that Roe
has waived his right to challenge Judge Cogan's orders of April 1 and April 4, 2011. See, e.g., In re Wireie.r.J'
Data, Inc., 547 F.3d 484, 492 (2d Cir. 2008) (deeming arguments not raised on appeal waived).

          His appeal from those orders is hereby dismissed.


                                                                   (iv)
         Roe appeals from Judge Glasser's scheduling order of March 23, 2011, insofar as it reflects Judge
Glasser's factual finding that Roe "knowingly and intentionally flouted" a court order. Scheduling Order,
United State.r v. Doe (E.D.N.Y. Mar. 23, 2011).


           2 Although arguments .raised for the fu:st time in a reply brief are generally deemed waived, see Connerlimt Bar Ass'n v. United
Stater, 620 F.3d 81, 91 n.13 (2d Cir. 2010), Roe's opening brief was filed on March 28, 2011, and therefore could not have raised any
arguments with respect to Judge Cogan's orders of April 1 and April 4, 2011. Accordingly, we do not base our finding of waiver on
Roe's failure to discuss Judge Cogan's orders in his opening brief; rather, our holding is based on his failure to discuss them in his
reply brief or in a motion for leave to submit supplemental briefing.

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       Case: 10-2905           Document: 296-1            Page:8          06/29/2011          326703         9




         We do not have jurisdiction over Roe's claim because the March 23, 2011 order was not a final
order pursuant to 28 U.S.C. § 1291, nor are any of the exceptions to the "final judgment rule" applicable in
the circumstances presented. See general/y Reiis 11. Societe Centrale Du Gruope Des Assurances Nationales, 235 F.3d
738, 745 (Zd Cir. 2000) (discussing the "final judgment rule" and its exceptions).

         Accordingly, Roe's appeal from the March 23, 2011 order is dismissed.

                                                         (v)
        On June 15, 2011, Roe filed a notice of appeal with respect to Judge Cogan's order of May 13, 2011.
We review Judge Cogan's interpretation of our February 14, 2011 order and his interpretation of the sealing
orders of Judge Glasser de novo.

         After an item-by-item review of the specific information that Roe wished to publicly
release-including (a) John Doe's real name, linked with his criminal docket number, (b) the specific nature
of the predicate acts leading to his criminal conviction, and (c) the sentence imposed by the District
Court-Judge Cogan concluded that the information either was not public at all or was not public to the
extent and with the level of detail that Roe intended to disclose. Accordingly, he denied Roe's request for
permission to release the information. Order, United States v. Doe (E.D.N.Y. May 13, 2011). Upon our own
independent review, we agree with Judge Cogan that Roe's proposed disclosures would have violated our
temporary injunction of February 14, 2011 and the sealing orders of Judge Glasser. Judge Cogan's order of
May 13, 2011 is affirmed.

                                                CONCLUSION
         To summarize:
         (1) The judgment of the District Court permanently enjoining the dissemination of John Doe's
         Pre-Sentence Report is AFFIRMED.
         (2) The appeal in Docket No. 10-2905-cr is DISMISSED in part, and the appeal in Docket No. 11-
         1408-ct is DISMISSED in full, insofar as they challenge the District Court's temporary restraining
         orders of May 18, 2010 and July 20, 2010 and insofar as they challenge any related orders that may
         have been entered or re-affirmed on May 28,June 11,June 14, or June 21, 2010.
         (3) The appeal in Docket No. 11-1411-cr is DISMISSED because Roe has waived his opportunity
         to challenge Judge Brian M. Cogan's orders of April 1, 2011 and April 4, 2011.
         (4) The appeal in Docket No. 11-1906-cr is DISMISSED for want of jurisdiction.
         (5) With respect to Docket No. 11-2425-cr, the order of Judge Cogan is AFFIRMED.
         (6) The appeal in Docket No. 11-1666-cr by pro .re appellants is DISMISSED in all respects except
         insofar as it challenges the District Court's permanent injunction against the dissemination of Doe's
         PSR.; with respect to that claim, the judgment of the District Court is AFFIRMED.
         (7) The Clerk of Court is DIRECTED to close Docket Nos. 11-1408-cr, 11-1411-cr, 11-1906-cr,
         and 11-2425-cr upon entry of this order. The Clerk of Court is also DIRECTED to close Docket
         No. 11-479-cr to the extentit was not already closed upon entry of our February 14, 2011 order. See
         Order, &e v. United States, Docket Nos. 10-2905-cr, 11-479-cr (2d Cir. Feb. 14, 2011).
         (8) The remainder of this cause (Docket Nos. 10-2905-cr, 11-1666-cr) is REMANDED to the

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Case: 10-2905         Document: 296-1           Page: 9        06/29/2011          326703        9



 District Court (I. Leo Glasser, Judge) for p.roceedings consistent with this order and with instructions
 (i) to rule upon the government's unsealing motion of March 17, 2011, (ii) to issue a final
 determination regarding whether the dissemination of the other (non-PSR) sealed documents in
 John Doe's criminal case, particularly those that refer to Doe's cooperation, should be enjoined, and
 (iii) in the event that a final determination regarding the dissemination of the other sealed
 documents does ,llill result in an injunction against the dissemination of documents referring to
 Doe's cooperation, to enter an order temporarily staying the unsealing of any documents referring to
 Doe's cooperation pending an appeal by the government to our Court In the event that the
 government elects not to appeal the unsealing of any documents that may be unsealed by the
 District Court, the government is ORDERED to notify the District Court and our Court of its
 decision not to pursue the appeal within the otherwise applicable time for taking the appeal.
 (9) It is further ORDERED that, pu,rsuant to United States v. Jacobson, 15 F.3d 19 (2d Cir. 1994), this
 panel shall retain jurisdiction over any further appeals from proceedings in the District Court,
 including any further petitions for extraordinary writs.
 (10) It is hereby ORDERED that Judge Cogan shall retain jurisdiction for the limited purpose of
 enforcing our February 14, 2011 mandate-that is, to ensure the parties' compliance with the orders
 of this Court and any that have been, or may hereafter be, entered by Judge Glasser. Our panel
 retains jurisdiction pursuant to United States v. Jacobson, 15 F.3d 19 (2d Cir. 1994), over any appeals
 from any orders or judgments entered by Judge Cogan.
 (11) Finally, it is ORDERED that appellant Richard Roe is hereby warned that the Court's patience
 has been exhausted by his filing of six separate notices of appeal regarding the same principal legal
 dispute-including the filing of an appeal from a March 23, 2011 scheduling order that obviously
 was not a final order nor subject to any of the exceptions to the "final judgment rule," see Part (iv),
 anto--and that any further attempts to re-litigate the issues decided by this order, or other future
 filings of a frivolous nature, may result in sanctions, including the imposition of leave-to-file
 restrictions, requirements of notice to other federal courts, and monetary penalties.
 (12) The Clerk of Court is DIRECTEP to transmit a copy of this order to Judge Cogan.


                                                     FOR THE COURT:
                                                     Catherine O'Haga.n Wolfe, Clerk

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Exhibit Y
 Case 1:13-cv-03905-LGS-FM Document 72 Filed 06/04/14 Page 1 of 1




· June 3, 2014
The Hon. Lorna G. Schofield
Federal District Judge
southern District of New York
Re Kriss v. Bayrock 13 cv 3905
   status conference Matters
we ask the court forgive the informality of this letter, counsel has suffered a
death in the family and the funeral is occurring as this is written. we will be shut
for two days for bereavement but will amplify this letter by Friday at the latest,
more formally. At the· moment we have no access to a computer and may not be able to
get this on ECF.
on April 23 counsel filed the initiating complaint in this matter, manually as per
standing SONY orders. It was subsequently put onto ECF and thus most defendants know
of its filing and those who cared to could download it. counsel for Sater and
counsel for Bayrock absolutely do have a copy.
on May 21 counsel, pursuant to this courts directive, filed a superseding complaint.
 That directive also ordered a status conference for June 10 and ordered a joint
 submission in respect thereof.
 No defendant has been served. No defendant has made a general appearance (removal is
 a special, not a general appearance), and we have no evidence that  any defendant has
 even made a special appearance since then other than "co-counse111 for Mr. Sater but
 even there its impossible to know who is his attorney of record. And in any event it
 is axiomatic that even a general appearance is not a waiver of service,
 By itself that would make compliance with the pre conference directive effectively
 impossible, or very nearly so.
 However, last week, on may 29, Magistrate Judge Maas ordered the April 23 complaint
 sealed entirely and further ordered us not to disseminate any information having
 anything much to do with Bayrock. Every expert to look at it concurs that that order
 is illegal and invalid both but nevertheless at this point today until that may be
 resolved we cannot meaningfully comply with any of the requests in the pro forma
 preconference order. obviously for example we cannot describe the case, as is
 required, and obviously cannot do much of anything else again until the issue of
 that order is resolved.
 Moreover we can do nothing with any new complaint either and note that we stamped it
 in pursuant to standing sdny rules but beyond that are stuck. we do note that Judge
 Maas said orders would be forthcoming as to that.
Given the above, any thought that there has been any bad faith is facially
nonsensical. on that note it is equa11¥ nonsensical to ask, as counsel for Sater has
said he will in a letter to us last Friday, that the court order we not be allowed
to amend further, such order, aside from anything else, ultra vires as the court
cannot suspend the federal rules of procedure which here provide for one coming
amendment as of right and amendments thereafter freely as justice requires which in
this circuit means that in the absence of futility or prejudice it is abuse of
discretion not to allow.
But then they have also in the same letter to us last Friday said they both object
to not having received the new pleading from us but at the same time have no
intention of answerin~ it other than by moving for sanctions even though, again,
they admit they haven t seen it, nor can they.
 sincerely yours,
 /sf Richard E. Lerner
 /sf Frederick M. Oberlander
 counsels for Plaintiffs
